Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OHIO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                WESTERN RESERVE WATER SYSTEMS, INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4133 East 49th Street
                                  Cleveland, OH 44105
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cuyahoga                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    WESTERN RESERVE WATER SYSTEMS, INC.                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2213

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   WESTERN RESERVE WATER SYSTEMS, INC.                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    WESTERN RESERVE WATER SYSTEMS, INC.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 1, 2019
                                                  MM / DD / YYYY


                             X   /s/ Michael Eiermann                                                     Michael Eiermann
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Glenn E. Forbes                                                       Date April 1, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Glenn E. Forbes 0005513
                                 Printed name

                                 FORBES LAW LLC
                                 Firm name

                                 166 MAIN STREET
                                 Painesville, OH 44077
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     440-357-6211                  Email address      bankruptcy@geflaw.net

                                 0005513 OH
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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DATE: 03/17/19                                           WESTERN RESERVE WATER SYSTEMS                                         PAGE#:    1
TIME: 18:53:29                                            OPERATIONS INCOME STATEMENT                                          RPT ID: 4S
DEPT NAME: Department Summary                              PERIOD END DATE: 12/31/18                                           DEPT#: Summary


                                        2018                       2018                      2017                       2017
                                    DECEMBER               YEAR-TO-DATE                  DECEMBER               YEAR-TO-DATE
                                      ACTUAL      ROW%           ACTUAL      ROW%          ACTUAL      ROW%           ACTUAL      ROW%



SALES
        SALES-SDI                312,929.91     22.70     2,635,574.96     19.35    167,208.73       21.04     2,344,038.12     19.57
        SALES-SDI MOBILES              0.00      0.00       159,271.84      1.17       55,818.00      7.02       273,929.93      2.29
        SALES-SERVICE CONT       788,340.79     57.19     4,994,796.51     36.67    361,853.09       45.53     4,643,017.79     38.76
        SALES-EQUIPMENT          131,021.00      9.50     3,241,718.23     23.80    127,919.04       16.10     2,538,629.94     21.19
        SALES-EQ-PROJECT           8,970.00-     0.65-      821,074.50      6.03        1,538.00-     0.19-      228,700.50-     1.91-
        SALES-EXPENDIBLE         109,559.15      7.95     1,457,238.03     10.70       49,066.64      6.17     2,068,764.52     17.27
        SALES-MEMBRANE CLE        45,638.22      3.31       313,395.85      2.30       34,541.70      4.35       339,464.82      2.83
        SALES INT ON TRADE             0.00      0.00             0.00      0.00            0.00      0.00             0.00      0.00
                             --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL GROSS SALES            1,378,519.07    100.00    13,623,069.92    100.00    794,869.20      100.01    11,979,144.62    100.01
        DISCOUNTS ON SALES            62.76-     0.00           381.86-     0.00          111.48-     0.01-        1,275.21-     0.01-
                             --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL NET SALES              1,378,456.31    100.00    13,622,688.06    100.00    794,757.72      100.00    11,977,869.41    100.00




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DATE: 03/17/19                                         WESTERN RESERVE WATER SYSTEMS                                       PAGE#:    2
TIME: 18:53:29                                          OPERATIONS INCOME STATEMENT                                        RPT ID: 4S
DEPT NAME: Department Summary                            PERIOD END DATE: 12/31/18                                         DEPT#: Summary


                                       2018                      2018                      2017                     2017
                                   DECEMBER              YEAR-TO-DATE                  DECEMBER             YEAR-TO-DATE
                                     ACTUAL     ROW%           ACTUAL     ROW%           ACTUAL     ROW%          ACTUAL      ROW%



DIRECT OPERATING EXPENSE:
      SDI-WAGES                  41,690.00     3.02       342,097.12     2.51        26,543.08     3.34      356,750.94      2.98
      SDI-BURDEN AND OVE          5,367.17-    0.39-       61,564.08-    0.45-        4,785.74-    0.60-      67,136.83-     0.56-
      SDI-BURDEN                      0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      SDI-PAYROLL TAXES           4,290.48     0.31        34,973.42     0.26         2,803.60     0.35       41,646.45      0.35
      SDI-OVERHEAD                5,367.17     0.39        61,564.08     0.45         4,785.74     0.60       67,136.83      0.56
      SDI-EMP BENEFITS            6,029.46     0.44        74,796.37     0.55         6,359.88     0.80       34,471.39      0.29
      SDI-ACID                   15,963.65     1.16       256,730.88     1.88        15,576.43     1.96      153,063.76      1.28
      SDI-ELECTRICITY            21,107.77     1.53        93,890.24     0.69         6,415.04     0.81       74,173.53      0.62
      SDI-NATURAL GAS             3,826.89     0.28        36,108.62     0.27         2,471.92     0.31       27,180.38      0.23
      SDI-CAUSTIC                18,503.88     1.34       195,794.45     1.44         9,233.26     1.16      150,913.94      1.26
      SDI-SALT                    1,199.52     0.09        65,784.61     0.48         7,084.35     0.89       45,210.03      0.38
      SDI-WATER                  42,320.92     3.07       438,136.25     3.22        19,080.21     2.40      410,885.14      3.43
      SDI-CARBON                 12,199.51     0.89       100,428.04     0.74        10,147.56     1.28       86,811.31      0.72
      SDI-EQUIP LEASING          47,418.66     3.44       569,023.92     4.18        47,418.66     5.97      586,496.98      4.90
      SDI-MISCELLANEOUS           6,604.26     0.48        61,605.21     0.45         9,935.83     1.25       49,424.35      0.41
                           --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL SDI COSTS               221,155.00    16.04     2,269,369.13    16.66     163,069.82      20.52    2,017,028.20     16.84


      SERVICE-WAGES              64,108.69     4.65       570,803.82     4.19        55,490.30     6.98      609,630.34      5.09
      SERVICE-BURDEN AND          7,949.10-    0.58-       99,012.77-    0.73-        8,373.41-    1.05-     106,280.43-     0.89-
      SERVICE-BURDEN                  0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      SERV-PAYROLL TAXES          6,392.25     0.46        53,836.15     0.40         5,463.24     0.69       66,143.41      0.55
      SERVICE-OVERHEAD            7,949.10     0.58        99,012.77     0.73         8,373.41     1.05      106,280.43      0.89
      SERV-EMP. BENEFITS          6,286.66     0.46       105,670.56     0.78        10,111.92     1.27       15,158.02      0.13
      SERVICE-SUPPLIES                0.00     0.00         1,651.10     0.01            95.26     0.01          134.21      0.00
      SERV-VEHICLE LEASE         19,752.32     1.43       239,910.10     1.76        19,939.17     2.51      239,017.34      2.00
      SERVICE-VEH REPAIR          3,341.42     0.24        78,680.86     0.58        10,319.29     1.30       89,916.72      0.75
      SERVICE EQUIPMENT               0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      SERV-VEH INSURANCE              0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      SERVICE-FUEL                7,459.46     0.54       123,436.69     0.91         9,972.95     1.25      110,876.93      0.93
      SERV-VEH ALLOWANCE          1,510.19     0.11        19,197.89     0.14         1,332.15     0.17        7,421.20      0.06
      SERV-SMALL TOOLS            1,297.79     0.09        10,061.12     0.07           832.32     0.10        8,563.31      0.07
      SERVICE-FILTERS             1,502.00     0.11       108,595.74     0.80        14,874.08     1.87      173,368.36      1.45
      SERV-EQUIP LEASING         38,335.50     2.78       496,177.94     3.64        43,480.64     5.47      523,718.74      4.37
      SERVICE-MISC.              15,937.81     1.16       306,020.92     2.25        14,222.49     1.79      290,499.44      2.43
                           --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL SERVICE COSTS           165,924.09    12.04     2,114,042.89    15.52     186,133.81      23.42    2,134,448.02     17.82


      EQUIPMENT COSTS            14,106.49     1.02       307,717.50     2.26        25,093.37     3.16      467,070.62      3.90
      INVENTORY EXPENSE          41,526.73     3.01        42,147.49     0.31     196,418.34      24.71      196,418.34      1.64
      EQ COSTS-PROJECT          124,205.60     9.01     2,180,995.34    16.01        98,868.49    12.44      843,569.18      7.04
      COST EXPENDIBLES           36,385.98     2.64       694,345.48     5.10        28,629.66     3.60    1,231,653.43     10.28
      COST OF REPAIRS                 0.00     0.00           595.35     0.00             0.00     0.00        1,154.21      0.01
      EQUIP COSTS-ASSETS          2,473.04     0.18        65,337.38     0.48         4,076.08     0.51      398,537.40      3.33
      COST EXCESS OF CAP              0.00     0.00             0.00     0.00         5,155.00     0.65      997,161.92-     8.33-
                           --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL DIRECT EXPENSES         605,776.93    43.95     7,674,550.56    56.34     707,444.57      89.01    6,292,717.48     52.54




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DATE: 03/17/19                                         WESTERN RESERVE WATER SYSTEMS                                        PAGE#:    3
TIME: 18:53:29                                          OPERATIONS INCOME STATEMENT                                         RPT ID: 4S
DEPT NAME: Department Summary                            PERIOD END DATE: 12/31/18                                          DEPT#: Summary


                                       2018                      2018                      2017                      2017
                                   DECEMBER              YEAR-TO-DATE                  DECEMBER              YEAR-TO-DATE
                                     ACTUAL     ROW%           ACTUAL     ROW%           ACTUAL      ROW%          ACTUAL      ROW%


      WAGES-DIRECT               74,762.87     5.42       857,011.96     6.29        75,081.25      9.45      995,373.66      8.31
      DIRECT-BURDEN AND          11,651.38-    0.85-      159,174.33-    1.17-       13,814.78-     1.74-     186,031.58-     1.55-
      DIRECT-BURDEN                   0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      TAXES-PAYROLL-OPER          8,914.31     0.65        86,222.33     0.63         8,788.26      1.11      113,201.78      0.95
      DIRECT-OVERHEAD            11,651.38     0.85       159,174.33     1.17        13,814.78      1.74      186,031.58      1.55
      EMP BENEFIT-OPER           10,977.24     0.80       112,301.06     0.82        43,838.68      5.52      219,683.90      1.83
      JOB SUPPLIES-GEN            6,456.71     0.47        21,228.81     0.16         1,610.85      0.20       21,858.55      0.18
      UNIFORMS-OPERATION         18,024.17     1.31        36,489.93     0.27         1,541.65      0.19       23,286.03      0.19
      MISC DEDUCTION                  0.00     0.00             0.00     0.00             0.00      0.00           10.00-     0.00
      VEHICLE/EQUIP LEAS            628.00     0.05         7,355.07     0.05           684.17      0.09        6,904.50      0.06
      MISC RENTALS-OPERA              0.00     0.00        29,864.84     0.22         3,477.01      0.44        3,647.01      0.03
      OUTSIDE SERVICES           36,137.52     2.62        97,883.98     0.72        10,378.62      1.31      187,447.20      1.56
      OUTSIDE LABOR-CASU              0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      SUBCONTRACTORS-EXP              0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      EMPLOYEE TRAINING               0.00     0.00         2,196.15     0.02             0.00      0.00          299.00      0.00
      EMPLOYEE MEDICAL                0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      OUT-OF-TOWN EXPENS          5,051.98     0.37        95,397.03     0.70        10,441.26      1.31      109,063.97      0.91
      BUILDING REPAIRS              848.00     0.06         2,433.40     0.02             0.00      0.00          849.75      0.01
      FREIGHT-OPERATIONS         29,950.15     2.17       351,318.15     2.58        25,826.92      3.25      167,456.91      1.40
      MISC OPERATIONS                 0.00     0.00           195.00     0.00             0.00      0.00            0.00      0.00
      INSURANCE                  19,872.30     1.44       231,309.10     1.70        15,318.00      1.93      224,619.40      1.88
      TAXES-GENERAL-OPER              0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      LICENSE AND PERMIT              0.00     0.00         4,591.75     0.03           159.75      0.02        5,109.25      0.04
      SERVICE VEH. R&M                0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      VEHIC REP & MAINT             608.40     0.04           958.07     0.01         2,951.14      0.37        3,847.50      0.03
      MISC EQUIP R&M                629.38-    0.05-       54,149.36     0.40         7,741.38-     0.97-      57,313.49      0.48
      FUEL                            0.00     0.00         5,630.76     0.04           688.62      0.09        6,956.28      0.06
      TIRES                           0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      TIRE REPAIR & SERV              0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      TOOL/EQUIP REPAIRS              0.00     0.00            50.78     0.00             0.00      0.00          209.88      0.00
      SHOP SUPPLIES               2,605.79     0.19        59,114.45     0.43         7,756.73      0.98       77,794.03      0.65
      OTHER SHOP EXPENSE              0.00     0.00             0.00     0.00             0.00      0.00          210.02      0.00
      EQ/VEHICLE INSURAN              0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      DEPRECIATION               35,507.00     2.58       419,826.47     3.08        51,196.49      6.44      376,770.92      3.15
      INVENTORY CHANGE                0.00     0.00       135,000.00     0.99             0.00      0.00            0.00      0.00
      COST EXCESS OF BIL              0.00     0.00             0.00     0.00             0.00      0.00            0.00      0.00
      DISCOUNT ON PURCHA              0.00     0.00           493.92-    0.00            32.29-     0.00          354.29-     0.00
                           --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL INDIRECT EXPENSES       249,715.06    18.12     2,610,034.53    19.16     251,965.73       31.70    2,601,538.74     21.72
                           --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL OPERATIONS              855,491.99    62.06    10,284,585.09    75.50     959,410.30      120.72    8,894,256.22     74.26




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DATE: 03/17/19                                         WESTERN RESERVE WATER SYSTEMS                                       PAGE#:    4
TIME: 18:53:29                                          OPERATIONS INCOME STATEMENT                                        RPT ID: 4S
DEPT NAME: Department Summary                            PERIOD END DATE: 12/31/18                                         DEPT#: Summary


                                       2018                      2018                      2017                     2017
                                   DECEMBER              YEAR-TO-DATE                  DECEMBER             YEAR-TO-DATE
                                     ACTUAL     ROW%           ACTUAL     ROW%           ACTUAL     ROW%          ACTUAL      ROW%



ADMINISTRATIVE EXPENSE:
      WAGES-OFFICE               43,252.40     3.14       704,236.51     5.17        50,627.12     6.37      947,444.00      7.91
      WAGES-SALES                14,619.54     1.06       228,333.45     1.68        22,345.70     2.81      390,266.54      3.26
      WAGES-ADMINISTRATI         33,574.42     2.44       387,967.66     2.85        28,340.60     3.57      408,924.35      3.41
      TAXES-PAYROLL-ADMI          8,313.18     0.60       113,833.18     0.84        15,286.08     1.92      139,637.13      1.17
      EMP BENEFITS-ADMIN         10,561.41     0.77       225,802.04     1.66        54,460.45     6.85      346,574.35      2.89
      HEALTH CARE SOUTHE              0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      PENSION PLAN CONTR              0.00     0.00        58,040.53     0.43         6,327.86     0.80       71,436.93      0.60
      OUTSIDE SALES COMM            519.80     0.04         7,120.15     0.05           328.00     0.04        3,532.00      0.03
      RENT                       20,675.00     1.50       259,240.00     1.90        37,680.00     4.74      264,060.00      2.20
      UTILITIES                  13,000.00     0.94        13,000.00     0.10             0.00     0.00            0.00      0.00
      TELEPHONE AND COMM          3,693.68     0.27        55,797.78     0.41         7,245.24     0.91       60,262.55      0.50
      EMP TRAINING ADMIN            205.45     0.01         2,210.94     0.02             0.00     0.00        2,913.48      0.02
      OFFICE SUPPLIES             2,533.34     0.18        28,564.82     0.21         1,549.97     0.20       30,829.57      0.26
      MISC OFFICE & ADMI         13,445.77     0.98       129,527.18     0.95         9,178.87     1.15      127,028.70      1.06
      POSTAGE                         0.00     0.00         1,858.64     0.01           544.43     0.07        2,813.19      0.02
      REPAIR & MAINT AGR              0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      DUES AND SUBSCRIPT            155.38     0.01        11,450.67     0.08         1,199.94     0.15       10,285.07      0.09
      OFFICE EQ REP & MA             29.65     0.00            61.62     0.00             0.00     0.00            0.00      0.00
      FREIGHT-ADMINISTRA              0.00     0.00           711.45     0.01             0.00     0.00            0.00      0.00
      TEMP OFFICE PERSON         11,327.73     0.82        39,072.30     0.29             0.00     0.00            0.00      0.00
      DONATIONS                       0.00     0.00             0.00     0.00             0.00     0.00        1,300.00      0.01
      OFFICE EQUIP LEASI          1,292.96     0.09        18,738.12     0.14         1,316.07     0.17       17,467.91      0.15
      CAR ALLOWANCE               1,415.00     0.10        44,215.00     0.32         5,200.00     0.65       75,550.00      0.63
      ADVERTISING                     0.00     0.00           809.12     0.01             0.00     0.00        6,807.46      0.06
      PROMOTION                       0.00     0.00           395.51     0.00         9,164.37     1.15       85,157.31      0.71
      NON-DED ENTER/DUES              0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      ENTERTAINMENT                 743.00     0.05        12,254.31     0.09         1,723.80-    0.22-      29,471.78      0.25
      TAXES-GENERAL-ADMI          4,905.00     0.36        58,212.29     0.43         5,678.46     0.71       56,467.93      0.47
      DEPRECIATION-ADMIN          3,842.00     0.28        46,679.08     0.34         3,099.61     0.39       32,772.21      0.27
      INTEREST                   41,529.15     3.01       273,283.16     2.01        30,163.68     3.80      152,995.94      1.28
      PROFESSIONAL FEES           7,160.50     0.52       220,957.89     1.62        27,642.25     3.48       75,057.25      0.63
      BAD DEBTS                 113,346.00     8.22       115,550.65     0.85        93,635.00    11.78       94,581.54      0.79
      ABAND/FIXED ASSETS              0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      ORGANIZATION COSTS              0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      ADMIN SERVICE FEES              0.00     0.00        75,565.37     0.55         9,354.18     1.18      120,535.30      1.01
                           --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL ADMIN EXPENSE           350,140.36    25.40     3,133,489.42    23.00     418,644.08      52.68    3,554,172.49     29.67
PROFIT (LOSS) FROM
  OPERATIONS:                   172,823.96    12.54       204,613.55     1.50     583,296.66-     73.39-     470,559.30-     3.93-


OTHER INCOME:
      DIVIDENDS & INTERE              0.00     0.00             0.00     0.00             0.00     0.00            0.00      0.00
      MISC INCOME                    18.00     0.00        88,723.93     0.65         3,448.14-    0.43-      88,571.87      0.74
      SALE OF FIXED ASSE              0.00     0.00         7,634.54     0.06             0.00     0.00            0.00      0.00
                           --------------- ------- --------------- ------- --------------- ------- --------------- -------
  TOTAL OTHER INCOME                 18.00     0.00        96,358.47     0.71         3,448.14-    0.43-      88,571.87      0.74
                           --------------- ------- --------------- ------- --------------- ------- --------------- -------
INCOME (LOSS) B/T               172,841.96    12.54       300,972.02     2.21     586,744.80-     73.83-     381,987.43-     3.19-




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DATE: 03/17/19                WESTERN RESERVE WATER SYSTEMS
                             INTERIM FINANCIAL BALANCE SHEET
                                PERIOD END DATE: 12/31/18




                                           ASSETS
                                           ~~~~~~


      CURRENT ASSETS:


                 CASH & EQUIVALENT                      325,703.09
                 ACCOUNTS RECEIVABLE - TRADE          2,640,966.39
                 OTHER RECEIVABLES                      225,295.65-
                 ADVANCES RECEIVABLE                          281.88
                 INVENTORY                            2,387,541.28
                 PREPAID TAXES                           37,548.54
                 PREPAID EXPENSES                       511,608.88
                                                    ---------------
                   TOTAL CURRENT ASSETS                                  5,678,354.41


      FIXED ASSETS:


                 CAPITAL CONSTRUCTION                           0.00
                 FURNITURE AND FIXTURES                 211,363.13
                 EQUIPMENT PLANT                      1,075,716.23
                 EQUIPMENT FIELD SERVICES             3,397,894.79
                 EQUIPMENT-EXCHANGE TANKS             1,057,865.17
                 EQUIPMENT MISCELLANEOUS                 67,894.99
                 VEHICLES                               288,230.84
                 SMALL TOOLS                             12,471.61
                 LEASEHOLD IMPROVEMENTS                 350,758.76
                                                    ---------------
                 TOTAL FIXED ASSETS                   6,462,195.52
                 LESS ACCUM DEPRECIATION              4,463,153.27-
                                                    ---------------
                   BOOK VALUE OF FIXED ASSETS                            1,999,042.25


      OTHER ASSETS:
                 NOTES RECEIVABLE - GRID                        0.00
                 DEPOSITS                                       0.00
                 ORGANIZATION COSTS                             0.00
                 EXCHANGE                                       0.00
                                                    ---------------
                   TOTAL OTHER ASSETS                                            0.00
                                                                       ---------------
        TOTAL ASSETS                                                     7,677,396.66
                                                                       ===============




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DATE: 03/17/19                WESTERN RESERVE WATER SYSTEMS
                             INTERIM FINANCIAL BALANCE SHEET
                                PERIOD END DATE: 12/31/18




                          LIABILITIES AND SHAREHOLDERS EQUITY
                          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      CURRENT LIABILITIES:


                 ACCOUNTS PAYABLE                     1,428,755.33
                 ACCRUED AND WITHHELD TAXES              84,842.19
                 ACCRUED EXPENSES                     1,076,320.06
                                                    ---------------
                   TOTAL CURRENT LIABILITIES                            2,589,917.58


      NOTES PAYABLE (INCLUDES CURRENT PORTION):


                 PROMISSORY GRID                        433,607.22
                 FINANCIAL INSTITUTIONS                 299,970.10
                 WORKING CAPITAL                      2,880,210.00
                 NOTES PAYABLE - OTHER                         0.00
                                                    ---------------
                   TOTAL NOTES PAYABLE                                  3,613,787.32


      SHAREHOLDERS EQUITY:


                   CAPITAL                                                200,000.00


                 RETAINED EARNINGS                             0.00
                 S CORP RETAINED EARNINGS               972,719.74
                 CURRENT PROFIT (LOSS)                  300,972.02
                 LESS DIVIDENDS PAID                           0.00
                                                    ---------------
                   TOTAL RETAINED EARNINGS                              1,273,691.76
                                                                      ---------------
        TOTAL LIABILITIES & EQUITY                                      7,677,396.66
                                                                      ===============




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 Fill in this information to identify the case:

 Debtor name         WESTERN RESERVE WATER SYSTEMS, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 1, 2019                           X /s/ Michael Eiermann
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Eiermann
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name WESTERN RESERVE WATER SYSTEMS, INC.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF OHIO                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AETNA PLASTICS                                                                                                                                                           $16,579.69
 CORP.
 P.O. BOX 931780
 Cleveland, OH 44193
 BENOVATION                                                                                                                                                               $29,557.20
 2035 READING RD.
 Cincinnati, OH
 45202
 BONDED                                                                                                                                                                   $64,083.51
 CHEMICALS
 1125 SOLUTIONS
 CENTER
 Chicago, IL 60677
 CHEMTREAT, INC                                                                                                                                                           $23,179.20
 15045
 COLLECTIONS
 CENTER
 Chicago, IL 60693
 ENPRESS, LLC                                                                                                                                                             $17,535.12
 34899 CURTIS BLVD
 Eastlake, OH 44095
 ENVIROSERVE                                                                                                                                                              $59,851.89
 PO BOX 413070
 Salt Lake City, UT
 84141
 FILMTEC                                                                                                                                                                $204,596.06
 CORPORATION
 4118 COLLECTION
 CENTER DR
 Chicago, IL 60693
 GCS WATER                                                                                                                                                              $130,471.18
 PURIFICATION, LLC
 PO BOX 703
 Rosharon, TX 77583




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    WESTERN RESERVE WATER SYSTEMS, INC.                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 KELLY SERVICES,                                                                                                                                                          $41,855.25
 INC.
 PO BOX 820405
 Philadelphia, PA
 19182
 Key Bank                                                       KeyBank National                                 $2,895,451.11                         $0.00          $2,895,451.11
 127 Public Square                                              Association Loan
 Cleveland, OH 44114                                            and Lesses: Loan
                                                                No. 11001
                                                                ($4,000,000
                                                                original principal
                                                                amount) to
                                                                Western Reserve
                                                                (the 'Westem
                                                                Reserve Loanâ€¢
                                                                o
 METTLER-TOLEDO                                                                                                                                                           $31,967.40
 INGOLD
 23669 NETWORK
 PLACE
 Chicago, IL 60673
 NEORSD                                                                                                                                                                   $21,016.45
 PO BOX 94550
 Cleveland, OH
 44101-4550
 OTP INDUSTRIAL                                                                                                                                                           $24,464.13
 SOLUTIONS
 PO BOX 73278
 Cleveland, OH 44193
 PUROLITE                                                                                                                                                                 $19,237.37
 COMPANY
 PO BOX 824075
 Philadelphia, PA
 19182-4075
 RESINTECH                                                                                                                                                                $47,958.07
 1 RESINTECH
 PLAZA
 160 COOPER ROAD
 West Berlin, NJ
 08091
 REXEL OF                                                                                                                                                                 $18,517.22
 AMERICA, LLC
 PO BOX 742833
 Atlanta, GA
 30374-2833
 SUEZ WTS USA, INC                                                                                                                                                      $105,702.57
 12822 COLLECTION
 CENTER DRIVE
 Chicago, IL 60693




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    WESTERN RESERVE WATER SYSTEMS, INC.                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TALENT                                                                                                                                                                   $15,600.00
 TRANSPORTATION,
 INC.
 PO BOX 361159
 Strongsville, OH
 44136
 WATER SURPLUS /                                                                                                                                                        $123,073.23
 SURPLUS MGMT.
 PO BOX 2668
 Loves Park, IL 61132
 WSM                                                                                                                                                                      $25,860.18
 580 GOLDEN OAK
 PARKWAY
 Oakwood Village,
 OH 44146




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            WESTERN RESERVE WATER SYSTEMS, INC.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $       10,285,282.36

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $       10,285,282.36


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $        2,895,451.11


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$        1,411,035.04


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $           4,306,486.15




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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 Fill in this information to identify the case:

 Debtor name         WESTERN RESERVE WATER SYSTEMS, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            Checking -
           3.1.     KeyBank                                                 Disbursement                    3388                                  $303,000.00




           3.2.     KeyBank                                                 Checking - Payroll              3530                                       $577.00




           3.3.     KeyBank                                                 Checking - Insurance            8027                                     $1,993.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $305,570.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         WESTERN RESERVE WATER SYSTEMS, INC.                                                   Case number (If known)
                Name


        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         1,481,854.21       -                                    0.00 = ....               $1,481,854.21
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                $1,481,854.21
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used    Current value of
                                                      physical inventory            debtor's interest          for current value        debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Miscellaneous inventory                                                                  $0.00                                      $2,386,422.00



 23.       Total of Part 5.                                                                                                                $2,386,422.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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 Debtor         WESTERN RESERVE WATER SYSTEMS, INC.                                           Case number (If known)
                Name

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           See Attached                                                                     $0.00                                     $211,363.13



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                          $211,363.13
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     See Attached                                                           $0.00                                     $288,230.84



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Miscellaneous small tools                                                        $0.00                                      $12,471.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         WESTERN RESERVE WATER SYSTEMS, INC.                                          Case number (If known)
                Name

            Equipment Miscellaneous
            Yale Tow Motor
            Fluid Purchase
            Welder
            2007 Purchases
            Welder Miller
            Welder w/ water cooler
            Steel Rack                                                                      $0.00                                 $67,894.99


            Equipment Exchange Tanks
            (3) 3.6 Carbon Exchange Tanks
            (32) 3.6 Tanks
            (32) 3.6 Exchange Tanks
            (36) 3.6 Tanks
            Capital Leases 2013
            PDI - Exchange Tanks - W1610005
            Exchange Tanks - W1710005
            PDI - W1710006                                                                  $0.00                             $1,057,865.17


            Equipment Field Services
            Dupont Media addition - W1710001
            Duplex 50 GPM RO Rental - W1710002
            Trailer 502-Granite City - W1710003
            Trailer #502 - W1710007                                                         $0.00                             $3,397,894.79


            Equipment-Plant
            Pump to recert in waste tank
            New Cooler
            Shelco Filters
            DI Rinsewater reclaim project - W1610029                                        $0.00                             $1,075,716.23




 51.        Total of Part 8.                                                                                                $5,900,073.02
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor         WESTERN RESERVE WATER SYSTEMS, INC.                                          Case number (If known)
                Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 5
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 Debtor          WESTERN RESERVE WATER SYSTEMS, INC.                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $305,570.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,481,854.21

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $2,386,422.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $211,363.13

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $5,900,073.02

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $10,285,282.36             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $10,285,282.36




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 6
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 Report Selections:
 Customer Code:       ALL                                           Salesperson:            ALL                                     Minimum Balance:          -99,999,999.99
  Job Number:         ALL                                           Project Manager:        ALL                                     Minimum Days Overdue:     0
 Customer Type:       ALL                                           G/L Division:           ALL
  Include Invoice-specific Notes:      No


                                                                           WESTERN RESERVE WATER SYSTEMS
                                                         Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction      Payment
                                                                         For The Period Ending: 03/29/19
         Type          Terms
                                                                                                  Open Balance                                         Days Past Due
  Invoice /                          Invoice     Job            Original
  Check #             Date          Due Date    Number         Amount               Total          Retention Non-Retention    Current     1-30 Days    31-60 Days      61-90 Days      Over 90 Days

Customer ABEENG / ABENGOA BIOENERGY OF INDIANA Phone: (636) 728-0508
      Job: 1410 / Cleveland 2014
  118079       I 01/12/15 6 03/13/15            1410             9,150.00              9,150.00                    9,150.00                                                                   9,150.00
       Job: 1410 / Cleveland 2014 Subtotals:                                           9,150.00                    9,150.00                                                                   9,150.00
Customer ABEENG Totals:                                                                9,150.00                    9,150.00                                                                   9,150.00
Customer ABEILL / ABENGOA BIOENERGY OF ILLINOIS Phone:
      Job: 1510 / Cleveland
  121494       I 11/13/15 3         12/13/15    1510                 650.00             650.00                      650.00                                                                     650.00
       Job: 1510 / Cleveland Subtotals:                                                 650.00                      650.00                                                                     650.00
      Job: ABEILL60CF / 60CF RENTAL/EXCHANGES
  118462       I 01/01/15 3 01/31/15   ABEILL60CF                  900.00                900.00                      900.00                                                                     900.00
  118463       I 02/01/15 3 03/03/15   ABEILL60CF                  600.00                600.00                      600.00                                                                     600.00
  119533       I 04/13/15 3 05/13/15   ABEILL60CF                4,365.00              4,365.00                    4,365.00                                                                   4,365.00
  119919       I 05/13/15 6 07/12/15   ABEILL60CF                  650.00                650.00                      650.00                                                                     650.00
  122033       I 11/13/15 6 01/12/16   ABEILL60CF                  650.00                650.00                      650.00                                                                     650.00
  122852       I 11/13/15 6 01/12/16   ABEILL60CF                  650.00                650.00                      650.00                                                                     650.00
  123090       I 12/28/15 6 02/26/16   ABEILL60CF                  650.00                650.00                      650.00                                                                     650.00
  123538       I 02/02/16 6 04/02/16   ABEILL60CF                  650.00                650.00                      650.00                                                                     650.00
  124161       I 03/10/16 6 05/09/16   ABEILL60CF                  650.00                650.00                      650.00                                                                     650.00
       Job: ABEILL60CF / 60CF RENTAL/EXCHANGES Subtotals:                              9,765.00                    9,765.00                                                                   9,765.00
Customer ABEILL Totals:                                                             10,415.00                    10,415.00                                                                   10,415.00
Customer ABEKAN / AB BIOENERGY BIOMASS OF KANSAS Phone: (636) 728-0508 Contact: ADAM
      Job: 1510 / Cleveland
  121798       I 10/02/15 3         11/01/15    1510           199,942.31           20,738.50                    20,738.50                                                                   20,738.50
       Job: 1510 / Cleveland Subtotals:                                             20,738.50                     20,738.50                                                                  20,738.50
      Job: ABEKASXPDI / PDI EXCHANGE/RENTAL
  119390      I 04/13/15 6 06/12/15   ABEKASXPDI                 7,155.00            7,155.00                     7,155.00                                                                    7,155.00
  120200      I 06/12/15 6 08/11/15   ABEKASXPDI                 3,150.00            3,150.00                     3,150.00                                                                    3,150.00
  120288      I 06/12/15 6 08/11/15   ABEKASXPDI                 5,200.00            5,200.00                     5,200.00                                                                    5,200.00
  120481      I 07/01/15 6 08/30/15   ABEKASXPDI                 5,200.00            5,200.00                     5,200.00                                                                    5,200.00
  120758      I 07/03/15 6 09/01/15   ABEKASXPDI                 5,200.00            5,200.00                     5,200.00                                                                    5,200.00
  120876      I 07/20/15 6 09/18/15   ABEKASXPDI                 7,710.00            7,710.00                     7,710.00                                                                    7,710.00
  120977      I 07/23/15 6 09/21/15   ABEKASXPDI                 2,600.00            2,600.00                     2,600.00                                                                    2,600.00
  121003      I 08/03/15 6 10/02/15   ABEKASXPDI                 7,800.00            7,800.00                     7,800.00                                                                    7,800.00
  122028      I 10/01/15 6 11/30/15   ABEKASXPDI                14,000.00           14,000.00                    14,000.00                                                                   14,000.00
  122084      I 10/15/15 6 12/14/15   ABEKASXPDI                 6,030.00            6,030.00                     6,030.00                                                                    6,030.00
  122085      I 10/15/15 6 12/14/15   ABEKASXPDI                20,462.50           20,462.50                    20,462.50                                                                   20,462.50


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                                                                         WESTERN RESERVE WATER SYSTEMS
                                                       Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction       Payment
                                                                       For The Period Ending: 03/29/19
         Type          Terms
                                                                                         Open Balance                                        Days Past Due
  Invoice /                         Invoice    Job            Original
  Check #             Date         Due Date   Number          Amount         Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer ABEKAN / AB BIOENERGY BIOMASS OF KANSAS Phone: (636) 728-0508 Contact: ADAM (continued)
  123089       I 12/28/15 6 02/26/16    ABEKASXPDI     6,300.00  6,300.00                6,300.00                                                                                    6,300.00
  123537       I 02/02/16 6 04/02/16    ABEKASXPDI     1,800.00  1,800.00                1,800.00                                                                                    1,800.00
      Job: ABEKASXPDI / PDI EXCHANGE/RENTAL Subtotals:          92,607.50               92,607.50                                                                                   92,607.50
Customer ABEKAN Totals:                                                     113,346.00                  113,346.00                                                                 113,346.00
Customer ACCMAC / ACCURATE METAL MACHINING, INC. Phone: (440) 350-8225 Contact: BARB VINCIQUERRA
      Job: ACCPAI34CF / 34CF METERED SYSTEM
  140056      I 03/12/19 3 04/11/19   ACCPAI34CF               1,415.99       1,415.99                    1,415.99    1,415.99
       Job: ACCPAI34CF / 34CF METERED SYSTEM Subtotals:                       1,415.99                    1,415.99    1,415.99
Customer ACCMAC Totals:                                                       1,415.99                    1,415.99    1,415.99
Customer ACCMET / ACCURATE METAL SAWING SERVICE Phone: (440) 205-3205
      No Job
  138321        I 10/01/18     3   10/31/18                        75.00         75.00                      75.00                                                                       75.00
       No Job Subtotals:                                                         75.00                       75.00                                                                      75.00
      Job: ACCMENBATT / BATTERY CHARGING
  139909      I 02/26/19 3 03/28/19 ACCMENBATT                    113.30       113.30                      113.30                   113.30
       Job: ACCMENBATT / BATTERY CHARGING Subtotals:                           113.30                      113.30                   113.30
Customer ACCMET Totals:                                                        188.30                      188.30                   113.30                                              75.00
Customer ADMPLA / AMD PLASTICS Phone: (216) 289-4862
      Job: 1910 / CLEVELAND
  140137       I 02/19/19 3 03/21/19          1910             1,946.43       1,946.43                    1,946.43                1,946.43
       Job: 1910 / CLEVELAND Subtotals:                                       1,946.43                    1,946.43                1,946.43
Customer ADMPLA Totals:                                                       1,946.43                    1,946.43                1,946.43
Customer AEPGEN / AEP GENERATING COMPANY Phone: (740) 925-3293
      No Job
  138472        I   10/26/18   3   11/25/18                    1,250.00       1,250.00                    1,250.00                                                                   1,250.00
  138734        I   11/01/18   3   12/01/18                    1,853.33       1,853.33                    1,853.33                                                                   1,853.33
  138733        I   11/26/18   3   12/26/18                    1,250.00       1,250.00                    1,250.00                                                                   1,250.00
  139026        I   12/01/18   3   12/31/18                    1,853.33       1,853.33                    1,853.33                                             1,853.33
  139025        I   12/26/18   3   01/25/19                    1,250.00       1,250.00                    1,250.00                                             1,250.00
       No Job Subtotals:                                                      7,456.66                    7,456.66                                             3,103.33              4,353.33
Customer AEPGEN Totals:                                                       7,456.66                    7,456.66                                             3,103.33              4,353.33
Customer AEPOKL / AEP PUBLIC SVC CO OF OKLAHOMA Phone:
      Job: 1818 / PLANT - 2018
  138869       I 11/21/18 4 01/05/19          1818             3,600.00       3,600.00                    3,600.00                                             3,600.00
       Job: 1818 / PLANT - 2018 Subtotals:                                    3,600.00                    3,600.00                                             3,600.00
      Job: AEPSOUPDI / SOUTHWESTERN EXCH/RENTAL
  139787      I 01/29/19 4 03/15/19  AEPSOUPDI                    875.00       875.00                      875.00                   875.00
       Job: AEPSOUPDI / SOUTHWESTERN EXCH/RENTAL Subtotals:                    875.00                      875.00                   875.00
Customer AEPOKL Totals:                                                       4,475.00                    4,475.00                  875.00                     3,600.00

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                                                                                 WESTERN RESERVE WATER SYSTEMS
                                                                Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction      Payment
                                                                                For The Period Ending: 03/29/19
         Type          Terms
                                                                                                 Open Balance                                        Days Past Due
  Invoice /                         Invoice           Job             Original
  Check #             Date         Due Date          Number          Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer AKASHL / AK STEEL CORPORATION Phone: (513) 425-2520 Contact: LATEFA HERNDON - TIA
      Job: AKASHLXXDI / DI EXCHANGES
  137132      I 07/01/18 3 07/31/18  AKASHLXXDI                        1,400.00       1,400.00                    1,400.00                                                                 1,400.00
       Job: AKASHLXXDI / DI EXCHANGES Subtotals:                                      1,400.00                    1,400.00                                                                 1,400.00
Customer AKASHL Totals:                                                               1,400.00                    1,400.00                                                                 1,400.00
Customer AKMIDD / AK STEEL - MIDDLETOWN Phone: Contact: ACCOUNTS PAYABLE
      Job: W1810222 / Softener Control update
  138129      I 09/28/18 6 11/27/18          W1810222                  7,350.00       7,350.00                    7,350.00                                                                 7,350.00
       Job: W1810222 / Softener Control update Subtotals:                             7,350.00                    7,350.00                                                                 7,350.00
      Job: AKMIDDXPDI / MIDDLETOWN PDI EXCHANGE
  136287      I 05/01/18 6 06/30/18  AKMIDDXPDI                        2,120.00       2,120.00                    2,120.00                                                                 2,120.00
       Job: AKMIDDXPDI / MIDDLETOWN PDI EXCHANGE Subtotals:                           2,120.00                    2,120.00                                                                 2,120.00
Customer AKMIDD Totals:                                                               9,470.00                    9,470.00                                                                 9,470.00
Customer AKSTEE / AK STEEL CORP Phone: (513) 425-5000 Contact: DENNY RANDOLPH
      No Job
  136605         I 06/30/18    6   08/29/18                              530.00        530.00                      530.00                                                                   530.00
  137069         I 07/30/18    6   09/28/18                              530.00        530.00                      530.00                                                                   530.00
  137608         I 08/30/18    6   10/29/18                              530.00        530.00                      530.00                                                                   530.00
       No Job Subtotals:                                                              1,590.00                    1,590.00                                                                 1,590.00
Customer AKSTEE Totals:                                                               1,590.00                    1,590.00                                                                 1,590.00
Customer AKZNOB / AKZO NOBEL COATINGS INC Phone: (440) 584-9678 Contact: REBECCA- NASHVILLE
      No Job
  139914         I 03/01/19    6   04/30/19                            1,127.00       1,127.00                    1,127.00    1,127.00
       No Job Subtotals:                                                              1,127.00                    1,127.00    1,127.00
      Job: AKZHURSALT / SALT
  139468      I 01/16/19 6 03/17/19                AKZHURSALT          2,358.53       2,358.53                    2,358.53                2,358.53
       Job: AKZHURSALT / SALT Subtotals:                                              2,358.53                    2,358.53                2,358.53
Customer AKZNOB Totals:                                                               3,485.53                    3,485.53    1,127.00    2,358.53
Customer ALLAIR / ALLEN AIRCRAFT Phone: (330) 296-9621 Contact: BARB EXT 2240
      Job: W1710209 / Allen Aircraft
  139141      I 12/17/18 3 01/16/19                W1710209          117,406.00     117,406.00                  117,406.00                                           117,406.00
  139856      I 02/22/19 3 03/24/19                W1710209           78,105.00      63,735.00                   63,735.00               63,735.00
       Job: W1710209 / Allen Aircraft Subtotals:                                    181,141.00                  181,141.00               63,735.00                   117,406.00
Customer ALLAIR Totals:                                                             181,141.00                  181,141.00               63,735.00                   117,406.00
Customer AMESUG / AMERICAN SUGAR REFINING, INC Phone: (216) 426-6910
      Job: 1910 / CLEVELAND
  140152       I 02/13/19 3 03/15/19                 1910              1,030.11       1,030.11                    1,030.11                1,030.11
       Job: 1910 / CLEVELAND Subtotals:                                               1,030.11                    1,030.11                1,030.11
Customer AMESUG Totals:                                                               1,030.11                    1,030.11                1,030.11


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                          Open Balance                                       Days Past Due
  Invoice /                        Invoice        Job           Original
  Check #            Date         Due Date       Number         Amount         Total       Retention Non-Retention    Current    1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer AMSUDI / AMERICAN SUGAR REFINING, INC Phone: (216) 426-6903 Contact: Haydee Weddleton
      Job: AMECLEDOWN / DOWNSTAIRS
  140187      I 03/14/19 3 04/13/19 AMECLEDOWN                     169.95        169.95                     169.95      169.95
       Job: AMECLEDOWN / DOWNSTAIRS Subtotals:                                   169.95                     169.95      169.95
      Job: AMECLEXXUP / UPSTAIRS LAB
  140188      I 03/14/19 3 04/13/19  AMECLEXXUP                    169.95        169.95                     169.95      169.95
       Job: AMECLEXXUP / UPSTAIRS LAB Subtotals:                                 169.95                     169.95      169.95
Customer AMSUDI Totals:                                                          339.90                     339.90      339.90
Customer ANOSPE / ANODIZING SPECIALISTS Phone: (440) 951-0257 Contact: MICHAEL PECJAK
      Job: ANOMEN36CF / 3.6 CF SYSTEM
  140020      I 03/05/19 3 04/04/19   ANOMEN36CF                   760.00        760.00                     760.00      760.00
       Job: ANOMEN36CF / 3.6 CF SYSTEM Subtotals:                                760.00                     760.00      760.00
Customer ANOSPE Totals:                                                          760.00                     760.00      760.00
Customer APPPOW / APPALACHIAN POWER CO Phone: (614) 716-6794 Contact: VICTORIA HICKS/BUYER
      Job: 1810 / CLEVELAND
  138726       I 11/13/18 4 12/28/18             1810            6,080.00      6,080.00                    6,080.00                                                                6,080.00
       Job: 1810 / CLEVELAND Subtotals:                                        6,080.00                    6,080.00                                                                6,080.00
      Job: AEPDRESPLT / DRESDEN RENTAL 60CF M/B
  138728      I 11/14/18 4 12/29/18 AEPDRESPLT                   2,975.00      2,975.00                    2,975.00                                            2,975.00
       Job: AEPDRESPLT / DRESDEN RENTAL 60CF M/B Subtotals:                    2,975.00                    2,975.00                                            2,975.00
Customer APPPOW Totals:                                                        9,055.00                    9,055.00                                            2,975.00            6,080.00
Customer APPSPE / APPLIED SPECIALTIES Phone: (440) 933-9442 Contact: MARTI ATKINS
      Job: APPAVO34CF / 34 CF TANK
  139871      I 02/22/19 3 03/24/19          APPAVO34CF            927.00        927.00                     927.00                  927.00
       Job: APPAVO34CF / 34 CF TANK Subtotals:                                   927.00                     927.00                  927.00
Customer APPSPE Totals:                                                          927.00                     927.00                  927.00
Customer AQUSER / AQUA SERVICE COMPANY Phone: (630) 238-1910 Contact: MATT OLSZAK
      Job: 1818 / PLANT - 2018
  138868       I 11/21/18 3 12/21/18             1818            1,320.00      1,320.00                    1,320.00                                                                1,320.00
       Job: 1818 / PLANT - 2018 Subtotals:                                     1,320.00                    1,320.00                                                                1,320.00
Customer AQUSER Totals:                                                        1,320.00                    1,320.00                                                                1,320.00
Customer AREACQ / AREWAY ACQUISITION, INC Phone: (216) 651-9022 Contact: JESSICA SPARKS
      Job: AREBROPAIN / PAINT FACILITY/CLEAR COAT
  139380      I 11/14/18 3 12/14/18    AREBROPAIN                  754.90        754.90                     754.90                                                                  754.90
       Job: AREBROPAIN / PAINT FACILITY/CLEAR COAT Subtotals:                    754.90                     754.90                                                                  754.90
Customer AREACQ Totals:                                                          754.90                     754.90                                                                  754.90
Customer AUBFIR / AUBURN FIRE DEPARTMENT Phone: (440) 543-4133 Contact: JOHN PHILLIPS
      Job: 1910 / CLEVELAND
  140154       I 02/20/19 3 03/22/19             1910              380.00        380.00                     380.00                  380.00

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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                         Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                         For The Period Ending: 03/29/19
         Type        Terms
                                                                                          Open Balance                                        Days Past Due
  Invoice /                       Invoice       Job             Original
  Check #           Date         Due Date      Number          Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer AUBFIR / AUBURN FIRE DEPARTMENT Phone: (440) 543-4133 Contact: JOHN PHILLIPS (continued)
       Job: 1910 / CLEVELAND Subtotals:                                          380.00                     380.00                   380.00
Customer AUBFIR Totals:                                                          380.00                     380.00                   380.00
Customer AXACOA / AXALTA COATING SYSTEMS, LLC Phone: (877) 567-5431 Contact: EMAIL INV
      Job: DUPVAMBPDI / 34 CF MB PDI'S
  139388      I 12/06/18 8 03/06/19         DUPVAMBPDI              700.00       700.00                     700.00                   700.00
  139389      I 12/20/18 8 03/20/19         DUPVAMBPDI              700.00       700.00                     700.00                   700.00
  139390      I 01/08/19 8 04/08/19         DUPVAMBPDI              700.00       700.00                     700.00      700.00
  139645      I 01/28/19 8 04/28/19         DUPVAMBPDI              700.00       700.00                     700.00      700.00
  140057      I 02/13/19 8 05/14/19         DUPVAMBPDI              700.00       700.00                     700.00      700.00
  140058      I 02/21/19 8 05/22/19         DUPVAMBPDI              700.00       700.00                     700.00      700.00
  140143      I 03/12/19 8 06/10/19         DUPVAMBPDI              700.00       700.00                     700.00      700.00
       Job: DUPVAMBPDI / 34 CF MB PDI'S Subtotals:                             4,900.00                    4,900.00    3,500.00    1,400.00
Customer AXACOA Totals:                                                        4,900.00                    4,900.00    3,500.00    1,400.00
Customer BALMET / BALL METAL FOOD CONTAINER, LLC Phone: (330) 244-2331 Contact: GARY POWNELL
      Job: 1910 / CLEVELAND
  139772       I 02/05/19 8 05/06/19           1910              2,643.00      2,643.00                    2,643.00    2,643.00
  139774       I 02/06/19 8 05/07/19           1910                340.00        340.00                      340.00      340.00
       Job: 1910 / CLEVELAND Subtotals:                                        2,983.00                    2,983.00    2,983.00
      Job: BALLCANXDI / DI TANK - WARNER SITE
  134252       I 01/17/18 8 04/17/18   BALLCANXDI                   731.30       231.30                     231.30                                                                   231.30
       Job: BALLCANXDI / DI TANK - WARNER SITE Subtotals:                        231.30                     231.30                                                                   231.30
      Job: SONCAN1SAL / SALT BROOKLINE LOCATION
  140167      I 03/14/19 8 06/12/19  SONCAN1SAL                     454.23       454.23                     454.23      454.23
       Job: SONCAN1SAL / SALT BROOKLINE LOCATION Subtotals:                      454.23                     454.23      454.23
Customer BALMET Totals:                                                        3,668.53                    3,668.53    3,437.23                                                      231.30
Customer BALWAR / BALL METAL FOOD CONTAINERS LLC Phone: (330) 430-4900
      Job: BALLCANXDI / DI TANK - WARNER SITE
  139118       I 12/14/18 9 01/28/19   BALLCANXDI                   731.30       731.30                     731.30                                 731.30
  139993       I 02/22/19 9 03/28/19   BALLCANXDI                   731.30       731.30                     731.30                   731.30
       Job: BALLCANXDI / DI TANK - WARNER SITE Subtotals:                      1,462.60                    1,462.60                  731.30        731.30
Customer BALWAR Totals:                                                        1,462.60                    1,462.60                  731.30        731.30
Customer BASFCA / BASF CATALYSTS LLC Phone: Contact: john ferek
      Job: BASBEAXNEW / BATTERY (NEW)
  140193      I 03/19/19 C 04/18/19  BASBEAXNEW                  4,568.05      4,568.05                    4,568.05    4,568.05
       Job: BASBEAXNEW / BATTERY (NEW) Subtotals:                              4,568.05                    4,568.05    4,568.05
Customer BASFCA Totals:                                                        4,568.05                    4,568.05    4,568.05
Customer BASFNJ / BASF CORPORATION Phone:
      No Job
  139615        I 01/30/19   3   03/01/19                           520.00       520.00                     520.00                   520.00


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                                                                             WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                            Open Balance                                        Days Past Due
  Invoice /                        Invoice       Job              Original
  Check #           Date          Due Date      Number           Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer BASFNJ / BASF CORPORATION Phone:                 (continued)
       No Job Subtotals:                                                           520.00                     520.00                   520.00
Customer BASFNJ Totals:                                                            520.00                     520.00                   520.00
Customer BAYPLA / BAYONNE PLANT HOLDINGS, LLC Phone:
      No Job
  170285        I 02/22/19    3   03/24/19                              856.09     856.09                     856.09                   856.09
       No Job Subtotals:                                                           856.09                     856.09                   856.09
Customer BAYPLA Totals:                                                            856.09                     856.09                   856.09
Customer BETIND / BETTCHER INDUSTRIES, INC. Phone: (440) 965-4422 Contact: EMAIL INV
      Job: BETBIRXXDI / 1.2 CF DI TANKS
  139356       I 01/07/19 3 02/06/19    BETBIRXXDI                      427.45     427.45                     427.45                                 427.45
       Job: BETBIRXXDI / 1.2 CF DI TANKS Subtotals:                                427.45                     427.45                                 427.45
Customer BETIND Totals:                                                            427.45                     427.45                                 427.45
Customer BIRELE / BIRD ELECTRONIC CORP Phone: (440) 519-2004 Contact: DONNA
      Job: BIRSOLHUMI / HUMIDIFICATION SITE
  139995       I 03/01/19 3 03/31/19   BIRSOLHUMI                       268.00     268.00                     268.00      268.00
       Job: BIRSOLHUMI / HUMIDIFICATION SITE Subtotals:                            268.00                     268.00      268.00
      Job: BIRSOLPCBO / PC BOARD PARTS WASHER
  139996       I 03/01/19 3 03/31/19 BIRSOLPCBO                         608.00     608.00                     608.00      608.00
       Job: BIRSOLPCBO / PC BOARD PARTS WASHER Subtotals:                          608.00                     608.00      608.00
Customer BIRELE Totals:                                                            876.00                     876.00      876.00
Customer BLAKES / BLAKESLEE EQUIPMENT COMPANY Phone: (440) 808-6666 Contact: PEGGY
      Job: BLAKES34CF / TANK RENTAL
  139990       I 02/15/19 3 03/17/19         BLAKES34CF            2,736.00      2,736.00                    2,736.00                2,736.00
  139991       I 03/15/19 3 04/14/19         BLAKES34CF            2,736.00      2,736.00                    2,736.00    2,736.00
       Job: BLAKES34CF / TANK RENTAL Subtotals:                                  5,472.00                    5,472.00    2,736.00    2,736.00
      Job: BLAKES36CF / TANK RENTAL
  139988       I 02/15/19 3 03/17/19         BLAKES36CF                  79.20      79.20                      79.20                    79.20
  139989       I 03/15/19 3 04/14/19         BLAKES36CF                  79.20      79.20                      79.20       79.20
       Job: BLAKES36CF / TANK RENTAL Subtotals:                                    158.40                     158.40       79.20        79.20
      Job: GMTOLEWASH / E-WASH (SITE #4)
  139912      I 02/12/19 3 03/14/19   GMTOLEWASH                   1,863.00      1,863.00                    1,863.00                1,863.00
       Job: GMTOLEWASH / E-WASH (SITE #4) Subtotals:                             1,863.00                    1,863.00                1,863.00
      Job: GMTOLHELIC / HELICAL BROACH
  139911      I 02/12/19 3 03/14/19  GMTOLHELIC                         325.80     325.80                     325.80                   325.80
       Job: GMTOLHELIC / HELICAL BROACH Subtotals:                                 325.80                     325.80                   325.80
      Job: ORBMIDXXDI / DI TANKS
  140200      I 03/18/19 3 04/17/19          ORBMIDXXDI                 325.00     325.00                     325.00      325.00
       Job: ORBMIDXXDI / DI TANKS Subtotals:                                       325.00                     325.00      325.00



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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #           Date          Due Date     Number          Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer BLAKES Totals:                                                         8,144.20                    8,144.20    3,140.20    5,004.00
Customer BRAAME / BRASKEM AMERICA, INC. Phone: (215) 841-3100
      Job: BRAKENXXRO / RO SERVICE CONTRACT
  139581      I 11/28/18 3 12/28/18  BRAKENXXRO                 10,167.90      10,167.90                  10,167.90                                                                  10,167.90
  139582      I 12/31/18 3 01/30/19  BRAKENXXRO                 10,892.40      10,892.40                  10,892.40                              10,892.40
       Job: BRAKENXXRO / RO SERVICE CONTRACT Subtotals:                        21,060.30                   21,060.30                             10,892.40                           10,167.90
Customer BRAAME Totals:                                                        21,060.30                  21,060.30                              10,892.40                           10,167.90
Customer BREGAR / ERIEVIEW TOWER Phone: (440) 243-3535 Contact: TRACY FR. DSK
      Job: 1810 / CLEVELAND
  137511       I 08/08/18 3 09/07/18           1810              3,024.00       3,024.00                    3,024.00                                                                  3,024.00
       Job: 1810 / CLEVELAND Subtotals:                                         3,024.00                    3,024.00                                                                  3,024.00
Customer BREGAR Totals:                                                         3,024.00                    3,024.00                                                                  3,024.00
Customer BRIAME / BRIDGESTONE AMERICAS Phone: (330) 379-7565 Contact: MISSY COOK
      Job: BRIAKRRSCH / RESEARCH
  139461       I 01/11/19 3 02/10/19         BRIAKRRSCH            278.10        278.10                      278.10                                 278.10
  140184       I 03/14/19 3 04/13/19         BRIAKRRSCH            169.95        169.95                      169.95      169.95
       Job: BRIAKRRSCH / RESEARCH Subtotals:                                     448.05                      448.05      169.95                     278.10
Customer BRIAME Totals:                                                          448.05                      448.05      169.95                     278.10
Customer BRIDFI / BRIDGESTONE / FIRESTONE INC Phone: (330) 379-6917 Contact: TONY BROWN
      No Job
  139616        I 01/31/19    3   03/02/19                       1,450.51       1,450.51                    1,450.51                1,450.51
       No Job Subtotals:                                                        1,450.51                    1,450.51                1,450.51
Customer BRIDFI Totals:                                                         1,450.51                    1,450.51                1,450.51
Customer BRIFIR / BRIDGESTONE/FIRESTONE Phone: (615) 937-3682 Contact: BETTY (A/P)
      Job: BRIAKRCOMP / COMPUTER ROOM
  140185       I 03/14/19 3 04/13/19 BRIAKRCOMP                    103.00        103.00                      103.00      103.00
       Job: BRIAKRCOMP / COMPUTER ROOM Subtotals:                                103.00                      103.00      103.00
Customer BRIFIR Totals:                                                          103.00                      103.00      103.00
Customer CANHEA / CANTON CITY HEALTH DEPT Phone: (330) 438-4671 Contact: Chris Henning
      Job: CANCANXXDI / DI TANKS
  140070      I 03/08/19 3 04/07/19          CANCANXXDI            211.15        211.15                      211.15      211.15
       Job: CANCANXXDI / DI TANKS Subtotals:                                     211.15                      211.15      211.15
Customer CANHEA Totals:                                                          211.15                      211.15      211.15
Customer CAS311 / CASE W.R.U.-METROHEALTH SYSTEM Phone: (216) 778-5818 Contact: OLD BLDG RM. 311
      Job: CASMETR311 / METROHEALTH RM 311
  134803      I 02/20/18 C 03/22/18  CASMETR311                    110.00        110.00                      110.00                                                                    110.00
       Job: CASMETR311 / METROHEALTH RM 311 Subtotals:                           110.00                      110.00                                                                    110.00
Customer CAS311 Totals:                                                          110.00                      110.00                                                                    110.00



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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                          Open Balance                                        Days Past Due
  Invoice /                        Invoice        Job           Original
  Check #           Date          Due Date       Number        Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer CASEUH / CASE WESTERN RESERVE UNVERSITY Phone:
      Job: CASWEAX508 / WEARN BUILDING RM 508
  139213      I 11/30/18 3 12/30/18  CASWEAX508                     103.00       103.00                     103.00                                                103.00
       Job: CASWEAX508 / WEARN BUILDING RM 508 Subtotals:                        103.00                     103.00                                                103.00
Customer CASEUH Totals:                                                          103.00                     103.00                                                103.00
Customer CASROS / CASE WESTERN RESERVE UNIV Phone: (216) 368-4557 Contact: RO PREVENTATIVE
      No Job
  140023        I 03/01/19    3   03/31/19                       1,838.00      1,838.00                    1,838.00    1,838.00
       No Job Subtotals:                                                       1,838.00                    1,838.00    1,838.00
Customer CASROS Totals:                                                        1,838.00                    1,838.00    1,838.00
Customer CASWES / CASE WESTERN RESERVE Phone: (440) 323-3112 Contact: SAM ARLIA
      Job: CASBINRM31 / BINGHAM BASEMENT RM 31
  140157      I 02/14/19 F 02/24/19  CASBINRM31                     695.00       695.00                     695.00                                 695.00
       Job: CASBINRM31 / BINGHAM BASEMENT RM 31 Subtotals:                       695.00                     695.00                                 695.00
      Job: CASBRB809A / BRB - 809A
  137138      I 07/17/18 F 07/27/18          CASBRB809A             130.00       130.00                     130.00                                                                   130.00
       Job: CASBRB809A / BRB - 809A Subtotals:                                   130.00                     130.00                                                                   130.00
      Job: CASCCSBXRO / CCSB RO SYSTEM
  140061      I 01/01/19 F 01/11/19  CASCCSBXRO                      20.00        20.00                      20.00                                                 20.00
  140062      I 02/08/19 F 02/18/19  CASCCSBXRO                      20.00        20.00                      20.00                                  20.00
       Job: CASCCSBXRO / CCSB RO SYSTEM Subtotals:                                40.00                      40.00                                  20.00          20.00
      Job: CASKENHALE / KENT HALE SMITH 5 FL 513
  133957      I 12/29/17 3 01/28/18   CASKENHALE                    170.00       170.00                     170.00                                                                   170.00
  137140      I 07/17/18 F 07/27/18   CASKENHALE                    320.00       320.00                     320.00                                                                   320.00
       Job: CASKENHALE / KENT HALE SMITH 5 FL 513 Subtotals:                     490.00                     490.00                                                                   490.00
      Job: CASPATH408 / PATHOLOGY 408
  137458      I 08/08/18 F 08/18/18   CASPATH408                     60.00        60.00                      60.00                                                                    60.00
  139776      I 01/29/19 F 02/08/19   CASPATH408                    100.00       100.00                     100.00                                 100.00
       Job: CASPATH408 / PATHOLOGY 408 Subtotals:                                160.00                     160.00                                 100.00                             60.00
      Job: CASWBSMTRO / WOOD BSMT RO
  140065      I 02/23/19 F 03/05/19 CASWBSMTRO                      195.00       195.00                     195.00                   195.00
       Job: CASWBSMTRO / WOOD BSMT RO Subtotals:                                 195.00                     195.00                   195.00
      Job: CASWBXW402 / WOOD BLDG RM W402 - ELGA
  140064      I 01/01/19 F 01/11/19 CASWBXW402                      195.00       195.00                     195.00                                                195.00
       Job: CASWBXW402 / WOOD BLDG RM W402 - ELGA Subtotals:                     195.00                     195.00                                                195.00
      Job: CASWICKEND / WICKENDEN 505-509 DI
  138943      I 12/03/18 F 12/13/18  CASWICKEND                     135.00       135.00                     135.00                                                                   135.00
       Job: CASWICKEND / WICKENDEN 505-509 DI Subtotals:                         135.00                     135.00                                                                   135.00
      Job: CASWOLB121 / WOLSTEIN RO-RM B121M
  140063      I 01/01/19 F 01/11/19  CASWOLB121                     518.00       518.00                     518.00                                                518.00
       Job: CASWOLB121 / WOLSTEIN RO-RM B121M Subtotals:                         518.00                     518.00                                                518.00


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                        Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction    Payment
                                                                        For The Period Ending: 03/29/19
         Type        Terms
                                                                                          Open Balance                                       Days Past Due
  Invoice /                      Invoice       Job              Original
  Check #           Date        Due Date      Number           Amount          Total       Retention Non-Retention    Current    1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer CASWES / CASE WESTERN RESERVE Phone: (440) 323-3112 Contact: SAM ARLIA (continued)
      Job: CASXBIO116 / BIOLOGY RM 116
  139201      I 11/30/18 F 12/10/18    CASXBIO116                1,050.00      1,050.00                    1,050.00                                                                1,050.00
  140059      I 02/08/19 F 02/18/19    CASXBIO116                   70.00         70.00                       70.00                                70.00
  140060      I 02/23/19 F 03/05/19    CASXBIO116                  400.00        400.00                      400.00                 400.00
       Job: CASXBIO116 / BIOLOGY RM 116 Subtotals:                             1,520.00                    1,520.00                 400.00         70.00                           1,050.00
Customer CASWES Totals:                                                        4,078.00                    4,078.00                 595.00        885.00         733.00            1,865.00
Customer CENTEL / CENTURY LINK Phone: (440) 244-8558 Contact: DAN GREER
      Job: CENAMHSYS4 / 318 PARK AVE
  140033      I 03/01/19 3 03/31/19  CENAMHSYS4                     103.00       103.00                     103.00      103.00
       Job: CENAMHSYS4 / 318 PARK AVE Subtotals:                                 103.00                     103.00      103.00
      Job: CENAVOSY11 / 2600 JAYCOX ROAD
  140026      I 03/01/19 3 03/31/19   CENAVOSY11                    103.00       103.00                     103.00      103.00
       Job: CENAVOSY11 / 2600 JAYCOX ROAD Subtotals:                             103.00                     103.00      103.00
      Job: CENAVOSYS2 / 32778 WEBBER ROAD
  140025      I 03/01/19 3 03/31/19  CENAVOSYS2                     103.00       103.00                     103.00      103.00
       Job: CENAVOSYS2 / 32778 WEBBER ROAD Subtotals:                            103.00                     103.00      103.00
      Job: CENAVOSYS6 / 37295 DETROIT AVE
  140024      I 03/01/19 3 03/31/19   CENAVOSYS6                    103.00       103.00                     103.00      103.00
       Job: CENAVOSYS6 / 37295 DETROIT AVE Subtotals:                            103.00                     103.00      103.00
      Job: CENLORSY10 / 1882 E 29TH ST
  140027      I 03/01/19 3 03/31/19    CENLORSY10                   103.00       103.00                     103.00      103.00
       Job: CENLORSY10 / 1882 E 29TH ST Subtotals:                               103.00                     103.00      103.00
      Job: CENLORSYS1 / 203 W. 9TH STREET
  140029      I 03/01/19 3 03/31/19    CENLORSYS1                   103.00       103.00                     103.00      103.00
       Job: CENLORSYS1 / 203 W. 9TH STREET Subtotals:                            103.00                     103.00      103.00
      Job: CENLORSYS3 / 2401 MEISTER ROAD
  140030      I 03/01/19 3 03/31/19   CENLORSYS3                    103.00       103.00                     103.00      103.00
       Job: CENLORSYS3 / 2401 MEISTER ROAD Subtotals:                            103.00                     103.00      103.00
      Job: CENLORSYS7 / 217 GEORGIA AVE
  140028      I 03/01/19 3 03/31/19   CENLORSYS7                    103.00       103.00                     103.00      103.00
       Job: CENLORSYS7 / 217 GEORGIA AVE Subtotals:                              103.00                     103.00      103.00
      Job: CENLORSYS8 / 4487 TOLEDO
  140049      I 03/01/19 3 03/31/19        CENLORSYS8               103.00       103.00                     103.00      103.00
       Job: CENLORSYS8 / 4487 TOLEDO Subtotals:                                  103.00                     103.00      103.00
      Job: CENSHESYS9 / 407 MAPLEWOOD AVE
  140031      I 03/01/19 3 03/31/19 CENSHESYS9                      103.00       103.00                     103.00      103.00
       Job: CENSHESYS9 / 407 MAPLEWOOD AVE Subtotals:                            103.00                     103.00      103.00
      Job: CENVERSYS5 / 5709 LIBERTY AVE RT 6
  140032      I 03/01/19 3 03/31/19    CENVERSYS5                   103.00       103.00                     103.00      103.00
       Job: CENVERSYS5 / 5709 LIBERTY AVE RT 6 Subtotals:                        103.00                     103.00      103.00


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                         Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                         For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice       Job            Original
  Check #            Date         Due Date      Number          Amount         Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer CENTEL Totals:                                                         1,133.00                    1,133.00    1,133.00
Customer CHASTE / CHARTER STEEL Phone: (262) 268-2289 Contact: PAT GEIGER
      Job: 1810 / CLEVELAND
  139193       I 11/30/18 7 02/13/19            1810                93.75         93.75                       93.75                                  93.75
       Job: 1810 / CLEVELAND Subtotals:                                           93.75                       93.75                                  93.75
      Job: CHACLEMELT / MELT SHOP
  139532      I 01/18/19 7 04/03/19          CHACLEMELT            463.50        463.50                      463.50      463.50
  139696      I 02/04/19 7 04/20/19          CHACLEMELT             30.90         30.90                       30.90       30.90
       Job: CHACLEMELT / MELT SHOP Subtotals:                                    494.40                      494.40      494.40
Customer CHASTE Totals:                                                          588.15                      588.15      494.40                      93.75
Customer CHEAUT / CHESTER AUTO WASH Phone: (440) 725-1675 Contact: TOM
      Job: 1910 / CLEVELAND
  139548       I 01/20/19 3 02/19/19            1910               206.00        206.00                      206.00                                 206.00
       Job: 1910 / CLEVELAND Subtotals:                                          206.00                      206.00                                 206.00
Customer CHEAUT Totals:                                                          206.00                      206.00                                 206.00
Customer CHEMTR / CHEMTREAT, INC. Phone: (804) 935-2000 Contact: CHRIS CIRCEO
      No Job
  139036        I 12/30/18    9   01/28/19                       2,875.00       2,875.00                    2,875.00                              2,875.00
  139617        I 01/31/19    9   02/28/19                       5,650.00       5,650.00                    5,650.00                5,650.00
  139618        I 01/31/19    9   02/28/19                       2,875.00       2,875.00                    2,875.00                2,875.00
       No Job Subtotals:                                                       11,400.00                   11,400.00                8,525.00      2,875.00
      Job: 1918 / PLANT - 2019
  140010       I 01/01/19 9 02/28/19            1918             3,150.00       3,150.00                    3,150.00                3,150.00
  139798       I 01/17/19 9 02/28/19            1918             1,955.00       1,955.00                    1,955.00                1,955.00
       Job: 1918 / PLANT - 2019 Subtotals:                                      5,105.00                    5,105.00                5,105.00
Customer CHEMTR Totals:                                                        16,505.00                  16,505.00                13,630.00      2,875.00
Customer CITBER / CITY OF BEREA Phone: (440) 234-5652 Contact: DON ZUGORSKI
      Job: BEREACITYO / CITY OF BEREA 0.52CF SYST
  139994      I 02/28/19 3 03/30/19    BEREACITYO                   92.70         92.70                       92.70       92.70
       Job: BEREACITYO / CITY OF BEREA 0.52CF SYST Subtotals:                     92.70                       92.70       92.70
Customer CITBER Totals:                                                           92.70                       92.70       92.70
Customer CITLOR / CITY OF LORAIN Phone: (440) 204-2280 Contact: SKIPP DELEVE
      Job: LORWTPXLAB / CITY OF LORAIN WTP
  140195      I 03/19/19 3 04/18/19   LORWTPXLAB                   376.98        376.98                      376.98      376.98
       Job: LORWTPXLAB / CITY OF LORAIN WTP Subtotals:                           376.98                      376.98      376.98
Customer CITLOR Totals:                                                          376.98                      376.98      376.98
Customer CLEBOT / CLEVELAND BOTANICAL GARDEN Phone: (216) 707-2840 Contact: MICHAEL LOGSDON
      Job: CLEBOTGARD / DI SYSTEM
  140172       I 03/14/19 3 04/13/19         CLEBOTGARD            221.45        221.45                      221.45      221.45
       Job: CLEBOTGARD / DI SYSTEM Subtotals:                                    221.45                      221.45      221.45

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                                                                               WESTERN RESERVE WATER SYSTEMS
                                                              Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                              For The Period Ending: 03/29/19
         Type         Terms
                                                                                               Open Balance                                        Days Past Due
  Invoice /                        Invoice       Job                Original
  Check #            Date         Due Date      Number             Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer CLEBOT Totals:                                                              221.45                      221.45      221.45
Customer CLECLI / CLEVELAND CLINIC FOUNDATION Phone: (216) 636-7343 Contact: EVELYN LESKE
      No Job
CC80921C        P 09/21/18        09/21/18                          -5,149.12        -198.82                     -198.82                                                                  -198.82
  138353        I 11/01/18    3   12/01/18                             383.96         383.96                      383.96                                                                   383.96
  139038        I 12/01/18    3   12/31/18                           1,020.97       1,020.97                    1,020.97                                             1,020.97
  139063        I 12/01/18    3   12/31/18                           1,665.66       1,665.66                    1,665.66                                             1,665.66
  139065        I 12/01/18    3   12/31/18                             383.96           0.61                        0.61                                                 0.61
  140018        I 01/22/19    3   02/21/19                           1,624.67       1,624.67                    1,624.67                              1,624.67
  139946        I 02/01/19    3   03/03/19                           1,906.85       1,906.85                    1,906.85                1,906.85
  140019        I 02/22/19    3   03/24/19                           1,624.67       1,624.67                    1,624.67                1,624.67
  139919        I 02/25/19    3   03/27/19                           1,872.08       1,872.08                    1,872.08                1,872.08
  139920        I 02/25/19    3   03/27/19                             455.61         455.61                      455.61                  455.61
  139933        I 02/25/19    3   03/27/19                           1,307.42       1,307.42                    1,307.42                1,307.42
  139950        I 02/25/19    3   03/27/19                           1,044.66       1,044.66                    1,044.66                1,044.66
  139961        I 02/25/19    3   03/27/19                           1,200.84       1,200.84                    1,200.84                1,200.84
  139922        I 03/01/19    3   03/31/19                           1,071.92       1,071.92                    1,071.92    1,071.92
  139924        I 03/01/19    3   03/31/19                           1,012.70       1,012.70                    1,012.70    1,012.70
  139926        I 03/01/19    3   03/31/19                             599.98         599.98                      599.98      599.98
  139928        I 03/01/19    3   03/31/19                             814.88         814.88                      814.88      814.88
  139930        I 03/01/19    3   03/31/19                             341.58         341.58                      341.58      341.58
  139932        I 03/01/19    3   03/31/19                             814.88         814.88                      814.88      814.88
  139935        I 03/01/19    3   03/31/19                             980.32         980.32                      980.32      980.32
  139939        I 03/01/19    3   03/31/19                             651.46         651.46                      651.46      651.46
  139941        I 03/01/19    3   03/31/19                           1,419.22       1,419.22                    1,419.22    1,419.22
  139943        I 03/01/19    3   03/31/19                           2,190.15       2,190.15                    2,190.15    2,190.15
  139945        I 03/01/19    3   03/31/19                           2,032.37       2,032.37                    2,032.37    2,032.37
  139947        I 03/01/19    3   03/31/19                           1,906.85       1,906.85                    1,906.85    1,906.85
  139949        I 03/01/19    3   03/31/19                             814.88         814.88                      814.88      814.88
  139952        I 03/01/19    3   03/31/19                             453.36         453.36                      453.36      453.36
  139954        I 03/01/19    3   03/31/19                             952.13         952.13                      952.13      952.13
  139956        I 03/01/19    3   03/31/19                             615.43         615.43                      615.43      615.43
  139958        I 03/01/19    3   03/31/19                             503.48         503.48                      503.48      503.48
  139960        I 03/01/19    3   03/31/19                             702.53         702.53                      702.53      702.53
  139963        I 03/01/19    3   03/31/19                             592.30         592.30                      592.30      592.30
2222            A 03/21/19        03/21/19                                            300.00                      300.00                  300.00
       No Job Subtotals:                                                           32,679.60                   32,679.60   18,470.42    9,712.13      1,624.67       2,687.24             185.14
      Job: 1810 / CLEVELAND
  136986       I 06/29/18 3 07/29/18             1810                  490.00        490.00                      490.00                                                                   490.00
  139194       I 11/20/18 3 12/20/18             1810                   56.25         56.25                       56.25                                                                    56.25
       Job: 1810 / CLEVELAND Subtotals:                                              546.25                      546.25                                                                   546.25
      Job: W1810227 / RO DI Water System-Dental
  139795      I 02/11/19 3 03/13/19       W1810227                  35,040.00      35,040.00                  35,040.00                35,040.00
       Job: W1810227 / RO DI Water System-Dental Subtotals:                        35,040.00                   35,040.00               35,040.00
      Job: CCFCLETWIN / TWINSBURG FAM HLTH & SURG
  139195      I 11/30/18 1 11/30/18  CCFCLETWIN                        168.75        168.75                      168.75                                                                   168.75
  139211      I 11/30/18 3 12/30/18  CCFCLETWIN                        894.45        894.45                      894.45                                                894.45


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                         Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                         For The Period Ending: 03/29/19
         Type        Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                      Invoice        Job             Original
  Check #           Date        Due Date       Number           Amount         Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer CLECLI / CLEVELAND CLINIC FOUNDATION Phone: (216) 636-7343 Contact: EVELYN LESKE (continued)
  139218       I 11/30/18 3 12/30/18   CCFCLETWIN            784.45   784.45               784.45                                                                  784.45
      Job: CCFCLETWIN / TWINSBURG FAM HLTH & SURG Subtotals:        1,847.65             1,847.65                                                                1,678.90              168.75
      Job: CCFCOLE4FL / 4TH FLOOR - COLE EYE CNTR
  139998      I 02/28/19 3 03/30/19    CCFCOLE4FL                  405.00        405.00                      405.00      405.00
       Job: CCFCOLE4FL / 4TH FLOOR - COLE EYE CNTR Subtotals:                    405.00                      405.00      405.00
      Job: CCFCOLEBMT / COLE EYE CENTER BASEMENT
  137849      I 08/30/18 3 09/29/18  CCFCOLEBMT                    930.00         930.00                      930.00                                                                    930.00
  138193      I 09/21/18 3 10/21/18  CCFCOLEBMT                    494.40         494.40                      494.40                                                                    494.40
  138575      I 11/02/18 3 12/02/18  CCFCOLEBMT                  2,050.00       2,050.00                    2,050.00                                                                  2,050.00
  139997      I 02/28/19 3 03/30/19  CCFCOLEBMT                  2,840.00       2,840.00                    2,840.00    2,840.00
       Job: CCFCOLEBMT / COLE EYE CENTER BASEMENT Subtotals:                    6,314.40                    6,314.40    2,840.00                                                      3,474.40
      Job: CCFHILHOSP / HILLCREST HOSPITAL LAB
  137416      I 07/31/18 3 08/30/18   CCFHILHOSP                   129.25        129.25                      129.25                                                                    129.25
       Job: CCFHILHOSP / HILLCREST HOSPITAL LAB Subtotals:                       129.25                      129.25                                                                    129.25
      Job: CCFMARHOSP / MARYMOUNT HOSPITAL LAB
  138944      I 12/03/18 3 01/02/19 CCFMARHOSP                     140.00        140.00                      140.00                                                140.00
       Job: CCFMARHOSP / MARYMOUNT HOSPITAL LAB Subtotals:                       140.00                      140.00                                                140.00
      Job: CCFR4CAN70 / R4 CANCER RM 70
  140136      I 01/01/19 3 01/31/19   CCFR4CAN70                 4,480.33       4,480.33                    4,480.33                              4,480.33
       Job: CCFR4CAN70 / R4 CANCER RM 70 Subtotals:                             4,480.33                    4,480.33                              4,480.33
      Job: CCFSPCHILL / SOUTHPOINTE CHILLER
  140135      I 01/01/19 3 01/31/19  CCFSPCHILL                    600.00        600.00                      600.00                                 600.00
       Job: CCFSPCHILL / SOUTHPOINTE CHILLER Subtotals:                          600.00                      600.00                                 600.00
      Job: CCFSTRXXDI / 3.6 DI TANK EXCHANGE
  138409      I 10/15/18 3 11/14/18     CCFSTRXXDI               1,294.40       1,294.40                    1,294.40                                                                  1,294.40
       Job: CCFSTRXXDI / 3.6 DI TANK EXCHANGE Subtotals:                        1,294.40                    1,294.40                                                                  1,294.40
      Job: CCFWOO36CF / CCF WOOSTER HOSPITAL
  138287      I 10/12/18 3 11/11/18 CCFWOO36CF                     562.00        562.00                      562.00                                                                    562.00
  139748      I 02/11/19 3 03/13/19 CCFWOO36CF                     160.00        160.00                      160.00                   160.00
       Job: CCFWOO36CF / CCF WOOSTER HOSPITAL Subtotals:                         722.00                      722.00                   160.00                                           562.00
      Job: CCFXFLL330 / ROOM L1-330
  138415      I 10/23/18 3 11/22/18         CCFXFLL330             142.50        142.50                      142.50                                                                    142.50
       Job: CCFXFLL330 / ROOM L1-330 Subtotals:                                  142.50                      142.50                                                                    142.50
      Job: CCFXL1X577 / L BLDG 1-577
  139671      I 01/29/19 3 02/28/19         CCFXL1X577             175.75        175.75                      175.75                   175.75
       Job: CCFXL1X577 / L BLDG 1-577 Subtotals:                                 175.75                      175.75                   175.75
      Job: CCFXL1X588 / L BLDG 1-588
  139672      I 01/29/19 3 02/28/19         CCFXL1X588             175.75        175.75                      175.75                   175.75
       Job: CCFXL1X588 / L BLDG 1-588 Subtotals:                                 175.75                      175.75                   175.75
Customer CLECLI Totals:                                                        84,692.88                  84,692.88    21,715.42   45,263.63      6,705.00       4,506.14             6,502.69



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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                          Open Balance                                       Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #            Date         Due Date     Number          Amount          Total       Retention Non-Retention    Current    1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer CLEHEA / CLEVELAND HEARTLAB, INC Phone: (440) 346-5784 Contact: SCOTT PURVIS
      Job: CHLCLE36CF / 3.6 CF SYSTEM
  140051      I 02/18/19 3 03/20/19          CHLCLE36CF            280.00        280.00                     280.00                  280.00
       Job: CHLCLE36CF / 3.6 CF SYSTEM Subtotals:                                280.00                     280.00                  280.00
Customer CLEHEA Totals:                                                          280.00                     280.00                  280.00
Customer CLESYS / CLEARWATER SYSTEMS Phone:
      Job: 1810 / CLEVELAND
  139313       I 12/26/18 3 01/25/19           1810                394.40        394.40                     394.40                                               394.40
       Job: 1810 / CLEVELAND Subtotals:                                          394.40                     394.40                                               394.40
      Job: 1818 / PLANT - 2018
  138870       I 11/26/18 3 12/26/18           1818                800.00        800.00                     800.00                                                                  800.00
       Job: 1818 / PLANT - 2018 Subtotals:                                       800.00                     800.00                                                                  800.00
      Job: 1918 / PLANT - 2019
  140151       I 01/01/19 3      01/31/19      1918                391.78        391.78                     391.78                                391.78
  140145       I 02/11/19 3      03/13/19      1918                858.04        858.04                     858.04                  858.04
  140150       I 02/19/19 3      03/21/19      1918                188.06        188.06                     188.06                  188.06
  140146       I 02/28/19 3      03/30/19      1918                957.77        957.77                     957.77      957.77
       Job: 1918 / PLANT - 2019 Subtotals:                                     2,395.65                    2,395.65     957.77    1,046.10        391.78
      Job: FLAFINXXDI / 1.2 CF MIXBED TANK
  139647       I 12/27/18 3 01/26/19    FLAFINXXDI                 846.87        846.87                     846.87                                               846.87
       Job: FLAFINXXDI / 1.2 CF MIXBED TANK Subtotals:                           846.87                     846.87                                               846.87
Customer CLESYS Totals:                                                        4,436.92                    4,436.92     957.77    1,046.10        391.78       1,241.27             800.00
Customer COCTUL / COCA COLA OF TULLAHOMA Phone: (931) 455-3466 Contact: KEN PARAMORE
      Job: 1918 / PLANT - 2019
  140144       I 02/25/19 3 03/27/19           1918              1,214.90      1,214.90                    1,214.90               1,214.90
       Job: 1918 / PLANT - 2019 Subtotals:                                     1,214.90                    1,214.90               1,214.90
Customer COCTUL Totals:                                                        1,214.90                    1,214.90               1,214.90
Customer COLCHE / COLUMBIA CHEMICAL Phone: (330) 558-8167 Contact: MICHELLE FETZER
      Job: COLBRU36CF / UP GRADE 3.6CF
  139652      I 01/31/19 3 03/02/19   COLBRU36CF                   329.60        329.60                     329.60                  329.60
  139883      I 02/20/19 3 03/22/19   COLBRU36CF                   329.60        329.60                     329.60                  329.60
  140166      I 03/14/19 3 04/13/19   COLBRU36CF                   329.60        329.60                     329.60      329.60
       Job: COLBRU36CF / UP GRADE 3.6CF Subtotals:                               988.80                     988.80      329.60      659.20
Customer COLCHE Totals:                                                          988.80                     988.80      329.60      659.20
Customer COMHEA / COMMUNITY HEALTH CENTER Phone: (330) 315-3711 Contact: SALLY STEWART
      Job: 1810 / CLEVELAND
  139212       I 11/30/18 3 12/30/18           1810                220.00        220.00                     220.00                                               220.00
       Job: 1810 / CLEVELAND Subtotals:                                          220.00                     220.00                                               220.00
      Job: COMAKR12CF / 1.2 CF SYSTEM
  140069      I 03/11/19 3 04/10/19   COMAKR12CF                   187.46        187.46                     187.46      187.46


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction    Payment
                                                                          For The Period Ending: 03/29/19
         Type        Terms
                                                                                          Open Balance                                        Days Past Due
  Invoice /                     Invoice         Job             Original
  Check #           Date       Due Date        Number          Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer COMHEA / COMMUNITY HEALTH CENTER Phone: (330) 315-3711 Contact: SALLY STEWART (continued)
       Job: COMAKR12CF / 1.2 CF SYSTEM Subtotals:                                187.46                     187.46      187.46
Customer COMHEA Totals:                                                          407.46                     407.46      187.46                                    220.00
Customer COMREP / COMPONENT REPAIR TECHNOLOGIES Phone: (440) 255-1793 Contact: NANCY (ACCT)
      Job: CRTMENPLAT / PLATING RM/CLEAN LINE
  138432      I 10/18/18 3 11/17/18   CRTMENPLAT                    626.24         4.38                       4.38                                                                     4.38
  140034      I 03/05/19 3 04/04/19   CRTMENPLAT                    626.24       626.24                     626.24      626.24
       Job: CRTMENPLAT / PLATING RM/CLEAN LINE Subtotals:                        630.62                     630.62      626.24                                                         4.38
      Job: CRTMENWASH / WASHER
  139806      I 02/12/19 3 03/14/19          CRTMENWASH             463.50       463.50                     463.50                   463.50
       Job: CRTMENWASH / WASHER Subtotals:                                       463.50                     463.50                   463.50
Customer COMREP Totals:                                                        1,094.12                    1,094.12     626.24       463.50                                            4.38
Customer CONBIO / CONCORD BIOSCIENCES LLC Phone: (440) 357-3200 Contact: ROBERT KATONA
      Job: RICCONBLDD / BLDG D
  139861       I 02/28/19 3 03/30/19         RICCONBLDD             334.75       334.75                     334.75      334.75
       Job: RICCONBLDD / BLDG D Subtotals:                                       334.75                     334.75      334.75
Customer CONBIO Totals:                                                          334.75                     334.75      334.75
Customer CONSPR / CONSOLIDATED PRECISION PRODUCT Phone: (440) 953-0053 Contact: AMY GRALD
      Job: CONEASDSRO / DS SHELL ROOM/ROBOT
  139709      I 02/07/19 4 03/24/19 CONEASDSRO                      229.69       229.69                     229.69                   229.69
       Job: CONEASDSRO / DS SHELL ROOM/ROBOT Subtotals:                          229.69                     229.69                   229.69
Customer CONSPR Totals:                                                          229.69                     229.69                   229.69
Customer CORTEC / CORE-TECH, INC. Phone: (440) 946-8324 Contact: MICHELLE
      Job: CORMEN12CF / 1.2 CF SYSTEM
  140173      I 03/14/19 3 04/13/19   CORMEN12CF                    113.30       113.30                     113.30      113.30
       Job: CORMEN12CF / 1.2 CF SYSTEM Subtotals:                                113.30                     113.30      113.30
      Job: CORMENPLT3 / DI SYSTEM PLANT #3
  140142      I 03/13/19 3 04/12/19   CORMENPLT3                 1,273.67      1,273.67                    1,273.67    1,273.67
       Job: CORMENPLT3 / DI SYSTEM PLANT #3 Subtotals:                         1,273.67                    1,273.67    1,273.67
Customer CORTEC Totals:                                                        1,386.97                    1,386.97    1,386.97
Customer COSUSA / COSMAX USA, INC. Phone: (440) 600-5642 Contact: GEORGE TOCARCHICK
      Job: COSSOLXXDI / DI TANKS
  138620      I 11/12/18 3 12/12/18          COSSOLXXDI             587.10       587.10                     587.10                                                                   587.10
  140196      I 03/15/19 3 04/14/19          COSSOLXXDI             587.10       587.10                     587.10      587.10
       Job: COSSOLXXDI / DI TANKS Subtotals:                                   1,174.20                    1,174.20     587.10                                                       587.10
Customer COSUSA Totals:                                                        1,174.20                    1,174.20     587.10                                                       587.10
Customer COUCOM / COURT OF COMMON PLEAS Phone: (800) 232-3342
      Job: COUCLEBSMT / BASEMENT SYSTEM
  138017      I 09/05/18 3 10/05/18 COUCLEBSMT                      135.96       135.96                     135.96                                                                   135.96


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                         Days Past Due
  Invoice /                        Invoice     Job              Original
  Check #            Date         Due Date    Number           Amount          Total         Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer COUCOM / COURT OF COMMON PLEAS Phone: (800) 232-3342                  (continued)
  138151       I 09/28/18 3 10/28/18  COUCLEBSMT      342.99                      342.99                      342.99                                                                    342.99
  138544       I 10/26/18 3 11/25/18  COUCLEBSMT      135.96                      135.96                      135.96                                                                    135.96
  138874       I 11/28/18 3 12/28/18  COUCLEBSMT      135.96                      135.96                      135.96                                                                    135.96
  139285       I 12/27/18 3 01/26/19  COUCLEBSMT      135.96                      135.96                      135.96                                                135.96
  139317       I 01/02/19 3 02/01/19  COUCLEBSMT      182.42                      182.42                      182.42                                 182.42
  139675       I 02/01/19 3 03/03/19  COUCLEBSMT      214.24                      214.24                      214.24                   214.24
  139904       I 02/25/19 3 03/27/19  COUCLEBSMT      135.96                      135.96                      135.96                   135.96
      Job: COUCLEBSMT / BASEMENT SYSTEM Subtotals:                              1,419.45                     1,419.45                  350.20        182.42         135.96              750.87
Customer COUCOM Totals:                                                         1,419.45                     1,419.45                  350.20        182.42         135.96              750.87
Customer COUPUR / COUNTRY PURE FOODS Phone: (330) 706-3227 Contact: DAVE BARKER
      Job: COUAKRXXRO / RO SERVICE CONTRACT
  137913      I 08/30/18 3 09/29/18  COUAKRXXRO                    820.40        820.40                       820.40                                                                    820.40
       Job: COUAKRXXRO / RO SERVICE CONTRACT Subtotals:                          820.40                       820.40                                                                    820.40
Customer COUPUR Totals:                                                          820.40                       820.40                                                                    820.40
Customer COVENT / COVENTYA Phone: (315) 768-6635 Contact: DANI
      Job: COVBRO34CF / 34 CF SYSTEM/PRODUCTION
  138414      I 10/19/18 3 11/18/18   COVBRO34CF                 1,025.50       1,025.50                     1,025.50                                                                  1,025.50
  138993      I 12/07/18 3 01/06/19   COVBRO34CF                 1,030.00       1,030.00                     1,030.00                                             1,030.00
  140156      I 02/28/19 3 03/30/19   COVBRO34CF                   200.00         200.00                       200.00      200.00
  140171      I 03/14/19 3 04/13/19   COVBRO34CF                 1,030.00       1,030.00                     1,030.00    1,030.00
       Job: COVBRO34CF / 34 CF SYSTEM/PRODUCTION Subtotals:                     3,285.50                     3,285.50    1,230.00                                 1,030.00             1,025.50
      Job: COVBRO36CF / 3.6 CF SYSTEM - LAB
  139689      I 02/01/19 3 03/03/19    COVBRO36CF                  432.60        432.60                       432.60                   432.60
       Job: COVBRO36CF / 3.6 CF SYSTEM - LAB Subtotals:                          432.60                       432.60                   432.60
Customer COVENT Totals:                                                         3,718.10                     3,718.10    1,230.00      432.60                     1,030.00             1,025.50
Customer COVIND / COVANTA ENERGY Phone: (317) 634-7367
      No Job
  170258        I 01/24/19    3   02/23/19                       4,364.00       4,364.00                     4,364.00                              4,364.00
       No Job Subtotals:                                                        4,364.00                     4,364.00                              4,364.00
      Job: 1818 / PLANT - 2018
  139264       I 11/29/18 4 01/13/19          1818              12,180.00      12,180.00                   12,180.00                                             12,180.00
       Job: 1818 / PLANT - 2018 Subtotals:                                     12,180.00                    12,180.00                                            12,180.00
Customer COVIND Totals:                                                        16,544.00                   16,544.00                               4,364.00      12,180.00
Customer COVONO / COVANTA ONONDAGA LP Phone:
      Job: 1810 / CLEVELAND
  138200       I 09/25/18 3 10/25/18          1810                 396.00        396.00                       396.00                                                                    396.00
       Job: 1810 / CLEVELAND Subtotals:                                          396.00                       396.00                                                                    396.00
Customer COVONO Totals:                                                          396.00                       396.00                                                                    396.00
Customer CRAAER / CRANE AEROSPACE & ELECTRONICS Phone: (440) 284-5428 Contact: LOLA A/P
       Job: CRAELY36CF / 3.6 CF SYSTEM

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                                                                            WESTERN RESERVE WATER SYSTEMS
                                                         Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                         For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice     Job               Original
  Check #           Date          Due Date    Number            Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer CRAAER / CRANE AEROSPACE & ELECTRONICS Phone: (440) 284-5428 Contact: LOLA A/P (continued)
  139750       I 02/11/19 3 03/13/19     CRAELY36CF 510.88         510.88                  510.88                                     510.88
  140035       I 03/05/19 3 04/04/19     CRAELY36CF 356.38         356.38                  356.38                        356.38
  140206       I 03/20/19 3 04/19/19     CRAELY36CF 356.38         356.38                  356.38                        356.38
      Job: CRAELY36CF / 3.6 CF SYSTEM Subtotals:                 1,223.64                1,223.64                        712.76       510.88
Customer CRAAER Totals:                                                         1,223.64                    1,223.64     712.76       510.88
Customer CUYCOM / CUYAHOGA COMMUNITY COLLEGE Phone: (216) 987-4745 Contact: BOB RYBICKI
      No Job
  139968        I 03/01/19    3   03/31/19                           625.00       625.00                     625.00      625.00
       No Job Subtotals:                                                          625.00                     625.00      625.00
Customer CUYCOM Totals:                                                           625.00                     625.00      625.00
Customer CWMENV / CWM ENVIRONMENTAL Phone: (216) 663-0808 Contact: ACCOUNTS PAYABLE
      Job: PRECLEELGA / ELGA FLEX II W/DI TANK
  138201      I 09/28/18 3 10/28/18    PRECLEELGA                    141.43       141.43                     141.43                                                                   141.43
       Job: PRECLEELGA / ELGA FLEX II W/DI TANK Subtotals:                        141.43                     141.43                                                                   141.43
Customer CWMENV Totals:                                                           141.43                     141.43                                                                   141.43
Customer DENCOR / DENORA CORP. Phone: (440) 357-4069 Contact: WENDY SINTIC
      Job: DENCON36CF / CONCORD 3.6 SITE
  139793      I 02/15/19 3 03/17/19   DENCON36CF                     363.05       363.05                     363.05                   363.05
       Job: DENCON36CF / CONCORD 3.6 SITE Subtotals:                              363.05                     363.05                   363.05
Customer DENCOR Totals:                                                           363.05                     363.05                   363.05
Customer DIEBOL / DIEBOLD INC Phone: (330) 490-5764 Contact: JOSEPH.SLISH
      Job: DIENOR12CF / 1.2 CF SYSTEM UPGRADE
  140168       I 03/14/19 3 04/13/19   DIENOR12CF                    501.00       501.00                     501.00      501.00
       Job: DIENOR12CF / 1.2 CF SYSTEM UPGRADE Subtotals:                         501.00                     501.00      501.00
      Job: DIENOR71CF / 0.71 CF SYSTEM
  140169       I 03/14/19 3 04/13/19   DIENOR71CF                    388.00       388.00                     388.00      388.00
       Job: DIENOR71CF / 0.71 CF SYSTEM Subtotals:                                388.00                     388.00      388.00
      Job: DIENORXXDI / SYSTEM #3 DI TANKS
  140170       I 03/14/19 3 04/13/19   DIENORXXDI                    483.00       483.00                     483.00      483.00
       Job: DIENORXXDI / SYSTEM #3 DI TANKS Subtotals:                            483.00                     483.00      483.00
Customer DIEBOL Totals:                                                         1,372.00                    1,372.00    1,372.00
Customer DONMAR / DONAMARC WATER SYSTEMS Phone: (330) 896-4949 Contact: BRANDON MANTELL
      Job: DONAKR36CF / 3.6 CF SYSTEM
  139681      I 02/01/19 3 03/03/19   DONAKR36CF                     312.09       312.09                     312.09                   312.09
       Job: DONAKR36CF / 3.6 CF SYSTEM Subtotals:                                 312.09                     312.09                   312.09
      Job: DONCASFARM / CASE FARMS CHICKEN
  139682      I 02/01/19 3 03/03/19 DONCASFARM                       690.10       690.10                     690.10                   690.10
       Job: DONCASFARM / CASE FARMS CHICKEN Subtotals:                            690.10                     690.10                   690.10


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                                                                            WESTERN RESERVE WATER SYSTEMS
                                                           Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                           For The Period Ending: 03/29/19
         Type         Terms
                                                                                            Open Balance                                         Days Past Due
  Invoice /                        Invoice         Job           Original
  Check #            Date         Due Date        Number        Amount          Total        Retention Non-Retention    Current     1-30 Days    31-60 Days      61-90 Days      Over 90 Days

Customer DONMAR Totals:                                                          1,002.19                    1,002.19                1,002.19
Customer DOVLIG / DOVER LIGHT & POWER GEN. PLANT Phone: (330) 343-6398 Contact: DEBBIE EDWARDS A/P
      No Job
121971          P 03/25/19        03/25/19                       -1,000.00      -1,000.00                   -1,000.00                -1,000.00
       No Job Subtotals:                                                        -1,000.00                   -1,000.00                -1,000.00
Customer DOVLIG Totals:                                                         -1,000.00                   -1,000.00                -1,000.00
Customer DTEASH / DTE ASHTABULA, LLC Phone: Contact: STEPHANIE NORTON
      No Job
  139622        I 01/31/19    3   03/02/19                        2,962.70       2,962.70                    2,962.70                2,962.70
       No Job Subtotals:                                                         2,962.70                    2,962.70                2,962.70
      Job: DUKASHSDRO / SUEZ-DEGS ASHTABULA RO
  140139      I 02/25/19 3 03/27/19 DUKASHSDRO                      714.00        714.00                      714.00                   714.00
       Job: DUKASHSDRO / SUEZ-DEGS ASHTABULA RO Subtotals:                        714.00                      714.00                   714.00
Customer DTEASH Totals:                                                          3,676.70                    3,676.70                3,676.70
Customer DTELOR / DTE LORDSTOWN LLC - A/P Phone:
      Job: 1810 / CLEVELAND
  135805       I 04/27/18 3 05/27/18              1810            8,294.48       8,294.48                    8,294.48                                                                    8,294.48
 135160CR      C 11/13/18 3 12/13/18              1810           -7,614.10      -7,614.10                   -7,614.10                                                                   -7,614.10
       Job: 1810 / CLEVELAND Subtotals:                                           680.38                      680.38                                                                      680.38
      Job: 1918 / PLANT - 2019
  139853       I 12/05/18 3 01/04/19              1918            8,145.00       8,145.00                    8,145.00                                              8,145.00
  139852       I 12/19/18 3 01/18/19              1918            2,700.00       2,700.00                    2,700.00                                              2,700.00
       Job: 1918 / PLANT - 2019 Subtotals:                                      10,845.00                   10,845.00                                             10,845.00
Customer DTELOR Totals:                                                         11,525.38                   11,525.38                                             10,845.00               680.38
Customer DUPWIL / E.I. DUPONT DE NEMOURS AND CO Phone: (606) 833-1241 Contact: JEFF GALLE
      Job: DUPCIRVILL / CIRCLEVILLE
  139239      I 12/21/18 8 03/21/19          DUPCIRVILL          49,837.36      49,837.36                   49,837.36               49,837.36
  139521      I 01/21/19 8 04/21/19          DUPCIRVILL          50,231.03      50,231.03                   50,231.03   50,231.03
  139838      I 02/21/19 8 05/22/19          DUPCIRVILL          49,729.38      49,729.38                   49,729.38   49,729.38
       Job: DUPCIRVILL / CIRCLEVILLE Subtotals:                                149,797.77                  149,797.77   99,960.41   49,837.36
Customer DUPWIL Totals:                                                        149,797.77                  149,797.77   99,960.41   49,837.36
Customer DYNEGY / DYNEGY Phone:
      No Job
  137624        I 08/19/18    4   10/03/18                        2,700.00       1,350.00                    1,350.00                                                                   1,350.00
  137998        I 09/30/18    4   11/14/18                        2,700.00       1,350.00                    1,350.00                                                                   1,350.00
       No Job Subtotals:                                                         2,700.00                    2,700.00                                                                   2,700.00
      Job: DUKMIAFTRO / MIAMI FORT RO
  139668      I 02/04/19 4 03/21/19   DUKMIAFTRO                  8,912.77       8,912.77                    8,912.77                8,912.77
  140012      I 03/04/19 4 04/18/19   DUKMIAFTRO                  8,903.24       8,903.24                    8,903.24    8,903.24
       Job: DUKMIAFTRO / MIAMI FORT RO Subtotals:                               17,816.01                   17,816.01    8,903.24    8,912.77


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice       Job            Original
  Check #           Date          Due Date      Number         Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer DYNEGY Totals:                                                        20,516.01                  20,516.01     8,903.24    8,912.77                                          2,700.00
Customer DYNZIM / DYNEGY ZIMMER LLC Phone: Contact: JONATHAN BARNES
      Job: DYNZIMXXRO / DYNEGY ZIMMER
  138949      I 11/30/18 4 01/14/19  DYNZIMXXRO                 37,818.94      37,818.94                  37,818.94                                             37,818.94
  140015      I 03/04/19 4 04/18/19  DYNZIMXXRO                 35,768.94      35,768.94                  35,768.94    35,768.94
       Job: DYNZIMXXRO / DYNEGY ZIMMER Subtotals:                              73,587.88                   73,587.88   35,768.94                                37,818.94
Customer DYNZIM Totals:                                                        73,587.88                  73,587.88    35,768.94                                37,818.94
Customer EASCHE / EASTMAN CHEMICAL Phone: (330) 668-8348 Contact: ACCOUNTS PAYABLE ( NO
      Job: EASAKRXXDI / DI TANKS
  140017      I 02/15/19 3 03/17/19          EASAKRXXDI            107.12        107.12                      107.12                   107.12
       Job: EASAKRXXDI / DI TANKS Subtotals:                                     107.12                      107.12                   107.12
Customer EASCHE Totals:                                                          107.12                      107.12                   107.12
Customer EASPOL / WILLOUGHBY/EASTLAKE POLLUTION Phone: (440) 953-4186 Contact: CHRISTY PEDERSEN
      Job: WILEASPOLL / POLLUTION CONTROL CENTER
  140090       I 03/11/19 3 04/10/19 WILEASPOLL                     66.95         66.95                       66.95       66.95
       Job: WILEASPOLL / POLLUTION CONTROL CENTER Subtotals:                      66.95                       66.95       66.95
Customer EASPOL Totals:                                                           66.95                       66.95       66.95
Customer EATONX / EATON CORPORATION Phone: (419) 965-8097
      No Job
  136438        I 06/01/18    3   07/01/18                         100.00        100.00                      100.00                                                                     100.00
  139078        I 12/01/18    3   12/31/18                         100.00        100.00                      100.00                                                100.00
       No Job Subtotals:                                                         200.00                      200.00                                                100.00               100.00
      Job: EATVANWPDI / PDI TANKS
  139434       I 01/14/19 3 02/13/19         EATVANWPDI          3,836.70       3,836.70                    3,836.70                              3,836.70
  139845       I 02/13/19 3 03/15/19         EATVANWPDI          3,566.70       3,566.70                    3,566.70                3,566.70
       Job: EATVANWPDI / PDI TANKS Subtotals:                                   7,403.40                    7,403.40                3,566.70      3,836.70
Customer EATONX Totals:                                                         7,603.40                    7,603.40                3,566.70      3,836.70         100.00               100.00
Customer ELYMEM / UH-ELYRIA MEMORIAL HOSPITAL Phone: (440) 329-7471 Contact: JACQULINE CARTER
      Job: AVOEMECARE / AVON EMERGENCY CARE
  138664      I 10/30/18 4 12/14/18 AVOEMECARE                     338.50        338.50                      338.50                                                                     338.50
  139889      I 02/25/19 4 04/11/19 AVOEMECARE                     154.65        154.65                      154.65      154.65
       Job: AVOEMECARE / AVON EMERGENCY CARE Subtotals:                          493.15                      493.15      154.65                                                         338.50
Customer ELYMEM Totals:                                                          493.15                      493.15      154.65                                                         338.50
Customer EMEPER / EMERALD PERFORMANCE MATERIALS Phone: (330) 374-4625 Contact: JIM EAKIN
      Job: EMEAKR34CF / 34CF SYSTEM
  139535      I 01/18/19 3 02/17/19          EMEAKR34CF          1,030.00          30.00                       30.00                                 30.00
  139783      I 02/07/19 3 03/09/19          EMEAKR34CF          2,060.00       2,060.00                    2,060.00                2,060.00
       Job: EMEAKR34CF / 34CF SYSTEM Subtotals:                                 2,090.00                    2,090.00                2,060.00         30.00
      Job: EMECUYXXRO / RO SYSTEM
  136809      I 06/25/18 3 07/25/18          EMECUYXXRO          5,709.12      -5,709.12                   -5,709.12                                                                  -5,709.12


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                                                                            WESTERN RESERVE WATER SYSTEMS
                                                           Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                           For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice       Job             Original
  Check #            Date         Due Date      Number          Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer EMEPER / EMERALD PERFORMANCE MATERIALS Phone: (330) 374-4625 Contact: JIM EAKIN (continued)
  137867       I 08/28/18 3 09/27/18   EMECUYXXRO 6,026.64      6,026.64                6,026.64                                                                                      6,026.64
      Job: EMECUYXXRO / RO SYSTEM Subtotals:                      317.52                  317.52                                                                                       317.52
Customer EMEPER Totals:                                                         2,407.52                    2,407.52                2,060.00         30.00                             317.52
Customer ENEMEC / ENERGY MECHANICAL Phone: (440) 871-2055
      Job: 1910 / CLEVELAND
  140132       I 02/12/19 3 03/14/19            1910              1,637.50      1,637.50                    1,637.50                1,637.50
       Job: 1910 / CLEVELAND Subtotals:                                         1,637.50                    1,637.50                1,637.50
Customer ENEMEC Totals:                                                         1,637.50                    1,637.50                1,637.50
Customer ENVSCI / ENVIROSCIENCE Phone: (330) 688-0111 Contact: JOANIE
      Job: ENVSTOCENT / CENTRA RO/DI WATER SYSTEM
  140180      I 03/13/19 3 04/12/19   ENVSTOCENT                    360.50        360.50                     360.50      360.50
       Job: ENVSTOCENT / CENTRA RO/DI WATER SYSTEM Subtotals:                     360.50                     360.50      360.50
Customer ENVSCI Totals:                                                           360.50                     360.50      360.50
Customer EUCCHE / EUCLID CHEMICAL Phone: (216) 692-8321 Contact: matt babcock
      Job: EUCCLESALT / SALT SPRAY
  139650      I 01/31/19 3 03/02/19           EUCCLESALT            813.70        813.70                      813.70                  813.70
  140155      I 02/27/19 3 03/29/19           EUCCLESALT          1,065.00      1,065.00                    1,065.00    1,065.00
       Job: EUCCLESALT / SALT SPRAY Subtotals:                                  1,878.70                    1,878.70    1,065.00      813.70
Customer EUCCHE Totals:                                                         1,878.70                    1,878.70    1,065.00      813.70
Customer EVESOU / EVENT SOURCE Phone: (216) 525-1700 Contact: JOHN BIBBO
      No Job
  137085        I 07/30/18    3   08/29/18                          470.00        470.00                     470.00                                                                    470.00
  138487        I 10/31/18    3   11/30/18                          470.00        470.00                     470.00                                                                    470.00
       No Job Subtotals:                                                          940.00                     940.00                                                                    940.00
      Job: 1810 / CLEVELAND
  139208       I 11/30/18 3 12/30/18            1810                162.50        162.50                     162.50                                                162.50
       Job: 1810 / CLEVELAND Subtotals:                                           162.50                     162.50                                                162.50
      Job: 1815 / KINETICO 2018
  139409       I 11/15/18 3 12/15/18            1815                300.00        300.00                     300.00                                                                    300.00
       Job: 1815 / KINETICO 2018 Subtotals:                                       300.00                     300.00                                                                    300.00
      Job: EVECLE36CF / 3.6 CF SYSTEM
  139791      I 12/12/18 3 01/11/19           EVECLE36CF            630.36        630.36                     630.36                                                630.36
       Job: EVECLE36CF / 3.6 CF SYSTEM Subtotals:                                 630.36                     630.36                                                630.36
Customer EVESOU Totals:                                                         2,032.86                    2,032.86                                               792.86             1,240.00
Customer FERMET / FERROUS METAL PROCESSING Phone: (216) 671-6161 Contact: TONY (A/P)
      Job: FERBROXPDI / PDI TANK EXCHANGES
  139751      I 02/11/19 4 03/28/19   FERBROXPDI                    859.02        859.02                     859.02                   859.02
  139999      I 02/28/19 4 04/14/19   FERBROXPDI                    859.02        859.02                     859.02      859.02



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                                                                             WESTERN RESERVE WATER SYSTEMS
                                                            Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction       Payment
                                                                            For The Period Ending: 03/29/19
         Type           Terms
                                                                                             Open Balance                                        Days Past Due
  Invoice /                          Invoice      Job             Original
  Check #             Date          Due Date     Number          Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer FERMET / FERROUS METAL PROCESSING Phone: (216) 671-6161 Contact: TONY (A/P) (continued)
       Job: FERBROXPDI / PDI TANK EXCHANGES Subtotals:                            1,718.04                    1,718.04     859.02       859.02
Customer FERMET Totals:                                                           1,718.04                    1,718.04     859.02       859.02
Customer FERRO1 / IRON MOUNTAIN Phone: (216) 750-1519 Contact:
      Job: FERCLEXX32 / BLDG 32
  139651      I 01/31/19 8 05/01/19            FERCLEXX32          1,570.75       1,570.75                    1,570.75    1,570.75
       Job: FERCLEXX32 / BLDG 32 Subtotals:                                       1,570.75                    1,570.75    1,570.75
Customer FERRO1 Totals:                                                           1,570.75                    1,570.75    1,570.75
Customer FIRENE / FIRST ENERGY Phone: (440) 604-9880 Contact: T. DANA SMITH
      Job: FIRMAY36CF / 3.6 CF SYSTEM
  140190       I 03/19/19 3 04/18/19           FIRMAY36CF            860.05        860.05                      860.05      860.05
       Job: FIRMAY36CF / 3.6 CF SYSTEM Subtotals:                                  860.05                      860.05      860.05
Customer FIRENE Totals:                                                            860.05                      860.05      860.05
Customer FORBRE / FOREST CITY BREWERY Phone:
      Job: 1810 / CLEVELAND
  138661       I 11/01/18 3 12/01/18             1810                871.10        871.10                      871.10                                                                     871.10
  139196       I 11/30/18 3 12/30/18             1810                195.50        195.50                      195.50                                                195.50
       Job: 1810 / CLEVELAND Subtotals:                                           1,066.60                    1,066.60                                               195.50               871.10
Customer FORBRE Totals:                                                           1,066.60                    1,066.60                                               195.50               871.10
Customer GABPER / GABRIEL PERFORMANCE PRODUCTS Phone: Contact: DAVID C JOHNSTON
      Job: W1810231 / Rebed
  139217      I 11/30/18 3          12/30/18   W1810231            7,619.46       7,619.46                    7,619.46                                             7,619.46
       Job: W1810231 / Rebed Subtotals:                                           7,619.46                    7,619.46                                             7,619.46
Customer GABPER Totals:                                                           7,619.46                    7,619.46                                             7,619.46
Customer GCSWAT / GCS WATER PURIFICATION, LLC. Phone: (281) 250-1531 Contact: FELECIA ALESNA
      No Job
  137371        I   08/01/18    4   09/15/18                       3,150.00       3,150.00                   3,150.00                                                                    3,150.00
  137372        I   08/01/18    4   09/15/18                       7,000.00       7,000.00                   7,000.00                                                                    7,000.00
  137628        I   08/20/18    4   10/04/18                      18,817.30      18,817.30                  18,817.30                                                                   18,817.30
  137736        I   09/01/18    4   10/16/18                      16,500.00      16,500.00                  16,500.00                                                                   16,500.00
  137737        I   09/01/18    4   10/16/18                       3,150.00       3,150.00                   3,150.00                                                                    3,150.00
  137738        I   09/01/18    4   10/16/18                       7,000.00       7,000.00                   7,000.00                                                                    7,000.00
  138110        I   09/30/18    4   11/14/18                       9,200.00       9,200.00                   9,200.00                                                                    9,200.00
  138363        I   10/01/18    4   11/15/18                       3,150.00       3,150.00                   3,150.00                                                                    3,150.00
  138364        I   10/01/18    4   11/15/18                       7,000.00       7,000.00                   7,000.00                                                                    7,000.00
  138490        I   10/31/18    4   12/15/18                       9,200.00       9,200.00                   9,200.00                                                                    9,200.00
  138787        I   11/01/18    4   12/16/18                       3,150.00       3,150.00                   3,150.00                                                                    3,150.00
  138788        I   11/01/18    4   12/16/18                       7,000.00       7,000.00                   7,000.00                                                                    7,000.00
  170226        I   11/13/18    4   12/28/18                       3,183.00       3,183.00                   3,183.00                                                                    3,183.00
  138789        I   11/30/18    4   01/14/19                       9,200.00       9,200.00                   9,200.00                                              9,200.00
  139082        I   12/01/18    4   01/15/19                       3,150.00       3,150.00                   3,150.00                                              3,150.00
  139083        I   12/01/18    4   01/15/19                       7,000.00       7,000.00                   7,000.00                                              7,000.00

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                                                                             WESTERN RESERVE WATER SYSTEMS
                                                            Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                            For The Period Ending: 03/29/19
         Type         Terms
                                                                                             Open Balance                                        Days Past Due
  Invoice /                        Invoice        Job             Original
  Check #            Date         Due Date       Number          Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer GCSWAT / GCS WATER PURIFICATION, LLC. Phone: (281) 250-1531 Contact: FELECIA ALESNA (continued)
  139084       I 12/30/18 4 02/13/19                  9,200.00      9,200.00               9,200.00                                                 9,200.00
  139739       I 01/01/19 4 02/15/19                  3,150.00      3,150.00               3,150.00                                                 3,150.00
  139741       I 01/01/19 4 02/15/19                  7,000.00      7,000.00               7,000.00                                                 7,000.00
  139743       I 01/30/19 4 03/16/19                  9,200.00      9,200.00               9,200.00                                   9,200.00
  139744       I 01/30/19 4 03/16/19                  5,160.00      5,160.00               5,160.00                                   5,160.00
  139740       I 02/01/19 4 03/18/19                  3,150.00      3,150.00               3,150.00                                   3,150.00
  139742       I 02/01/19 4 03/18/19                  7,000.00      7,000.00               7,000.00                                   7,000.00
  140131       I 03/21/19 4 05/05/19                  5,262.80      5,262.80               5,262.80   5,262.80
      No Job Subtotals:                                           165,973.10             165,973.10   5,262.80                       24,510.00     19,350.00      19,350.00             97,500.30
      Job: GCSROS60CF / 60CF MIXBED EXCH/MONTHLY
  137668      I 08/17/18 4 10/01/18  GCSROS60CF                   10,000.00      10,000.00                   10,000.00                                                                  10,000.00
  138111      I 09/30/18 4 11/14/18  GCSROS60CF                   10,000.00      10,000.00                   10,000.00                                                                  10,000.00
       Job: GCSROS60CF / 60CF MIXBED EXCH/MONTHLY Subtotals:                     20,000.00                   20,000.00                                                                  20,000.00
      Job: GCSTXRESIN / REGENERATED RESIN
  139745      I 02/11/19 4 03/28/19  GCSTXRESIN                    7,328.00       7,328.00                    7,328.00                7,328.00
  140133      I 03/09/19 4 04/23/19  GCSTXRESIN                    4,544.00       4,544.00                    4,544.00    4,544.00
  140134      I 03/09/19 4 04/23/19  GCSTXRESIN                    1,728.00       1,728.00                    1,728.00    1,728.00
       Job: GCSTXRESIN / REGENERATED RESIN Subtotals:                            13,600.00                   13,600.00    6,272.00    7,328.00
Customer GCSWAT Totals:                                                         199,573.10                  199,573.10   11,534.80   31,838.00     19,350.00      19,350.00         117,500.30
Customer GORLAV / GORMAN-LAVELLE CORP Phone: Contact: SONJA CURAC
      Job: W1810234 / Central RO-DI System
  140164      I 03/22/19 3 04/21/19        W1810234               49,700.00      49,700.00                   49,700.00   49,700.00
       Job: W1810234 / Central RO-DI System Subtotals:                           49,700.00                   49,700.00   49,700.00
Customer GORLAV Totals:                                                          49,700.00                   49,700.00   49,700.00
Customer GREWID / CARDINAL LOGISTICS Phone: (262) 268-6327 Contact: KIRK - A/P MGR.
      No Job
  140067        I 02/28/19    3   03/30/19                         2,143.19       2,143.19                    2,143.19    2,143.19
       No Job Subtotals:                                                          2,143.19                    2,143.19    2,143.19
Customer GREWID Totals:                                                           2,143.19                    2,143.19    2,143.19
Customer HAMCOR / HAMMOND CORPORATION Phone: (216) 431-7861 Contact: JACQUELINE HAMMOND
      Job: W1810220 / Central RO Water System
  139540      I 01/11/19 3 02/10/19         W1810220               5,500.00       5,500.00                    5,500.00                              5,500.00
       Job: W1810220 / Central RO Water System Subtotals:                         5,500.00                    5,500.00                              5,500.00
Customer HAMCOR Totals:                                                           5,500.00                    5,500.00                              5,500.00
Customer HELCOA / HELIOS COATINGS Phone: (330) 430-9990 Contact: JEFF BISSEL CEO/ A/P
      Job: HELCAN34CF / 34 CF SYSTEM
  139594      I 01/24/19 3 02/23/19          HELCAN34CF              669.50        669.50                      669.50                                 669.50
       Job: HELCAN34CF / 34 CF SYSTEM Subtotals:                                   669.50                      669.50                                 669.50
Customer HELCOA Totals:                                                            669.50                      669.50                                 669.50
Customer HENCOR / HENKEL CORPORATION Phone: (212) 444-0431 Contact: JOY, ANNETTE, ...

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                                                                            WESTERN RESERVE WATER SYSTEMS
                                                           Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                           For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice         Job           Original
  Check #            Date         Due Date        Number        Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer HENCOR / HENKEL CORPORATION Phone: (212) 444-0431 Contact: JOY, ANNETTE, ... (continued)
      Job: HENMEN12CF / MENTOR 1.2 CF SYSTEM
  136977      I 07/10/18 3 08/09/18   HENMEN12CF                    520.00        520.00                     520.00                                                                   520.00
  139677      I 02/01/19 3 03/03/19   HENMEN12CF                    540.00        540.00                     540.00                   540.00
       Job: HENMEN12CF / MENTOR 1.2 CF SYSTEM Subtotals:                        1,060.00                    1,060.00                  540.00                                          520.00
Customer HENCOR Totals:                                                         1,060.00                    1,060.00                  540.00                                          520.00
Customer HENINT / HENDRICKSON INTERNATIONAL Phone: (330) 489-0655 Contact: ANN BROKER
      Job: HENCANXXDI / 3.6CF DI SYSTEM
  137398      I 07/31/18 4 09/14/18    HENCANXXDI                   723.06        723.06                     723.06                                                                   723.06
       Job: HENCANXXDI / 3.6CF DI SYSTEM Subtotals:                               723.06                     723.06                                                                   723.06
Customer HENINT Totals:                                                           723.06                     723.06                                                                   723.06
Customer HENLOC / HENKEL LOCTITE CORPORATION Phone: (216) 663-3976 Contact: VINA A/P
     No Job
ACH 010319      P 01/03/19       01/03/19                           -424.00      -424.00                     -424.00                                              -424.00
       No Job Subtotals:                                                         -424.00                     -424.00                                              -424.00
      Job: HENCLE36CF / 3.6 CF SYSTEM
  139583      I 01/24/19 3 02/23/19   HENCLE36CF                    425.00        425.00                     425.00                                 425.00
  139839      I 02/22/19 3 03/24/19   HENCLE36CF                    425.00        425.00                     425.00                   425.00
       Job: HENCLE36CF / 3.6 CF SYSTEM Subtotals:                                 850.00                     850.00                   425.00        425.00
Customer HENLOC Totals:                                                           426.00                     426.00                   425.00        425.00        -424.00
Customer HIKPHA / HIKMA PHARMACEUTICALS Phone: 1-856-424-3700
      Job: BENXWETLAB / R&D/PPD/WET LAB WEST/EAST
  140183      I 03/14/19 3 04/13/19  BENXWETLAB                     201.64        201.64                     201.64      201.64
       Job: BENXWETLAB / R&D/PPD/WET LAB WEST/EAST Subtotals:                     201.64                     201.64      201.64
      Job: WESBEDPILO / PILOT LAB
  138024      I 09/17/18 3 10/17/18           WESBEDPILO            951.10         70.45                       70.45                                                                   70.45
  139352      I 01/07/19 3 02/06/19           WESBEDPILO            880.65        880.65                      880.65                                880.65
  140000      I 02/28/19 3 03/30/19           WESBEDPILO          1,170.65      1,170.65                    1,170.65    1,170.65
       Job: WESBEDPILO / PILOT LAB Subtotals:                                   2,121.75                    2,121.75    1,170.65                    880.65                             70.45
Customer HIKPHA Totals:                                                         2,323.39                    2,323.39    1,372.29                    880.65                             70.45
Customer HITGRO / HI TECMETAL GROUP Phone: Contact: COLE W COE
      Job: HITCLEV001 / 1.2 DI SITE
  139156       I 12/18/18 3 01/17/19          HITCLEV001            257.50        257.50                     257.50                                                257.50
       Job: HITCLEV001 / 1.2 DI SITE Subtotals:                                   257.50                     257.50                                                257.50
Customer HITGRO Totals:                                                           257.50                     257.50                                                257.50
Customer HYSPRO / HYSON PRODUCTS Phone: (860) 409-4670 Contact: LINDA KIJEK A/P
      Job: HYSBRESYS2 / SYST 2 - PARTS WASHER
  138426      I 10/18/18 7 01/01/19    HYSBRESYS2                   139.05        139.05                     139.05                                                139.05
  139602      I 01/25/19 7 04/10/19    HYSBRESYS2                   139.05        139.05                     139.05      139.05
       Job: HYSBRESYS2 / SYST 2 - PARTS WASHER Subtotals:                         278.10                     278.10      139.05                                    139.05


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #           Date          Due Date     Number           Amount         Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer HYSPRO Totals:                                                          278.10                      278.10      139.05                                    139.05
Customer INSTRU / INSTRUMATICS Phone: (216) 267-9020 Contact: JAY
      Job: INSCLE36CF / 3.6 CF SYSTEM
  139902       I 02/26/19 3 03/28/19         INSCLE36CF            252.35        252.35                      252.35                   252.35
       Job: INSCLE36CF / 3.6 CF SYSTEM Subtotals:                                252.35                      252.35                   252.35
Customer INSTRU Totals:                                                          252.35                      252.35                   252.35
Customer INTIGR / INTIGRAL Phone: (440) 945-1038 Contact: BARBARA JOHNS
      Job: INTWALBATC / TEMPERING LINE BATCH (WH)
  139824       I 02/19/19 3 03/21/19  INTWALBATC                   620.72        620.72                      620.72                   620.72
  140001       I 02/28/19 3 03/30/19  INTWALBATC                   620.72        620.72                      620.72      620.72
  140074       I 03/08/19 3 04/07/19  INTWALBATC                   948.88        948.88                      948.88      948.88
  140175       I 03/14/19 3 04/13/19  INTWALBATC                   620.72        620.72                      620.72      620.72
       Job: INTWALBATC / TEMPERING LINE BATCH (WH) Subtotals:                   2,811.04                    2,811.04    2,190.32      620.72
      Job: INTWALDOCK / RECEIVING DOCK (WH)
  139825       I 02/19/19 3 03/21/19 INTWALDOCK                  1,035.64       1,035.64                    1,035.64                1,035.64
       Job: INTWALDOCK / RECEIVING DOCK (WH) Subtotals:                         1,035.64                    1,035.64                1,035.64
      Job: INTWALFOR1 / FOREL #1 (WH)
  139823       I 02/19/19 3 03/21/19         INTWALFOR1            620.72        620.72                      620.72                   620.72
  140002       I 02/28/19 3 03/30/19         INTWALFOR1            620.72        620.72                      620.72      620.72
  140072       I 03/08/19 3 04/07/19         INTWALFOR1            620.72        620.72                      620.72      620.72
       Job: INTWALFOR1 / FOREL #1 (WH) Subtotals:                               1,862.16                    1,862.16    1,241.44      620.72
      Job: INTWALFOR2 / FOREL #2 (WH)
  139888       I 02/25/19 3 03/27/19         INTWALFOR2            620.72        620.72                      620.72                   620.72
  140176       I 03/14/19 3 04/13/19         INTWALFOR2            620.72        620.72                      620.72      620.72
       Job: INTWALFOR2 / FOREL #2 (WH) Subtotals:                               1,241.44                    1,241.44     620.72       620.72
      Job: INTWALFOR3 / FOREL #3 (WH)
  139822       I 02/19/19 3 03/21/19         INTWALFOR3            948.62        948.62                      948.62                   948.62
  140073       I 03/08/19 3 04/07/19         INTWALFOR3            620.72        620.72                      620.72      620.72
       Job: INTWALFOR3 / FOREL #3 (WH) Subtotals:                               1,569.34                    1,569.34     620.72       948.62
      Job: INTWALLIN2 / ATLAS WASHER (WH)
  139894       I 02/25/19 3 03/27/19  INTWALLIN2                   620.72        620.72                      620.72                   620.72
  140003       I 02/28/19 3 03/30/19  INTWALLIN2                   620.72        620.72                      620.72      620.72
  140071       I 03/08/19 3 04/07/19  INTWALLIN2                   620.72        620.72                      620.72      620.72
  140174       I 03/14/19 3 04/13/19  INTWALLIN2                   620.72        620.72                      620.72      620.72
       Job: INTWALLIN2 / ATLAS WASHER (WH) Subtotals:                           2,482.88                    2,482.88    1,862.16      620.72
Customer INTIGR Totals:                                                        11,002.50                  11,002.50     6,535.36    4,467.14
Customer JMSMUC / JM SMUCKER COMPANY Phone: (330) 684-3508 Contact: SCOTT CHRISTY
      No Job
  170274        I 02/11/19    3   03/13/19                          60.86         60.86                       60.86                    60.86
       No Job Subtotals:                                                          60.86                       60.86                    60.86
Customer JMSMUC Totals:                                                           60.86                       60.86                    60.86



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                                                                             WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                             Open Balance                                        Days Past Due
  Invoice /                        Invoice      Job               Original
  Check #            Date         Due Date     Number            Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer JOHMAN / JOHNS MANVILLE Phone:
      Job: JOHDEFXPDI / PDI EXCHANGE/RENTAL
  139634      I 01/28/19 6 03/29/19   JOHDEFXPDI                   3,605.00       3,605.00                    3,605.00    3,605.00
  139826      I 02/19/19 6 04/20/19   JOHDEFXPDI                   4,300.25       4,300.25                    4,300.25    4,300.25
  140075      I 03/11/19 6 05/10/19   JOHDEFXPDI                   4,300.25       4,300.25                    4,300.25    4,300.25
       Job: JOHDEFXPDI / PDI EXCHANGE/RENTAL Subtotals:                          12,205.50                   12,205.50   12,205.50
Customer JOHMAN Totals:                                                          12,205.50                  12,205.50    12,205.50
Customer JUNAUT / JUNCTION AUTO SALES Phone: (440) 946-5577
      Job: JUNAUTSALT / SALT
  140094       I 02/22/19 3 03/24/19         JUNAUTSALT               454.23       454.23                      454.23                   454.23
       Job: JUNAUTSALT / SALT Subtotals:                                           454.23                      454.23                   454.23
Customer JUNAUT Totals:                                                            454.23                      454.23                   454.23
Customer KALCOA / KALCOR COATINGS Phone: (440) 946-4700 Contact: CHERYL A/P
      Job: KALWILMANU / MANUFACTURING
  140039      I 03/04/19 3 04/03/19 KALWILMANU                        280.16       280.16                      280.16      280.16
       Job: KALWILMANU / MANUFACTURING Subtotals:                                  280.16                      280.16      280.16
      Job: KALWILMIX2 / MIXING SITE #2 DI TANKS
  140038      I 03/04/19 3 04/03/19      KALWILMIX2                   303.85       303.85                      303.85      303.85
       Job: KALWILMIX2 / MIXING SITE #2 DI TANKS Subtotals:                        303.85                      303.85      303.85
      Job: KALWILPROD / PRODUCTION
  140037      I 03/04/19 3 04/03/19          KALWILPROD               190.55       190.55                      190.55      190.55
       Job: KALWILPROD / PRODUCTION Subtotals:                                     190.55                      190.55      190.55
      Job: KALWILQCLA / QC LAB
  140040      I 03/04/19 3 04/03/19          KALWILQCLA                66.95        66.95                       66.95       66.95
       Job: KALWILQCLA / QC LAB Subtotals:                                          66.95                       66.95       66.95
Customer KALCOA Totals:                                                            841.51                      841.51      841.51
Customer KAOUSA / KAO USA INC. Phone: (513) 421-1400 Contact: ROBERT RUTHERFORD
      Job: 1918 / PLANT - 2019
  140147       I 02/25/19 3 03/27/19           1918                1,801.09       1,801.09                    1,801.09                1,801.09
       Job: 1918 / PLANT - 2019 Subtotals:                                        1,801.09                    1,801.09                1,801.09
Customer KAOUSA Totals:                                                           1,801.09                    1,801.09                1,801.09
Customer KENSRV / DEPT OF BUDGET & FINANCE Phone: Contact: TESS KENNEDY
      Job: CITKENXWTP / WATER DEPT - WTP LAB
  140041       I 03/02/19 3 04/01/19  CITKENXWTP                       97.85        97.85                       97.85       97.85
       Job: CITKENXWTP / WATER DEPT - WTP LAB Subtotals:                            97.85                       97.85       97.85
Customer KENSRV Totals:                                                             97.85                       97.85       97.85
Customer KENSTA / KENT STATE Phone: (330) 672-2607 Contact: ROSA YORK A/P
      Job: KENKENWILL / WILLIAMS HALL
  139426      I 01/11/19 3 02/10/19   KENKENWILL                      648.90       648.90                      648.90                                 648.90


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                      Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #           Date          Due Date     Number          Amount          Total        Retention Non-Retention    Current   1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer KENSTA / KENT STATE Phone: (330) 672-2607 Contact: ROSA YORK A/P (continued)
       Job: KENKENWILL / WILLIAMS HALL Subtotals:                                648.90                      648.90                               648.90
Customer KENSTA Totals:                                                          648.90                      648.90                               648.90
Customer KIKCUS / KIK CUSTOM PRODUCTS Phone: (574) 295-0000 Contact: CINDY HENRY x5005
      No Job
  170279        I 02/18/19    3   03/20/19                         608.89        608.89                      608.89                 608.89
       No Job Subtotals:                                                         608.89                      608.89                 608.89
Customer KIKCUS Totals:                                                          608.89                      608.89                 608.89
Customer KLETES / KLEEN TEST PRODUCT CORPORATION Phone: (330) 878-5586 Contact: DARLENE WALKER
      Job: KLESTRPROD / PRODUCTION
  140013       I 01/24/19 3 02/23/19         KLESTRPROD          5,400.00       5,400.00                    5,400.00                            5,400.00
  139840       I 02/01/19 3 03/03/19         KLESTRPROD          5,400.00       5,400.00                    5,400.00              5,400.00
  139841       I 02/08/19 3 03/10/19         KLESTRPROD          5,400.00       5,400.00                    5,400.00              5,400.00
  140014       I 02/25/19 3 03/27/19         KLESTRPROD          5,400.00       5,400.00                    5,400.00              5,400.00
       Job: KLESTRPROD / PRODUCTION Subtotals:                                 21,600.00                   21,600.00             16,200.00      5,400.00
      Job: KLESTRXLAB / DI TANKS
  138920       I 11/29/18 3 12/29/18         KLESTRXLAB            400.00        400.00                      400.00                                              400.00
       Job: KLESTRXLAB / DI TANKS Subtotals:                                     400.00                      400.00                                              400.00
Customer KLETES Totals:                                                        22,000.00                  22,000.00              16,200.00      5,400.00         400.00
Customer KOPPER / KOPPERS INC. Phone: (304) 527-5562 Contact: G. THOMAS MOORE, ENG
      No Job
 139848CR       C 01/01/19    3   01/31/19                      -3,150.00      -3,150.00                   -3,150.00                           -3,150.00
       No Job Subtotals:                                                       -3,150.00                   -3,150.00                           -3,150.00
Customer KOPPER Totals:                                                        -3,150.00                   -3,150.00                           -3,150.00
Customer KOVCAS / KOVATCH CASTINGS Phone: (330) 896-9944 Contact: FRANK (A/P) EXT. 210
      Job: KOVUNI36CF / 3.6 CF SYSTEM
  139809      I 02/15/19 3 03/17/19          KOVUNI36CF            727.18        727.18                      727.18                 727.18
       Job: KOVUNI36CF / 3.6 CF SYSTEM Subtotals:                                727.18                      727.18                 727.18
Customer KOVCAS Totals:                                                          727.18                      727.18                 727.18
Customer KXCOMP / THE K COMPANY Phone: (330) 773-5125 Contact: MARC MUCKENSTURM
      No Job
  136626        I 06/23/18    3   07/23/18                         250.00        250.00                      250.00                                                                 250.00
  137089        I 07/23/18    3   08/22/18                         250.00        250.00                      250.00                                                                 250.00
244902          P 08/06/18        08/06/18                      -1,290.00        -40.00                      -40.00                                                                 -40.00
  139086        I 12/23/18    3   01/22/19                         250.00        250.00                      250.00                                              250.00
       No Job Subtotals:                                                         710.00                      710.00                                              250.00             460.00
      Job: MUSCLEVART / MUSEUM - CONTEMPORARY ART
  134638      I 01/02/18 3 02/01/18  MUSCLEVART                     80.00         80.00                       80.00                                                                  80.00
  135205      I 03/14/18 3 04/13/18  MUSCLEVART                    100.00        100.00                      100.00                                                                 100.00
  135889      I 04/16/18 3 05/16/18  MUSCLEVART                    100.00        100.00                      100.00                                                                 100.00
  139197      I 11/30/18 3 12/30/18  MUSCLEVART                    251.00        251.00                      251.00                                              251.00

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                                                                             WESTERN RESERVE WATER SYSTEMS
                                                            Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                            For The Period Ending: 03/29/19
         Type         Terms
                                                                                            Open Balance                                        Days Past Due
  Invoice /                        Invoice          Job           Original
  Check #            Date         Due Date         Number        Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer KXCOMP / THE K COMPANY Phone: (330) 773-5125 Contact: MARC MUCKENSTURM (continued)
  139542       I 01/15/19 3 02/14/19  MUSCLEVART             103.00 103.00              103.00                                                       103.00
      Job: MUSCLEVART / MUSEUM - CONTEMPORARY ART Subtotals:        634.00              634.00                                                       103.00         251.00             280.00
Customer KXCOMP Totals:                                                          1,344.00                    1,344.00                                103.00         501.00             740.00
Customer LAKHEA / LAKE HEALTH Phone: (440) 354-1133 Contact: BARBARA PERISH
      No Job
  139975        I 02/20/19    3   03/22/19                           251.00        251.00                     251.00                   251.00
       No Job Subtotals:                                                           251.00                     251.00                   251.00
      Job: LAKWILHITA / HITACHI - 3.6 SYSTEM
  139399      I 01/09/19 3 02/08/19      LAKWILHITA                  824.00        824.00                      824.00                                824.00
  139827      I 02/18/19 3 03/20/19      LAKWILHITA                1,336.94      1,336.94                    1,336.94                1,336.94
       Job: LAKWILHITA / HITACHI - 3.6 SYSTEM Subtotals:                         2,160.94                    2,160.94                1,336.94        824.00
Customer LAKHEA Totals:                                                          2,411.94                    2,411.94                1,587.94        824.00
Customer LAKWTP / CITY OF LAKEWOOD Phone: (216) 529-5690 Contact: BILL CRUTE
      Job: LAKWTP25CF / WTP 0.25 CF SYSTEM
  139660      I 01/29/19 C 02/28/19    LAKWTP25CF                     87.55         87.55                      87.55                    87.55
       Job: LAKWTP25CF / WTP 0.25 CF SYSTEM Subtotals:                              87.55                      87.55                    87.55
Customer LAKWTP Totals:                                                             87.55                      87.55                    87.55
Customer LANGRI / LANGE GRINDING INC Phone: (330) 463-3500
      Job: LANSTRXXDI / DI - SITE #1
  140204       I 03/20/19 3 04/19/19         LANSTRXXDI            2,060.00      2,060.00                    2,060.00    2,060.00
       Job: LANSTRXXDI / DI - SITE #1 Subtotals:                                 2,060.00                    2,060.00    2,060.00
Customer LANGRI Totals:                                                          2,060.00                    2,060.00    2,060.00
Customer LINCOL / LINCOLN ELECTRIC Phone: (216) 383-2063 Contact: ANGELA A/P
      Job: LINCLBAY19 / BAY 19 MACH R&D VIBRATION
  140076       I 03/07/19 D 05/06/19   LINCLBAY19                    791.00        791.00                     791.00      791.00
       Job: LINCLBAY19 / BAY 19 MACH R&D VIBRATION Subtotals:                      791.00                     791.00      791.00
      Job: LINCLECHEM / CHEM LAB 845000.114230
  139877       I 02/21/19 D 04/22/19  LINCLECHEM                     113.00        113.00                     113.00      113.00
       Job: LINCLECHEM / CHEM LAB 845000.114230 Subtotals:                         113.00                     113.00      113.00
      Job: LINCLEXX77 / DEPT 9-12 BOWDEN WASH SYS
  139891       I 02/21/19 D 04/22/19   LINCLEXX77                    895.00        895.00                     895.00      895.00
       Job: LINCLEXX77 / DEPT 9-12 BOWDEN WASH SYS Subtotals:                      895.00                     895.00      895.00
      Job: LINEUCELEC / ELECTRONIC FACTORY
  139875       I 02/21/19 D 04/22/19  LINEUCELEC                   1,694.00      1,694.00                    1,694.00    1,694.00
       Job: LINEUCELEC / ELECTRONIC FACTORY Subtotals:                           1,694.00                    1,694.00    1,694.00
      Job: LINEUCXX85 / DEPT 85 BRAKE DOWN LINE
  139876       I 02/21/19 D 04/22/19   LINEUCXX85                    922.00        922.00                     922.00      922.00
       Job: LINEUCXX85 / DEPT 85 BRAKE DOWN LINE Subtotals:                        922.00                     922.00      922.00



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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                         Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #            Date         Due Date     Number          Amount          Total        Retention Non-Retention    Current     1-30 Days    31-60 Days      61-90 Days      Over 90 Days

Customer LINCOL Totals:                                                         4,415.00                    4,415.00    4,415.00
Customer LINEMC / LINDE - EMC/BOC Phone: (815) 666-7757 Contact: STEVE SCHULL
      Job: 1918 / PLANT - 2019
  139849       I 12/01/18 3 12/31/18           1918             16,090.00      16,090.00                  16,090.00                                              16,090.00
  139850       I 12/01/18 3 12/31/18           1918                218.44         218.44                     218.44                                                 218.44
       Job: 1918 / PLANT - 2019 Subtotals:                                     16,308.44                   16,308.44                                             16,308.44
Customer LINEMC Totals:                                                        16,308.44                  16,308.44                                              16,308.44
Customer LMTMER / LMT MERCER GROUP Phone: (330) 587-0100 Contact: BRAD LYNN
      Job: LMTHARQLAB / Q LAB SYSTEM FEED
  139470      I 01/15/19 3 02/14/19   LMTHARQLAB                   417.15        417.15                      417.15                                  417.15
       Job: LMTHARQLAB / Q LAB SYSTEM FEED Subtotals:                            417.15                      417.15                                  417.15
Customer LMTMER Totals:                                                          417.15                      417.15                                  417.15
Customer LOCMAN / LOCUS MANAGEMENT SOLUTIONS Phone: (440) 561-0800
      Job: LOCSOLDIO1 / DI SYSTEM #1
  140158      I 02/20/19 3 03/22/19          LOCSOLDIO1            200.85        200.85                      200.85                   200.85
       Job: LOCSOLDIO1 / DI SYSTEM #1 Subtotals:                                 200.85                      200.85                   200.85
Customer LOCMAN Totals:                                                          200.85                      200.85                   200.85
Customer LORCOU / LORAIN COUNTY COMMUNITY COLLEG Phone: (440) 366-7691 Contact: DIANA A/P
      No Job
  138145        I 09/15/18    3   10/15/18                       1,248.00       1,248.00                    1,248.00                                                                   1,248.00
       No Job Subtotals:                                                        1,248.00                    1,248.00                                                                   1,248.00
Customer LORCOU Totals:                                                         1,248.00                    1,248.00                                                                   1,248.00
Customer LUBRIZ / LUBRIZOL CORPORATION Phone: (440) 347-4479 Contact: JOHNNIE THOMLISON
      No Job
ACH180629A      P 06/29/18        06/29/18                      -1,413.16        -706.58                     -706.58                                                                    -706.58
  139088        I 12/16/18    3   01/15/19                       1,302.64       1,302.64                    1,302.64                                              1,302.64
ACH 031419      P 03/14/19        03/14/19                        -686.00        -686.00                     -686.00                  -686.00
       No Job Subtotals:                                                          -89.94                      -89.94                  -686.00                     1,302.64              -706.58
      Job: LUBWICSALT / SALT SPRAY/HUMIDITY - 15
  140042      I 03/05/19 3 04/04/19   LUBWICSALT                   993.95        993.95                      993.95      993.95
       Job: LUBWICSALT / SALT SPRAY/HUMIDITY - 15 Subtotals:                     993.95                      993.95      993.95
Customer LUBRIZ Totals:                                                          904.01                      904.01      993.95       -686.00                     1,302.64              -706.58
Customer MALPRO / MALCO PRODUCTS Phone: (330) 753-0361 Contact: CONNIE BOALS
      Job: MALBARBERT / BARBERTON
  139209      I 11/30/18 3 12/30/18          MALBARBERT            354.50        354.50                      354.50                                                 354.50
       Job: MALBARBERT / BARBERTON Subtotals:                                    354.50                      354.50                                                 354.50
Customer MALPRO Totals:                                                          354.50                      354.50                                                 354.50
Customer MELTOO / MELIN TOOL COMPANY Phone: (216) 362-4200 Contact: ED CEISLAK
       Job: MELBROX002 / SYSTEM #2


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                                                                              WESTERN RESERVE WATER SYSTEMS
                                                         Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                         For The Period Ending: 03/29/19
         Type         Terms
                                                                                             Open Balance                                       Days Past Due
  Invoice /                        Invoice      Job                Original
  Check #           Date          Due Date     Number             Amount          Total       Retention Non-Retention    Current    1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer MELTOO / MELIN TOOL COMPANY Phone: (216) 362-4200 Contact: ED CEISLAK (continued)
  139398       I 01/09/19 2 02/08/19     MELBROX002    283.25        5.67                                         5.67                                 5.67
      Job: MELBROX002 / SYSTEM #2 Subtotals:                         5.67                                         5.67                                 5.67
Customer MELTOO Totals:                                                               5.67                        5.67                                 5.67
Customer METHEA / METROHEALTH Phone:
      No Job
  139976        I 02/01/19    3   03/03/19                             951.00       951.00                     951.00                  951.00
       No Job Subtotals:                                                            951.00                     951.00                  951.00
      Job: 1810 / CLEVELAND
  137531       I 08/14/18 3 09/13/18           1810                    269.47       269.47                     269.47                                                                  269.47
  139199       I 11/30/18 3 12/30/18           1810                    198.00       198.00                     198.00                                               198.00
       Job: 1810 / CLEVELAND Subtotals:                                             467.47                     467.47                                               198.00             269.47
      Job: CASMETRHAM / METROHEALTH HAMANN220/216
  137137      I 07/17/18 3 08/16/18 CASMETRHAM                         335.00       335.00                     335.00                                                                  335.00
       Job: CASMETRHAM / METROHEALTH HAMANN220/216 Subtotals:                       335.00                     335.00                                                                  335.00
      Job: METCLEHTS5 / CLEVELAND HTS SYS #5
  139206      I 11/30/18 3 12/30/18  METCLEHTS5                       404.24        404.24                      404.24                                              404.24
  139207      I 11/30/18 3 12/30/18  METCLEHTS5                     1,054.42      1,054.42                    1,054.42                                            1,054.42
       Job: METCLEHTS5 / CLEVELAND HTS SYS #5 Subtotals:                          1,458.66                    1,458.66                                            1,458.66
      Job: METCLEMICR / MICROBIOLOGY B S1-67
  139758      I 02/08/19 3 03/10/19  METCLEMICR                         91.67        91.67                      91.67                   91.67
       Job: METCLEMICR / MICROBIOLOGY B S1-67 Subtotals:                             91.67                      91.67                   91.67
      Job: METCLEPARM / PARMA LOCATION
  139759      I 02/08/19 3 03/10/19  METCLEPARM                        757.05       757.05                     757.05                  757.05
       Job: METCLEPARM / PARMA LOCATION Subtotals:                                  757.05                     757.05                  757.05
      Job: METCLEPATH / PATHOLOGY S273 0.71 TANKS
  139275      I 12/27/18 3 01/26/19  METCLEPATH                         97.00        97.00                      97.00                                                97.00
       Job: METCLEPATH / PATHOLOGY S273 0.71 TANKS Subtotals:                        97.00                      97.00                                                97.00
      Job: METCLEXX03 / MEDIA RM SYSTEM #3
  140141      I 03/05/19 3 04/04/19   METCLEXX03                       215.00       215.00                     215.00      215.00
       Job: METCLEXX03 / MEDIA RM SYSTEM #3 Subtotals:                              215.00                     215.00      215.00
Customer METHEA Totals:                                                           4,372.85                    4,372.85     215.00    1,799.72                     1,753.66             604.47
Customer MEXSPE / MEXICHEM SPECIALTY RESIN, INC. Phone:
      Job: MEXAVOXXDI / 3.6CF DI TANK - BLDG 414
  138313      I 10/12/18 6 12/11/18      MEXAVOXXDI                    767.35       767.35                     767.35                                                                  767.35
  138830      I 11/16/18 6 01/15/19      MEXAVOXXDI                    613.88       613.88                     613.88                                               613.88
  139151      I 12/18/18 6 02/16/19      MEXAVOXXDI                    460.41       460.41                     460.41                                460.41
  139698      I 02/01/19 6 04/02/19      MEXAVOXXDI                    613.88       613.88                     613.88      613.88
       Job: MEXAVOXXDI / 3.6CF DI TANK - BLDG 414 Subtotals:                      2,455.52                    2,455.52     613.88                    460.41         613.88             767.35
Customer MEXSPE Totals:                                                           2,455.52                    2,455.52     613.88                    460.41         613.88             767.35
Customer MOENIN / MOEN, INC. Phone: (440) 962-2000 Contact: ACCOUNTS PAYABLE

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                                                                            WESTERN RESERVE WATER SYSTEMS
                                                           Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                           For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                         Days Past Due
  Invoice /                        Invoice      Job              Original
  Check #           Date          Due Date     Number           Amount          Total       Retention Non-Retention    Current     1-30 Days    31-60 Days      61-90 Days      Over 90 Days

Customer MOENIN / MOEN, INC. Phone: (440) 962-2000 Contact: ACCOUNTS PAYABLE (continued)
      Job: MOENOR36CF / 3.6 CF SYSTEM
  139152      I 12/18/18 C 01/17/19   MOENOR36CF                    345.05        345.05                     345.05                                                 345.05
       Job: MOENOR36CF / 3.6 CF SYSTEM Subtotals:                                 345.05                     345.05                                                 345.05
      Job: MOENOR52CF / 0.52 CF SYSTEM
  140186      I 03/14/19 C 04/13/19   MOENOR52CF                    241.02        241.02                     241.02      241.02
       Job: MOENOR52CF / 0.52 CF SYSTEM Subtotals:                                241.02                     241.02      241.02
Customer MOENIN Totals:                                                           586.07                     586.07      241.02                                     345.05
Customer MOMPER / MOMENTIVE PERFORMANCE MATERIAL Phone: (440) 953-7853 Contact: JOHN TUCK
      No Job
  138797        I 11/01/18    3   12/01/18                            40.00        40.00                       40.00                                                                    40.00
  138798        I 11/01/18    3   12/01/18                            40.00        40.00                       40.00                                                                    40.00
  138799        I 11/01/18    3   12/01/18                            40.00        40.00                       40.00                                                                    40.00
 139884CR       C 02/14/19    3   03/16/19                          -257.50      -257.50                     -257.50                  -257.50
       No Job Subtotals:                                                         -137.50                     -137.50                  -257.50                                          120.00
      Job: 1910 / CLEVELAND
  139775       I 01/29/19 3 02/28/19           1910               1,466.00      1,466.00                    1,466.00                1,466.00
  139913       I 02/27/19 3 03/29/19           1910                 504.70        504.70                      504.70     504.70
       Job: 1910 / CLEVELAND Subtotals:                                         1,970.70                    1,970.70     504.70     1,466.00
      Job: MOMPERCLEA / CLEAN ROOM
  139868      I 02/21/19 3 03/23/19 MOMPERCLEA                      515.00        515.00                     515.00                   515.00
       Job: MOMPERCLEA / CLEAN ROOM Subtotals:                                    515.00                     515.00                   515.00
      Job: MOMWILFOW1 / FO WASHER # 1
  137500      I 08/07/18 3 09/06/18  MOMWILFOW1                     257.50        257.50                     257.50                                                                    257.50
  139464      I 01/16/19 3 02/15/19  MOMWILFOW1                     257.50        257.50                     257.50                                  257.50
  139810      I 02/14/19 3 03/16/19  MOMWILFOW1                     257.50        257.50                     257.50                   257.50
  139884      I 02/14/19 3 03/16/19  MOMWILFOW1                     257.50        257.50                     257.50                   257.50
       Job: MOMWILFOW1 / FO WASHER # 1 Subtotals:                               1,030.00                    1,030.00                  515.00         257.50                            257.50
      Job: MOMWILFOW2 / FO WASHER #2
  140201      I 03/12/19 3 04/11/19  MOMWILFOW2                     515.00        515.00                     515.00      515.00
       Job: MOMWILFOW2 / FO WASHER #2 Subtotals:                                  515.00                     515.00      515.00
Customer MOMPER Totals:                                                         3,893.20                    3,893.20    1,019.70    2,238.50         257.50                            377.50
Customer MPCPLA / MPC PLATING, INC Phone: (216) 881-7220 Contact: ADRIAN
      Job: MPCCLEDOUB / PLASTICS-DOUBLE LINE
  139721      I 02/07/19 6 04/08/19 MPCCLEDOUB                    3,194.03      3,194.03                    3,194.03    3,194.03
       Job: MPCCLEDOUB / PLASTICS-DOUBLE LINE Subtotals:                        3,194.03                    3,194.03    3,194.03
      Job: MPCCLESING / SINGLE LINE - METALS
  140004      I 02/28/19 6 04/29/19    MPCCLESING                   715.85        715.85                     715.85      715.85
       Job: MPCCLESING / SINGLE LINE - METALS Subtotals:                          715.85                     715.85      715.85
      Job: MPCCLEXLAB / LAB SYSTEM
  139811      I 02/13/19 6 04/14/19          MPCCLEXLAB             345.05        345.05                     345.05      345.05



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                                                                            WESTERN RESERVE WATER SYSTEMS
                                                           Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                           For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                         Days Past Due
  Invoice /                       Invoice        Job             Original
  Check #            Date        Due Date       Number          Amount          Total       Retention Non-Retention    Current     1-30 Days    31-60 Days      61-90 Days      Over 90 Days

Customer MPCPLA / MPC PLATING, INC Phone: (216) 881-7220 Contact: ADRIAN (continued)
       Job: MPCCLEXLAB / LAB SYSTEM Subtotals:                                    345.05                     345.05      345.05
Customer MPCPLA Totals:                                                         4,254.93                    4,254.93    4,254.93
Customer MTDPRO / MTD PRODUCTS Phone: (216) 337-0550
      No Job
CC 022719       P 02/28/19      02/28/19                            -470.71      -128.75                     -128.75                  -128.75
       No Job Subtotals:                                                         -128.75                     -128.75                  -128.75
      Job: MTDVALSALT / SALT CHAMBERS
  139843      I 02/12/19 3 03/14/19  MTDVALSALT                     128.75        128.75                     128.75                   128.75
       Job: MTDVALSALT / SALT CHAMBERS Subtotals:                                 128.75                     128.75                   128.75
Customer MTDPRO Totals:
Customer MUSART / MUSEUM OF CONTEMPORARY ART Phone:
      Job: MUSCLE2ART / MUSEUM OF CONTEMPORARY
  137417      I 07/31/18 3 08/30/18 MUSCLE2ART                      103.00        103.00                     103.00                                                                     103.00
  137681      I 08/16/18 3 09/15/18 MUSCLE2ART                      100.00        100.00                     100.00                                                                     100.00
  139202      I 11/30/18 3 12/30/18 MUSCLE2ART                      269.27        269.27                     269.27                                                 269.27
       Job: MUSCLE2ART / MUSEUM OF CONTEMPORARY Subtotals:                        472.27                     472.27                                                 269.27              203.00
Customer MUSART Totals:                                                           472.27                     472.27                                                 269.27              203.00
Customer NEORSD / NEORSD LE Phone:
      Job: W1810235 / NEORSD BOILER FEED SOFTEN
  139788      I 01/10/19 3 02/09/19    W1810235                   4,042.85      4,042.85                    4,042.85                               4,042.85
       Job: W1810235 / NEORSD BOILER FEED SOFTEN Subtotals:                     4,042.85                    4,042.85                               4,042.85
Customer NEORSD Totals:                                                         4,042.85                    4,042.85                               4,042.85
Customer NEPPLU / NEPTUNE PLUMBING & HEATING CO Phone: Contact: CHRISTIE FINK
      Job: W1810221 / DI Water System
  137303      I 07/31/18 3 08/30/18           W1810221            4,400.00      4,400.00                    4,400.00                                                                   4,400.00
       Job: W1810221 / DI Water System Subtotals:                               4,400.00                    4,400.00                                                                   4,400.00
Customer NEPPLU Totals:                                                         4,400.00                    4,400.00                                                                   4,400.00
Customer NESPRO / NESTLE PROFESSIONAL CULINARY Phone: Contact: DANIEL HOY
      Job: 1810 / CLEVELAND
  139448       I 11/12/18 3 12/12/18                1810            351.50        351.50                     351.50                                                                     351.50
       Job: 1810 / CLEVELAND Subtotals:                                           351.50                     351.50                                                                     351.50
Customer NESPRO Totals:                                                           351.50                     351.50                                                                     351.50
Customer NESWAT / NESTLE USA Phone:
      Job: NESSOLXPDI / 60CF TANK
  139812      I 02/13/19 3 03/15/19          NESSOLXPDI           1,650.00      1,650.00                    1,650.00                1,650.00
  139832      I 02/14/19 3 03/16/19          NESSOLXPDI           1,375.00      1,375.00                    1,375.00                1,375.00
  139897      I 02/26/19 3 03/28/19          NESSOLXPDI           1,650.00      1,650.00                    1,650.00                1,650.00
  140005      I 03/01/19 3 03/31/19          NESSOLXPDI           1,650.00      1,650.00                    1,650.00    1,650.00
  140202      I 03/20/19 3 04/19/19          NESSOLXPDI           1,650.00      1,650.00                    1,650.00    1,650.00

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                                                                            WESTERN RESERVE WATER SYSTEMS
                                                           Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                           For The Period Ending: 03/29/19
         Type         Terms
                                                                                            Open Balance                                        Days Past Due
  Invoice /                        Invoice       Job             Original
  Check #           Date          Due Date      Number          Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer NESWAT / NESTLE USA Phone:               (continued)
       Job: NESSOLXPDI / 60CF TANK Subtotals:                                    7,975.00                    7,975.00    3,300.00    4,675.00
Customer NESWAT Totals:                                                          7,975.00                    7,975.00    3,300.00    4,675.00
Customer NRGCHE / NRG ENERGY Phone: Contact: KEVIN PANZINO
      Job: RRICHEXXRO / CHESWICK RO
  139203       I 11/30/18 3 12/30/18 RRICHEXXRO                     936.25         936.25                     936.25                                                936.25
  139866       I 01/30/19 3 03/01/19 RRICHEXXRO                  30,103.30      30,103.30                  30,103.30                30,103.30
       Job: RRICHEXXRO / CHESWICK RO Subtotals:                                 31,039.55                   31,039.55               30,103.30                       936.25
Customer NRGCHE Totals:                                                         31,039.55                  31,039.55                30,103.30                       936.25
Customer NSLANA / NSL ANALYTICAL SERVICES INC Phone: (216) 438-5200 Contact: SEPHEN DUSEC
      Job: NSLWAR36CF / 3.6 CF SYSTEM
  139726      I 02/07/19 3 03/09/19   NSLWAR36CF                    579.56        579.56                      579.56                   579.56
  140203      I 03/20/19 3 04/19/19   NSLWAR36CF                    579.56        579.56                      579.56      579.56
       Job: NSLWAR36CF / 3.6 CF SYSTEM Subtotals:                                1,159.12                    1,159.12     579.56       579.56
Customer NSLANA Totals:                                                          1,159.12                    1,159.12     579.56       579.56
Customer NSLSAT / NSL ANALYTICAL Phone: (216) 475-9000
      Job: NSLCLESATE / SATELLITE BLDG
  139725      I 02/06/19 4 03/23/19    NSLCLESATE                   123.60        123.60                      123.60                   123.60
       Job: NSLCLESATE / SATELLITE BLDG Subtotals:                                123.60                      123.60                   123.60
Customer NSLSAT Totals:                                                           123.60                      123.60                   123.60
Customer NUITRI / NU-IRON UNLIMITED Phone: (868) 636-1944
      No Job
  170252        I 01/18/19    3   02/17/19                        2,861.02       2,861.02                    2,861.02                              2,861.02
       No Job Subtotals:                                                         2,861.02                    2,861.02                              2,861.02
      Job: NUIRONFILT / FILTERS
  140148       I 03/05/19 3 04/04/19          NUIRONFILT          1,921.53       1,921.53                    1,921.53    1,921.53
       Job: NUIRONFILT / FILTERS Subtotals:                                      1,921.53                    1,921.53    1,921.53
Customer NUITRI Totals:                                                          4,782.55                    4,782.55    1,921.53                  2,861.02
Customer OAKLAB / OAKWOOD LABORATORIES Phone: (440) 505-2011 Contact: JEFF BORES
      Job: OAKSOLXLAB / SOLON LOCATION - LAB SYS
  140192      I 03/19/19 3 04/18/19  OAKSOLXLAB                     123.60        123.60                      123.60      123.60
       Job: OAKSOLXLAB / SOLON LOCATION - LAB SYS Subtotals:                      123.60                      123.60      123.60
Customer OAKLAB Totals:                                                           123.60                      123.60      123.60
Customer OHICIR / OHIO CIRCUITS Phone: (330) 425-1555
      Job: OHITWIXXDI / DI SYSTEM/EXCHANGE
  139674       I 02/01/19 3 03/03/19   OHITWIXXDI                   576.80        576.80                      576.80                   576.80
       Job: OHITWIXXDI / DI SYSTEM/EXCHANGE Subtotals:                            576.80                      576.80                   576.80
Customer OHICIR Totals:                                                           576.80                      576.80                   576.80



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                                                                          WESTERN RESERVE WATER SYSTEMS
                                                        Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                        For The Period Ending: 03/29/19
         Type         Terms
                                                                                          Open Balance                                        Days Past Due
  Invoice /                        Invoice      Job            Original
  Check #           Date          Due Date     Number          Amount         Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer OHIMED / OHIOHEALTH MEDCENTRAL MANSFIEL Phone: (614) 566-2626 Contact: DAFFNEY
      Job: MEDMANBASE / BASEMENT SYSTEM
  139813      I 02/12/19 3 03/14/19 MEDMANBASE                    412.00        412.00                      412.00                   412.00
       Job: MEDMANBASE / BASEMENT SYSTEM Subtotals:                             412.00                      412.00                   412.00
      Job: MEDSHEXLAB / SHELBY LAB
  139731      I 02/05/19 3 03/07/19          MEDSHEXLAB           633.45        633.45                      633.45                   633.45
       Job: MEDSHEXLAB / SHELBY LAB Subtotals:                                  633.45                      633.45                   633.45
Customer OHIMED Totals:                                                        1,045.45                    1,045.45                1,045.45
Customer OLORIC / OLON RICERCA BIOSCIENCE LLC Phone: (440) 357-3214
      Job: 1910 / CLEVELAND
  139860       I 02/28/19 3 03/30/19           1910               669.50        669.50                      669.50      669.50
       Job: 1910 / CLEVELAND Subtotals:                                         669.50                      669.50      669.50
Customer OLORIC Totals:                                                         669.50                      669.50      669.50
Customer OMNOVA / OMNOVA SOLUTIONS INC Phone: (330) 869-4200 Contact: BRIAN DOUCET
      Job: OMNMOG36CF / 36 CF SYSTEM
  139814      I 02/15/19 6 04/16/19  OMNMOG36CF                   669.50        669.50                      669.50      669.50
  140181      I 03/14/19 6 05/13/19  OMNMOG36CF                   334.75        334.75                      334.75      334.75
       Job: OMNMOG36CF / 36 CF SYSTEM Subtotals:                               1,004.25                    1,004.25    1,004.25
      Job: OMNMOGXXRO / E4 RO SERVICE - MOGADORE
  139214      I 11/30/18 6 01/29/19 OMNMOGXXRO                    334.75        334.75                      334.75                                 334.75
       Job: OMNMOGXXRO / E4 RO SERVICE - MOGADORE Subtotals:                    334.75                      334.75                                 334.75
Customer OMNOVA Totals:                                                        1,339.00                    1,339.00    1,004.25                    334.75
Customer ONWCOA / ONWARD COATINGS COMPANY Phone: (440) 266-1760 Contact: THERESA FR. DSK-A/P
      Job: ONWMEN36CF / 3.6 CF SYSTEM
  140097      I 02/12/19 3 03/14/19   ONWMEN36CF                  453.20        453.20                      453.20                   453.20
       Job: ONWMEN36CF / 3.6 CF SYSTEM Subtotals:                               453.20                      453.20                   453.20
Customer ONWCOA Totals:                                                         453.20                      453.20                   453.20
Customer OVECIK / OVEC - ACCOUNTS PAYABLE Phone: (740) 289-7235
      Job: OVEKYGCREK / KYGER CREEK - 60CF EXCH
  140159      I 03/15/19 3 04/14/19  OVEKYGCREK                 2,625.00       2,625.00                    2,625.00    2,625.00
       Job: OVEKYGCREK / KYGER CREEK - 60CF EXCH Subtotals:                    2,625.00                    2,625.00    2,625.00
Customer OVECIK Totals:                                                        2,625.00                    2,625.00    2,625.00
Customer OWENSI / OWENS ILLINOIS Phone: (209) 836-8254 Contact: DENNIS ZELENKO
      No Job
  170269        I 01/30/19    3   03/01/19                     13,530.00      13,530.00                  13,530.00                13,530.00
       No Job Subtotals:                                                      13,530.00                   13,530.00               13,530.00
Customer OWENSI Totals:                                                       13,530.00                  13,530.00                13,530.00
Customer OXYOCC / OXY OCCIDENTAL CHEMICAL CORP Phone: (972) 404-3604 Contact: ACCOUNTS PAYABLE DEPARTMENT
       Job: 1810 / CLEVELAND


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                        Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                        For The Period Ending: 03/29/19
         Type         Terms
                                                                                          Open Balance                                        Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #            Date         Due Date     Number           Amount         Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer OXYOCC / OXY OCCIDENTAL CHEMICAL CORP Phone: (972) 404-3604 Contact: ACCOUNTS PAYABLE DEPARTMENT (continued)
  137528        I 08/14/18 3 09/13/18  1810        3,235.19      3,235.19              3,235.19                                                                                      3,235.19
  139200        I 11/30/18 3 12/30/18  1810          210.00        210.00                210.00                                                                   210.00
      Job: 1810 / CLEVELAND Subtotals:                           3,445.19              3,445.19                                                                   210.00             3,235.19
      Job: 1910 / CLEVELAND
  140052       I 01/07/19 3 02/06/19           1910                974.22        974.22                     974.22                                 974.22
       Job: 1910 / CLEVELAND Subtotals:                                          974.22                     974.22                                 974.22
Customer OXYOCC Totals:                                                        4,419.41                    4,419.41                                974.22         210.00             3,235.19
Customer PAKINC / PAKO, INC. Phone: (440) 946-8030 Contact: KEITH VOUK
      Job: PAKMENX003 / DUAL BANK SYSTEM #3
  139215      I 11/30/18 3 12/30/18  PAKMENX003                    376.98        376.98                     376.98                                                376.98
  140043      I 03/04/19 3 04/03/19  PAKMENX003                    376.98        376.98                     376.98      376.98
       Job: PAKMENX003 / DUAL BANK SYSTEM #3 Subtotals:                          753.96                     753.96      376.98                                    376.98
Customer PAKINC Totals:                                                          753.96                     753.96      376.98                                    376.98
Customer PARCOM / UH PARMA COMMUNITY GENERAL HOS Phone: (440) 743-4216 Contact: ANN DAVIS-A/P
      Job: UHPARMCHEM / SPECIAL CHEMISTRY
  136476      I 06/06/18 3 07/06/18 UHPARMCHEM                     103.00        103.00                     103.00                                                                    103.00
       Job: UHPARMCHEM / SPECIAL CHEMISTRY Subtotals:                            103.00                     103.00                                                                    103.00
      Job: UHPARMHEMA / HEMATOLOGY
  136477      I 06/06/18 3 07/06/18 UHPARMHEMA                     154.50        154.50                     154.50                                                                    154.50
       Job: UHPARMHEMA / HEMATOLOGY Subtotals:                                   154.50                     154.50                                                                    154.50
      Job: UHPARMXCPD / CPD/RO BACK UP
  135290      I 03/16/18 3 04/15/18  UHPARMXCPD                    401.70        401.70                      401.70                                                                   401.70
  139249      I 12/21/18 3 01/20/19  UHPARMXCPD                  1,362.69      1,362.69                    1,362.69                                             1,362.69
  139879      I 02/20/19 3 03/22/19  UHPARMXCPD                    454.23        454.23                      454.23                  454.23
       Job: UHPARMXCPD / CPD/RO BACK UP Subtotals:                             2,218.62                    2,218.62                  454.23                     1,362.69              401.70
      Job: UHPARMXXRO / RO UNIT - SERVICE CONTRAC
  138663      I 10/26/18 3 11/25/18   UHPARMXXRO                 1,362.69      1,362.69                    1,362.69                                                                  1,362.69
  139210      I 11/30/18 3 12/30/18   UHPARMXXRO                   191.67        191.67                      191.67                                               191.67
       Job: UHPARMXXRO / RO UNIT - SERVICE CONTRAC Subtotals:                  1,554.36                    1,554.36                                               191.67             1,362.69
Customer PARCOM Totals:                                                        4,030.48                    4,030.48                  454.23                     1,554.36             2,021.89
Customer PARPRO / PARGREEN PROCESS TECH Phone: (630) 628-1330 Contact: CHARLOTTE SZMURLO
      Job: 1918 / PLANT - 2019
  140149       I 03/13/19 3 04/12/19           1918              4,860.00      4,860.00                    4,860.00    4,860.00
       Job: 1918 / PLANT - 2019 Subtotals:                                     4,860.00                    4,860.00    4,860.00
      Job: PARADDMEMB / MEMBRANE
  139858      I 02/01/19 3 03/03/19          PARADDMEMB            360.00        360.00                     360.00                   360.00
       Job: PARADDMEMB / MEMBRANE Subtotals:                                     360.00                     360.00                   360.00
Customer PARPRO Totals:                                                        5,220.00                    5,220.00    4,860.00      360.00
Customer PARWHE / PARKER HANNIFIN WHEEL & BRAKE Phone: (440) 937-1243 Contact: KATHY FRANCES


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                          Open Balance                                        Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #           Date          Due Date     Number          Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer PARWHE / PARKER HANNIFIN WHEEL & BRAKE Phone: (440) 937-1243 Contact: KATHY FRANCES (continued)
      Job: PARAVO36CF / 3.6 CF SYSTEM
  139277      I 12/27/18 C 01/26/19   PARAVO36CF                   280.16        280.16                     280.16                                                280.16
  140165      I 03/14/19 C 04/13/19   PARAVO36CF                   280.16        280.16                     280.16      280.16
       Job: PARAVO36CF / 3.6 CF SYSTEM Subtotals:                                560.32                     560.32      280.16                                    280.16
Customer PARWHE Totals:                                                          560.32                     560.32      280.16                                    280.16
Customer PCCAIR / PCC AIRFOILS INC Phone: (440) 205-2184 Contact: JANET HULA A/P
      Job: PCCMEN36CF / 3.6 CF SYSTEM
  140189      I 03/12/19 4 04/26/19   PCCMEN36CF                 1,282.35      1,282.35                    1,282.35    1,282.35
       Job: PCCMEN36CF / 3.6 CF SYSTEM Subtotals:                              1,282.35                    1,282.35    1,282.35
      Job: PCCMENFURN / FURNANCE
  139761      I 02/11/19 4 03/28/19          PCCMENFURN            324.45        324.45                     324.45                   324.45
       Job: PCCMENFURN / FURNANCE Subtotals:                                     324.45                     324.45                   324.45
Customer PCCAIR Totals:                                                        1,606.80                    1,606.80    1,282.35      324.45
Customer PCCMIN / PCC AIRFOILS Phone: (330) 868-7240 Contact: TAMMY
      Job: PCCMIN52CF / 52 CF SYSTEM
  138884      I 11/08/18 7 01/22/19          PCCMIN52CF          1,098.00      1,098.00                    1,098.00                                             1,098.00
       Job: PCCMIN52CF / 52 CF SYSTEM Subtotals:                               1,098.00                    1,098.00                                             1,098.00
Customer PCCMIN Totals:                                                        1,098.00                    1,098.00                                             1,098.00
Customer PCCOCT / PCC AIRFOILS Phone: (440) 944-1880 Contact: RICK KASKA
      Job: PCCCLEOCTA / OCTAVIA - SHERWOOD REF
  140096      I 01/25/19 6 03/26/19   PCCCLEOCTA                   215.00        215.00                     215.00                   215.00
       Job: PCCCLEOCTA / OCTAVIA - SHERWOOD REF Subtotals:                       215.00                     215.00                   215.00
Customer PCCOCT Totals:                                                          215.00                     215.00                   215.00
Customer PCSNIT / PCS NITROGEN OHIO LP Phone: (419) 226-1295 Contact: RICK DILALLO
      No Job
  170290        I 03/07/19    3   04/06/19                       2,560.00      2,560.00                    2,560.00    2,560.00
       No Job Subtotals:                                                       2,560.00                    2,560.00    2,560.00
Customer PCSNIT Totals:                                                        2,560.00                    2,560.00    2,560.00
Customer PENBRA / PEN BRANDS LLC Phone:
      Job: 1810 / CLEVELAND
  135842       I 04/25/18 3 05/25/18           1810              2,925.20      1,462.60                    1,462.60                                                                  1,462.60
       Job: 1810 / CLEVELAND Subtotals:                                        1,462.60                    1,462.60                                                                  1,462.60
      Job: PENBRAXXDI / DI TANK EXCHANGE
  138881      I 11/26/18 3 12/26/18   PENBRAXXDI                 2,925.20      2,925.20                    2,925.20                                                                  2,925.20
       Job: PENBRAXXDI / DI TANK EXCHANGE Subtotals:                           2,925.20                    2,925.20                                                                  2,925.20
Customer PENBRA Totals:                                                        4,387.80                    4,387.80                                                                  4,387.80
Customer PERMAT / PERMATEX, INC div of ITW Phone: (440) 914-3590 Contact: LORAIN DOUGLAS A/P
       No Job


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                       Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                       For The Period Ending: 03/29/19
         Type        Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                      Invoice       Job              Original
  Check #           Date        Due Date      Number         Amount            Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer PERMAT / PERMATEX, INC div of ITW Phone: (440) 914-3590 Contact: LORAIN DOUGLAS A/P (continued)
  138807       I 11/30/18 3 12/30/18                      100.00      100.00                100.00                                                                 100.00
      No Job Subtotals:                                               100.00                100.00                                                                 100.00
      Job: PERSOLXGTR / GTR (SLIME)
  140191      I 03/19/19 3 04/18/19        PERSOLXGTR            1,236.00       1,236.00                    1,236.00    1,236.00
       Job: PERSOLXGTR / GTR (SLIME) Subtotals:                                 1,236.00                    1,236.00    1,236.00
Customer PERMAT Totals:                                                         1,336.00                    1,336.00    1,236.00                                   100.00
Customer PHARMA / PHARMAFORCE Phone: (614) 436-2222
      Job: PHARMAFORC / NEW ALBANY LOCATION
  138865      I 11/01/18 3 12/01/18 PHARMAFORC                   2,214.67       2,214.67                    2,214.67                                                                  2,214.67
       Job: PHARMAFORC / NEW ALBANY LOCATION Subtotals:                         2,214.67                    2,214.67                                                                  2,214.67
Customer PHARMA Totals:                                                         2,214.67                    2,214.67                                                                  2,214.67
Customer PIEICE / PIERRE'S ICE CREAM Phone: (216) 432-1144 Contact: TOOD KAUPPILA
      Job: 1910 / CLEVELAND
  140153       I 02/23/19 3 03/25/19          1910               3,100.00       3,100.00                    3,100.00                3,100.00
       Job: 1910 / CLEVELAND Subtotals:                                         3,100.00                    3,100.00                3,100.00
Customer PIEICE Totals:                                                         3,100.00                    3,100.00                3,100.00
Customer POLCOR / POLYONE CORPORATION Phone: (440) 930-3727 Contact: AP.US.QUERY@POLYONE.
      Job: POLNOR36CF / 3.6 CF SYSTEM-NORWALK
  138890      I 12/04/18 3 01/03/19    POLNOR36CF                  620.67         620.67                      620.67                                               620.67
  139318      I 01/04/19 3 02/03/19    POLNOR36CF                1,077.89       1,077.89                    1,077.89                              1,077.89
  139667      I 02/04/19 3 03/06/19    POLNOR36CF                  897.65         897.65                      897.65                  897.65
  140008      I 03/04/19 3 04/03/19    POLNOR36CF                  696.48         696.48                      696.48     696.48
       Job: POLNOR36CF / 3.6 CF SYSTEM-NORWALK Subtotals:                       3,292.69                    3,292.69     696.48       897.65      1,077.89         620.67
Customer POLCOR Totals:                                                         3,292.69                    3,292.69     696.48       897.65      1,077.89         620.67
Customer PPGBAR / PPG INDUSTRIES Phone: (740) 774-7600
      Job: PPGBARSOFT / SOFTENER SERVICE CONTRACT
  138140      I 09/30/18 8 12/29/18 PPGBARSOFT                     953.08        953.08                      953.08                                                953.08
       Job: PPGBARSOFT / SOFTENER SERVICE CONTRACT Subtotals:                    953.08                      953.08                                                953.08
Customer PPGBAR Totals:                                                          953.08                      953.08                                                953.08
Customer PROHEA / PROMEDICA HEALTH SYSTEM Phone: (419) 291-3903 Contact: HEATHER BAUMGARTNER
      Job: 1910 / CLEVELAND
  140053       I 01/18/19 3 02/17/19          1910                 428.75        428.75                      428.75                                 428.75
       Job: 1910 / CLEVELAND Subtotals:                                          428.75                      428.75                                 428.75
Customer PROHEA Totals:                                                          428.75                      428.75                                 428.75
Customer PROTEC / PROCESS TECHNOLOGY Phone: (440) 974-3702 Contact: paula Sadowski
      Job: PROMENMAIN / MAIN SYSTEM
  139547      I 12/28/18 6 02/26/19        PROMENMAIN           14,883.00      14,883.00                  14,883.00                              14,883.00
       Job: PROMENMAIN / MAIN SYSTEM Subtotals:                                14,883.00                   14,883.00                             14,883.00


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                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #           Date          Due Date     Number          Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer PROTEC Totals:                                                        14,883.00                  14,883.00                              14,883.00
Customer QLAB01 / Q LAB CORPORATION Phone: (440) 835-8700 Contact: GAIL A/P
      Job: QLACLESHOW / SHOW ROOM
  140095      I 03/08/19 3 04/07/19          QLACLESHOW            566.50        566.50                      566.50      566.50
       Job: QLACLESHOW / SHOW ROOM Subtotals:                                    566.50                      566.50      566.50
      Job: QLAWESPHOS / PHOSPHATE LINE
  139686      I 02/01/19 3 03/03/19  QLAWESPHOS                    370.80        370.80                      370.80                   370.80
       Job: QLAWESPHOS / PHOSPHATE LINE Subtotals:                               370.80                      370.80                   370.80
      Job: QLAWESPRES / PRESS LINE
  139910      I 02/26/19 3 03/28/19          QLAWESPRES            154.50        154.50                      154.50                   154.50
       Job: QLAWESPRES / PRESS LINE Subtotals:                                   154.50                      154.50                   154.50
      Job: QLAWESXXUP / R&D/ UPSTAIRS LAB
  139828      I 02/18/19 3 03/20/19  QLAWESXXUP                    360.50        360.50                      360.50                   360.50
  140205      I 03/20/19 3 04/19/19  QLAWESXXUP                    360.50        360.50                      360.50      360.50
       Job: QLAWESXXUP / R&D/ UPSTAIRS LAB Subtotals:                            721.00                      721.00      360.50       360.50
Customer QLAB01 Totals:                                                         1,812.80                    1,812.80     927.00       885.80
Customer QUABAR / QUALAWASH Phone: (740) 207-1975
      No Job
  170197        I 08/30/18    3   09/29/18                         376.80        376.80                      376.80                                                                   376.80
       No Job Subtotals:                                                         376.80                      376.80                                                                   376.80
Customer QUABAR Totals:                                                          376.80                      376.80                                                                   376.80
Customer QUASCI / QUARTZ SCIENTIFIC INC. Phone: (440) 354-2186 Contact: JIM ATWELL
      Job: QUAFAI36CF / 3.6 CF SYSTEM
  139802      I 02/19/19 3 03/21/19          QUAFAI36CF            195.70        195.70                      195.70                   195.70
       Job: QUAFAI36CF / 3.6 CF SYSTEM Subtotals:                                195.70                      195.70                   195.70
Customer QUASCI Totals:                                                          195.70                      195.70                   195.70
Customer QUAWAS / QUALAWASH HOLDINGS, LLC Phone: (813) 321-6485 Contact: KATURA SIMMONS
      Job: QUACLEAUTO / AUTOMOTIVE - FIBERGLASS
  139606      I 01/25/19 3 02/24/19   QUACLEAUTO                   806.49         806.49                      806.49                                806.49
  139680      I 02/01/19 3 03/03/19   QUACLEAUTO                   806.49         806.49                      806.49                  806.49
  139817      I 02/15/19 3 03/17/19   QUACLEAUTO                   806.49         806.49                      806.49                  806.49
  140006      I 02/28/19 3 03/30/19   QUACLEAUTO                 1,578.99       1,578.99                    1,578.99    1,578.99
  140078      I 03/08/19 3 04/07/19   QUACLEAUTO                   806.49         806.49                      806.49      806.49
       Job: QUACLEAUTO / AUTOMOTIVE - FIBERGLASS Subtotals:                     4,804.95                    4,804.95    2,385.48    1,612.98        806.49
      Job: QUACLEINDU / INDUSTRIAL
  140050      I 02/28/19 3 03/30/19          QUACLEINDU            309.00        309.00                      309.00      309.00
       Job: QUACLEINDU / INDUSTRIAL Subtotals:                                   309.00                      309.00      309.00
Customer QUAWAS Totals:                                                         5,113.95                    5,113.95    2,694.48    1,612.98        806.49
Customer REUSTO / REUTER-STOKES, LLC Phone: (330) 963-2326
       Job: REUTWIXB10 / B 10 LOCATION


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                                                                          WESTERN RESERVE WATER SYSTEMS
                                                         Detail A/R Aged Open Items Report Sorted by Customer Code
       Transaction    Payment
                                                                         For The Period Ending: 03/29/19
         Type          Terms
                                                                                         Open Balance                                        Days Past Due
  Invoice /                       Invoice        Job           Original
  Check #            Date        Due Date       Number        Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer REUSTO / REUTER-STOKES, LLC Phone: (330) 963-2326    (continued)
  137439       I 08/02/18 E 11/30/18     REUTWIXB10     329.60         329.60                              329.60                                                                    329.60
      Job: REUTWIXB10 / B 10 LOCATION Subtotals:                       329.60                              329.60                                                                    329.60
      Job: REUTWIXBWR / BWR LOCATION
  139022      I 12/12/18 E 04/11/19  REUTWIXBWR                   295.61        295.61                     295.61      295.61
        Job: REUTWIXBWR / BWR LOCATION Subtotals:                               295.61                     295.61      295.61
      Job: REUTWIXHE3 / HE3 PLATING
  138579      I 11/02/18 E 03/02/19         REUTWIXHE3            612.85         21.45                      21.45                    21.45
  139560      I 12/12/18 E 04/11/19         REUTWIXHE3            278.10        278.10                     278.10      278.10
        Job: REUTWIXHE3 / HE3 PLATING Subtotals:                                299.55                     299.55      278.10        21.45
Customer REUSTO Totals:                                                         924.76                     924.76      573.71        21.45                                           329.60
Customer RHISYS / RHINOSYSTEMS Phone: (216) 801-4729 Contact: Jack Zeman
      Job: RHIBROXXDI / DI TANKS
  140162       I 03/08/19 3 04/07/19        RHIBROXXDI            700.40        700.40                     700.40      700.40
        Job: RHIBROXXDI / DI TANKS Subtotals:                                   700.40                     700.40      700.40
Customer RHISYS Totals:                                                         700.40                     700.40      700.40
Customer ROYCHE / ROYAL CHEMICAL Phone: (330) 467-1300 Contact: DAVID RODRIGUEZ X219
      Job: ROYMACXPDI / PDI EXCHANGE
  140044      I 03/05/19 3 04/04/19  ROYMACXPDI                 1,236.00      1,236.00                    1,236.00    1,236.00
  140177      I 03/14/19 3 04/13/19  ROYMACXPDI                 1,236.00      1,236.00                    1,236.00    1,236.00
        Job: ROYMACXPDI / PDI EXCHANGE Subtotals:                             2,472.00                    2,472.00    2,472.00
Customer ROYCHE Totals:                                                       2,472.00                    2,472.00    2,472.00
Customer SAGWAT / SAGE WATER, LTD Phone: (361) 299-6155
        No Job
1734             P 02/20/19     02/20/19                          -284.16      -284.16                     -284.16                               -284.16
        No Job Subtotals:                                                      -284.16                     -284.16                               -284.16
Customer SAGWAT Totals:                                                        -284.16                     -284.16                               -284.16
Customer SAMREG / UNIVERSITY HOSPITALS Phone: (419) 289-0491 Contact: MARK SWITZER
      Job: SAMASHSTER / STERILE PROCESSING
  139859      I 02/28/19 3 03/30/19  SAMASHSTER                   225.00        225.00                     225.00      225.00
        Job: SAMASHSTER / STERILE PROCESSING Subtotals:                         225.00                     225.00      225.00
Customer SAMREG Totals:                                                         225.00                     225.00      225.00
Customer SAWRES / SAWYER TECHNICAL MATERIALS LLC Phone: (440) 951-8770 Contact: KIM COLEMAN A/P
      Job: SAWEASWAST / WASTE SYSTEM
  139454      I 11/13/18 3 12/13/18 SAWEASWAST                  2,710.94      2,710.94                    2,710.94                                                                  2,710.94
  140138      I 02/15/19 3 03/17/19 SAWEASWAST                    926.25        926.25                      926.25                  926.25
        Job: SAWEASWAST / WASTE SYSTEM Subtotals:                             3,637.19                    3,637.19                  926.25                                          2,710.94
Customer SAWRES Totals:                                                       3,637.19                    3,637.19                  926.25                                          2,710.94
Customer SHEWAR / SHERWIN WILLIAMS Phone: (216) 332-8857 Contact: MICHAEL HEYWOOD


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                                                                             WESTERN RESERVE WATER SYSTEMS
                                                            Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction       Payment
                                                                            For The Period Ending: 03/29/19
         Type           Terms
                                                                                            Open Balance                                        Days Past Due
  Invoice /                          Invoice      Job             Original
  Check #             Date          Due Date     Number          Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer SHEWAR / SHERWIN WILLIAMS Phone: (216) 332-8857 Contact: MICHAEL HEYWOOD (continued)
      No Job
  137753        I   09/01/18    3   10/01/18                         373.98        373.98                     373.98                                                                    373.98
  138810        I   11/01/18    3   12/01/18                         373.98        373.98                     373.98                                                                    373.98
  139766        I   02/01/19    3   03/03/19                         392.67        392.67                     392.67                   392.67
  139978        I   03/01/19    3   03/31/19                         392.68        392.68                     392.68      392.68
       No Job Subtotals:                                                         1,533.31                    1,533.31     392.68       392.67                                           747.96
      Job: SWWARPMLAB / P & M EQUIPMENT LAB
  137828      I 08/28/18 3 09/27/18  SWWARPMLAB                      324.45        324.45                     324.45                                                                    324.45
       Job: SWWARPMLAB / P & M EQUIPMENT LAB Subtotals:                            324.45                     324.45                                                                    324.45
      Job: SWWARXAUTO / AUTO POLISH LINE
  138084      I 09/20/18 3 10/20/18  SWWARXAUTO                      454.23        454.23                     454.23                                                                    454.23
       Job: SWWARXAUTO / AUTO POLISH LINE Subtotals:                               454.23                     454.23                                                                    454.23
Customer SHEWAR Totals:                                                          2,311.99                    2,311.99     392.68       392.67                                          1,526.64
Customer SHEWIL / THE SHERWIN WILLIAMS COMPANY Phone: 216-566-2297 Contact: A/P - OPTION #2
      Job: SHESCRQUV2 / QUV SITE #2 - SCRANTON
  140046      I 03/04/19 3 04/03/19    SHESCRQUV2                    823.18        823.18                     823.18      823.18
       Job: SHESCRQUV2 / QUV SITE #2 - SCRANTON Subtotals:                         823.18                     823.18      823.18
      Job: SHESCRXQUV / SCRANTON RD - QUV SITE
  140045      I 03/04/19 3 04/03/19  SHESCRXQUV                      762.20        762.20                     762.20      762.20
       Job: SHESCRXQUV / SCRANTON RD - QUV SITE Subtotals:                         762.20                     762.20      762.20
      Job: SWCLEMICRO / MICROBIOLOGY 2ND FL ALPHA
  140179      I 03/14/19 3 04/13/19 SWCLEMICRO                       183.55        183.55                     183.55      183.55
       Job: SWCLEMICRO / MICROBIOLOGY 2ND FL ALPHA Subtotals:                      183.55                     183.55      183.55
      Job: SWCLEPOLY5 / ALPHA BLDG 5TH FL POLYMER
  140178      I 03/14/19 3 04/13/19  SWCLEPOLY5                       88.99         88.99                      88.99       88.99
       Job: SWCLEPOLY5 / ALPHA BLDG 5TH FL POLYMER Subtotals:                       88.99                      88.99       88.99
Customer SHEWIL Totals:                                                          1,857.92                    1,857.92    1,857.92
Customer SMISCI / SMITHERS SCIENTIFIC Phone: (330) 762-7441 Contact: BRUCE LAMBILLOTTE
      Job: SMIAKR12CF / 1.2 CF SYSTEM
  138588       I 11/07/18 3 12/07/18           SMIAKR12CF            139.05        139.05                     139.05                                                                    139.05
  139353       I 01/07/19 3 02/06/19           SMIAKR12CF            161.30        161.30                     161.30                                 161.30
       Job: SMIAKR12CF / 1.2 CF SYSTEM Subtotals:                                  300.35                     300.35                                 161.30                             139.05
Customer SMISCI Totals:                                                            300.35                     300.35                                 161.30                             139.05
Customer SPECIT / SPEED CITY Phone: Contact: JOHN BOJEC
      Job: 1810 / CLEVELAND
  138720       I 11/01/18 C 12/01/18             1810                435.00        435.00                     435.00                                                                    435.00
       Job: 1810 / CLEVELAND Subtotals:                                            435.00                     435.00                                                                    435.00
Customer SPECIT Totals:                                                            435.00                     435.00                                                                    435.00
Customer SSAINC / SSAB ALABAMA INC. Phone: (251) 662-4471 Contact: ERIN REAGAN


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                                                                               WESTERN RESERVE WATER SYSTEMS
                                                              Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                              For The Period Ending: 03/29/19
         Type         Terms
                                                                                               Open Balance                                        Days Past Due
  Invoice /                        Invoice        Job               Original
  Check #            Date         Due Date       Number            Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer SSAINC / SSAB ALABAMA INC. Phone: (251) 662-4471 Contact: ERIN REAGAN (continued)
      Job: W1710241 / 1350GPM Iron removal Fltr
  135209      I 03/22/18 F 04/01/18        W1710241                    547.50         15.95                       15.95                                                                    15.95
  138093      I 09/30/18 6 11/29/18        W1710241                    563.45        563.45                      563.45                                                                   563.45
       Job: W1710241 / 1350GPM Iron removal Fltr Subtotals:                          579.40                      579.40                                                                   579.40
Customer SSAINC Totals:                                                              579.40                      579.40                                                                   579.40
Customer STALIM / STATEMENT LIMOUSINE LLC Phone: (330) 725-3108 Contact: KARL GUENTHER
      Job: STASHEXXDI / DI TANKS
  139310       I 01/01/19 3 01/31/19          STASHEXXDI               639.00        639.00                      639.00                                 639.00
       Job: STASHEXXDI / DI TANKS Subtotals:                                         639.00                      639.00                                 639.00
Customer STALIM Totals:                                                              639.00                      639.00                                 639.00
Customer STASCR / STANDBY SCREW MACHINE PRODUCTS Phone: (440) 243-8200 Contact: FRANK FISHER
      Job: STABERCOOL / COOLANT SYSTEM - 3.6 CF
  140047       I 03/05/19 3 04/04/19 STABERCOOL                        324.45        324.45                      324.45      324.45
  140199       I 03/18/19 3 04/17/19 STABERCOOL                        324.45        324.45                      324.45      324.45
       Job: STABERCOOL / COOLANT SYSTEM - 3.6 CF Subtotals:                          648.90                      648.90      648.90
Customer STASCR Totals:                                                              648.90                      648.90      648.90
Customer STERIS / STERIS CORPORATION Phone: (440) 354-2600 Contact: MaryLou Nagy
      Job: STEMENMIXX / MIXING/BLENDING/PAA FILL
  139178      I 12/19/18 3 01/18/19   STEMENMIXX                     1,054.21       1,054.21                    1,054.21                                             1,054.21
       Job: STEMENMIXX / MIXING/BLENDING/PAA FILL Subtotals:                        1,054.21                    1,054.21                                             1,054.21
      Job: STEMENXLAB / LAB SYSTEM
  138697      I 11/15/18 3 12/15/18           STEMENXLAB               784.86        784.86                      784.86                                                                   784.86
       Job: STEMENXLAB / LAB SYSTEM Subtotals:                                       784.86                      784.86                                                                   784.86
Customer STERIS Totals:                                                             1,839.07                    1,839.07                                             1,054.21             784.86
Customer STGOBA / ST-GOBAIN PERFORMANCE PLASTIC Phone: (330) 798-6940 Contact: MELANIE MILLER
      Job: STGOAKRXRO / RO SERVICE
  138277      I 10/01/18 6 11/30/18           STGOAKRXRO               787.95         787.95                     787.95                                                                   787.95
  138604      I 10/31/18 6 12/30/18           STGOAKRXRO               875.50         875.50                     875.50                                                875.50
  139479      I 11/30/18 6 01/29/19           STGOAKRXRO             1,094.38       1,094.38                   1,094.38                               1,094.38
  139666      I 12/31/18 6 03/01/19           STGOAKRXRO             1,050.60       1,050.60                   1,050.60                 1,050.60
  139797      I 01/14/19 6 03/15/19           STGOAKRXRO            11,185.00      11,185.00                  11,185.00                11,185.00
  139992      I 02/13/19 6 04/14/19           STGOAKRXRO             1,280.10       1,280.10                   1,280.10     1,280.10
       Job: STGOAKRXRO / RO SERVICE Subtotals:                                     16,273.53                   16,273.53    1,280.10   12,235.60      1,094.38         875.50             787.95
Customer STGOBA Totals:                                                            16,273.53                  16,273.53     1,280.10   12,235.60      1,094.38         875.50             787.95
Customer SUMENV / SUMMIT ENVIRONMENTAL TECH Phone: (330) 253-8211 Contact: CHRISTY JOHNSON
      Job: SUMCUY36CF / 3.6 CF SYSTEM
  138249      I 10/10/18 3 11/09/18   SUMCUY36CF                       360.50        360.50                      360.50                                                                   360.50
  139137      I 12/17/18 3 01/16/19   SUMCUY36CF                       793.10        793.10                      793.10                                                793.10
  139700      I 02/04/19 3 03/06/19   SUMCUY36CF                       587.10        587.10                      587.10                   587.10
       Job: SUMCUY36CF / 3.6 CF SYSTEM Subtotals:                                   1,740.70                    1,740.70                  587.10                       793.10             360.50

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                                                                             WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction      Payment
                                                                          For The Period Ending: 03/29/19
         Type          Terms
                                                                                            Open Balance                                         Days Past Due
  Invoice /                       Invoice        Job              Original
  Check #            Date        Due Date       Number           Amount          Total       Retention Non-Retention    Current     1-30 Days    31-60 Days      61-90 Days      Over 90 Days

Customer SUMENV Totals:                                                          1,740.70                    1,740.70                  587.10                        793.10             360.50
Customer SUNLES / SUNLESS INC Phone: (972) 447-3844 Contact: MICHAEL LIS
        No Job
42988            P 03/13/19     03/13/19                              -916.70     -916.70                     -916.70                  -916.70
        No Job Subtotals:                                                         -916.70                     -916.70                  -916.70
      Job: SUNMAC36CF / 3.6 SITE
  139349      I 01/07/19 4 02/21/19         SUNMAC36CF                283.25       283.25                     283.25                                  283.25
  139796      I 01/21/19 4 03/07/19         SUNMAC36CF                283.25       283.25                     283.25                   283.25
  139566      I 01/22/19 4 03/08/19         SUNMAC36CF                888.89       888.89                     888.89                   888.89
  139736      I 02/06/19 4 03/23/19         SUNMAC36CF                283.25       283.25                     283.25                   283.25
  139901      I 02/26/19 4 04/12/19         SUNMAC36CF                283.25       283.25                     283.25      283.25
  140182      I 03/14/19 4 04/28/19         SUNMAC36CF                283.25       283.25                     283.25      283.25
        Job: SUNMAC36CF / 3.6 SITE Subtotals:                                    2,305.14                    2,305.14     566.50     1,455.39         283.25
Customer SUNLES Totals:                                                          1,388.44                    1,388.44     566.50       538.69         283.25
Customer TARKET / TARKETT NORTH AMERICA Phone:
      Job: TARCHAXXDI / DI TANKS CHAGRIN FALLS
  140099      I 02/21/19 3 03/23/19   TARCHAXXDI                      175.10       175.10                     175.10                   175.10
        Job: TARCHAXXDI / DI TANKS CHAGRIN FALLS Subtotals:                        175.10                     175.10                   175.10
      Job: TARMIDXXDI / DI TANKS - MIDDLEFIELD
  140098      I 02/21/19 3 03/23/19     TARMIDXXDI                    175.10       175.10                     175.10                   175.10
        Job: TARMIDXXDI / DI TANKS - MIDDLEFIELD Subtotals:                        175.10                     175.10                   175.10
Customer TARKET Totals:                                                            350.20                     350.20                   350.20
Customer TECHTR / TECHTRON SYSTEMS Phone: (440) 442-6003
      Job: TECCLE3436 / 34 & 36 CF TANKS
  139834      I 02/18/19 4 04/04/19     TECCLE3436                 1,030.00      1,030.00                    1,030.00    1,030.00
        Job: TECCLE3436 / 34 & 36 CF TANKS Subtotals:                            1,030.00                    1,030.00    1,030.00
Customer TECHTR Totals:                                                          1,030.00                    1,030.00    1,030.00
Customer TEGAM1 / TEGAM Phone: (440) 466-6100 Contact: SCOTT LAMBERT
      Job: TEGGENCIRC / CIRCUIT BOARD
  139633      I 01/28/19 3 02/27/19   TEGGENCIRC                      722.03       722.03                     722.03                   722.03
        Job: TEGGENCIRC / CIRCUIT BOARD Subtotals:                                 722.03                     722.03                   722.03
Customer TEGAM1 Totals:                                                            722.03                     722.03                   722.03
Customer TOTFIL / TOTAL FILTRATION Phone: (248) 377-2197 Contact: KATELYNN                   A/P
      Job: TOTAVOFORD / FORD OHIO - AVON
  139872      I 02/22/19 4 04/08/19   TOTAVOFORD                      695.00       695.00                     695.00      695.00
        Job: TOTAVOFORD / FORD OHIO - AVON Subtotals:                              695.00                     695.00      695.00
Customer TOTFIL Totals:                                                            695.00                     695.00      695.00
Customer TREINC / TREMCO INCORPORATED Phone:
      Job: 1910 / CLEVELAND
  139612       I 01/29/19 3 02/28/19            1910                  321.36       321.36                     321.36                   321.36


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                                                                              WESTERN RESERVE WATER SYSTEMS
                                                            Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction       Payment
                                                                            For The Period Ending: 03/29/19
         Type           Terms
                                                                                             Open Balance                                        Days Past Due
  Invoice /                          Invoice      Job              Original
  Check #             Date          Due Date     Number           Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer TREINC / TREMCO INCORPORATED Phone:                   (continued)
       Job: 1910 / CLEVELAND Subtotals:                                             321.36                     321.36                   321.36
Customer TREINC Totals:                                                             321.36                     321.36                   321.36
Customer TRIMED / TRIPOINT/LAKE HEALTH Phone: (440) 354-1133 Contact: KATHY FOSTER A/P
      No Job
  139980        I   02/14/19    3   03/16/19                          762.00        762.00                     762.00                   762.00
  139979        I   02/20/19    3   03/22/19                          315.00        315.00                     315.00                   315.00
  139981        I   03/14/19    3   04/13/19                          762.00        762.00                     762.00      762.00
  139983        I   03/20/19    3   04/19/19                          350.00        350.00                     350.00      350.00
       No Job Subtotals:                                                          2,189.00                    2,189.00    1,112.00    1,077.00
      Job: TRICON36CF / 3.6 CF SYSTEM
  138940       I 12/04/18 3 01/03/19           TRICON36CF             808.55        808.55                      808.55                                               808.55
  139835       I 02/18/19 3 03/20/19           TRICON36CF           1,321.49      1,321.49                    1,321.49                1,321.49
       Job: TRICON36CF / 3.6 CF SYSTEM Subtotals:                                 2,130.04                    2,130.04                1,321.49                       808.55
      Job: TRIMADELGA / MADISON MEDICAL CAMPUS
  139198       I 11/30/18 3 12/30/18 TRIMADELGA                       288.75        288.75                     288.75                                                288.75
       Job: TRIMADELGA / MADISON MEDICAL CAMPUS Subtotals:                          288.75                     288.75                                                288.75
Customer TRIMED Totals:                                                           4,607.79                    4,607.79    1,112.00    2,398.49                     1,097.30
Customer TROCHE / TROY CHEMICAL Phone: (440) 834-4408
      Job: TROBURPROD / PRODUCTION
  139893      I 02/25/19 3 03/27/19 TROBURPROD                        236.90        236.90                     236.90                   236.90
       Job: TROBURPROD / PRODUCTION Subtotals:                                      236.90                     236.90                   236.90
Customer TROCHE Totals:                                                             236.90                     236.90                   236.90
Customer TROMAN / TROY MANUFACTURING Phone: (440) 834-8262 Contact: FLETCHER CUMMINGS
      Job: TROBUR36CF / 3.6 CF SYSTEM
  140066      I 03/12/19 3 04/11/19   TROBUR36CF                      103.00        103.00                     103.00      103.00
       Job: TROBUR36CF / 3.6 CF SYSTEM Subtotals:                                   103.00                     103.00      103.00
Customer TROMAN Totals:                                                             103.00                     103.00      103.00
Customer TTELEC / TT ELECTRONICS Phone: (440) 352-8961 Contact: GREG MACKEY
      Job: TTEPER36CF / 3.6 DI SYSTEM
  140048       I 03/05/19 6 05/04/19           TTEPER36CF           1,256.60      1,256.60                    1,256.60    1,256.60
       Job: TTEPER36CF / 3.6 DI SYSTEM Subtotals:                                 1,256.60                    1,256.60    1,256.60
Customer TTELEC Totals:                                                           1,256.60                    1,256.60    1,256.60
Customer UHCORE / UNIVERSITY HOSPITAL - CORE LAB Phone: (216) 844-5208
      No Job
  138817        I   11/01/18    3   12/01/18                          703.00        703.00                     703.00                                                                   703.00
  139113        I   12/01/18    3   12/31/18                          703.00        703.00                     703.00                                                703.00
  139984        I   02/01/19    3   03/03/19                          703.00        703.00                     703.00                   703.00
  139985        I   03/01/19    3   03/31/19                          703.00        703.00                     703.00      703.00
       No Job Subtotals:                                                          2,812.00                    2,812.00     703.00       703.00                       703.00             703.00


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                                                                              WESTERN RESERVE WATER SYSTEMS
                                                             Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction      Payment
                                                                             For The Period Ending: 03/29/19
         Type          Terms
                                                                                              Open Balance                                        Days Past Due
  Invoice /                        Invoice         Job             Original
  Check #            Date         Due Date        Number          Amount          Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer UHCORE / UNIVERSITY HOSPITAL - CORE LAB Phone: (216) 844-5208                    (continued)
      Job: UHCORMILLI / CORE 5TH FL MILLIPORE A10
  139395      I 11/14/18 3 12/14/18    UHCORMILLI                     128.75        128.75                      128.75                                                                   128.75
       Job: UHCORMILLI / CORE 5TH FL MILLIPORE A10 Subtotals:                       128.75                      128.75                                                                   128.75
      Job: UHCORXFLEX / CORE LAB 5TH FL FLEX II
  139396      I 11/14/18 3 12/14/18   UHCORXFLEX                      128.75        128.75                      128.75                                                                   128.75
       Job: UHCORXFLEX / CORE LAB 5TH FL FLEX II Subtotals:                         128.75                      128.75                                                                   128.75
Customer UHCORE Totals:                                                            3,069.50                    3,069.50     703.00       703.00                       703.00             960.50
Customer UHSHAK / UNIVERSITY HOSPITALS HEALTH SY Phone: (440) 285-6492 Contact: MARY MARTIN
      Job: W1910200 / UH - St Johns Health Ctr
  139799      I 02/18/19 1 02/18/19         W1910200               32,150.00      32,150.00                  32,150.00                              32,150.00
       Job: W1910200 / UH - St Johns Health Ctr Subtotals:                        32,150.00                   32,150.00                             32,150.00
Customer UHSHAK Totals:                                                           32,150.00                  32,150.00                              32,150.00
Customer UMISPE / UMICORE SPECIALTY MATERIALS Phone: Contact: DIONNA LEWIS
      Job: CPCHEMNICK / CP CHEMICAL - NICKLE BLDG
  139820      I 02/14/19 3 03/16/19   CPCHEMNICK                    1,390.00       1,390.00                    1,390.00                1,390.00
       Job: CPCHEMNICK / CP CHEMICAL - NICKLE BLDG Subtotals:                      1,390.00                    1,390.00                1,390.00
      Job: CPWICKXXRO / RO
  140084      I 01/11/19 3        02/10/19     CPWICKXXRO             695.00         695.00                      695.00                                695.00
  140086      I 01/29/19 3        02/28/19     CPWICKXXRO             695.00         695.00                      695.00                  695.00
  139862      I 01/30/19 3        03/01/19     CPWICKXXRO           3,520.59       3,520.59                    3,520.59                3,520.59
  140088      I 03/06/19 3        04/05/19     CPWICKXXRO             695.00         695.00                      695.00     695.00
  140089      I 03/08/19 3        04/07/19     CPWICKXXRO             695.00         695.00                      695.00     695.00
       Job: CPWICKXXRO / RO Subtotals:                                             6,300.59                    6,300.59    1,390.00    4,215.59        695.00
Customer UMISPE Totals:                                                            7,690.59                    7,690.59    1,390.00    5,605.59        695.00
Customer UNIAKR / UNIVERSITY OF AKRON Phone: (330) 972-7333 Contact: STEVE STEELE
      Job: UNIAKRPOLY / POLYMER SCIENCE/GOODYEAR
  139593       I 01/24/19 3 02/23/19 UNIAKRPOLY                       432.60        432.60                      432.60                                 432.60
       Job: UNIAKRPOLY / POLYMER SCIENCE/GOODYEAR Subtotals:                        432.60                      432.60                                 432.60
Customer UNIAKR Totals:                                                             432.60                      432.60                                 432.60
Customer UNICOR / UNIVERSITY HOSPITAL Phone: (216) 844-1720
      Job: UHCORLAB25 / 0.25 CF SYSTEM CORE LAB
  139221      I 12/20/18 3 01/19/19    UHCORLAB25                     103.00        103.00                      103.00                                                103.00
       Job: UHCORLAB25 / 0.25 CF SYSTEM CORE LAB Subtotals:                         103.00                      103.00                                                103.00
Customer UNICOR Totals:                                                             103.00                      103.00                                                103.00
Customer UNIHOS / UNIVERSITY HOSPITAL Phone: (216) 844-1820 Contact: BILL MEHRING
      Job: UHBISHO7FL / BISHOP 7TH FL HUMPHREY
  138270       I 10/09/18 3 11/08/18   UHBISHO7FL                     870.35         870.35                      870.35                                                                  870.35
  140092       I 02/20/19 3 03/22/19   UHBISHO7FL                   1,193.89       1,193.89                    1,193.89                1,193.89
       Job: UHBISHO7FL / BISHOP 7TH FL HUMPHREY Subtotals:                         2,064.24                    2,064.24                1,193.89                                          870.35


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type        Terms
                                                                                          Open Balance                                        Days Past Due
  Invoice /                      Invoice        Job             Original
  Check #           Date        Due Date       Number          Amount          Total       Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer UNIHOS / UNIVERSITY HOSPITAL Phone: (216) 844-1820 Contact: BILL MEHRING (continued)
      Job: UHMACDONAL / MACDONALD BLDG
  138455      I 10/22/18 3 11/21/18 UHMACDONAL                     730.27        730.27                     730.27                                                                    730.27
  139874      I 02/20/19 3 03/22/19 UHMACDONAL                     718.10        718.10                     718.10                   718.10
       Job: UHMACDONAL / MACDONALD BLDG Subtotals:                             1,448.37                    1,448.37                  718.10                                           730.27
      Job: UHWEARNBLD / WEARN BLDG
  138589      I 11/07/18 3 12/07/18 UHWEARNBLD                   1,612.98      1,612.98                    1,612.98                                                                  1,612.98
  140093      I 02/20/19 3 03/22/19 UHWEARNBLD                     993.00        993.00                      993.00                  993.00
       Job: UHWEARNBLD / WEARN BLDG Subtotals:                                 2,605.98                    2,605.98                  993.00                                          1,612.98
      Job: UHXXXXXRBC / RB & C
  135912      I 04/30/18 3 05/30/18          UHXXXXXRBC            470.41        470.41                     470.41                                                                    470.41
  138250      I 10/09/18 3 11/08/18          UHXXXXXRBC            256.97        256.97                     256.97                                                                    256.97
  138996      I 12/10/18 3 01/09/19          UHXXXXXRBC            431.12        431.12                     431.12                                                431.12
  139886      I 02/20/19 3 03/22/19          UHXXXXXRBC            355.73        355.73                     355.73                   355.73
       Job: UHXXXXXRBC / RB & C Subtotals:                                     1,514.23                    1,514.23                  355.73                       431.12              727.38
Customer UNIHOS Totals:                                                        7,632.82                    7,632.82                3,260.72                       431.12             3,940.98
Customer VALHEA / VALLEYCARE HEALTH SYSTEM Phone: Contact: Deborah Whitmore
      Job: NORYOUCHEM / CHEMISTRY
  139760      I 02/11/19 3 03/13/19          NORYOUCHEM            718.43        718.43                     718.43                   718.43
       Job: NORYOUCHEM / CHEMISTRY Subtotals:                                    718.43                     718.43                   718.43
      Job: NORYOUMEDI / NORTHSIDE 3.6 SYSTEM
  138590      I 11/06/18 3 12/06/18   NORYOUMEDI                 1,492.94      1,492.94                    1,492.94                                                                  1,492.94
  138648      I 11/09/18 3 12/09/18   NORYOUMEDI                 1,069.84      1,069.84                    1,069.84                                                                  1,069.84
       Job: NORYOUMEDI / NORTHSIDE 3.6 SYSTEM Subtotals:                       2,562.78                    2,562.78                                                                  2,562.78
Customer VALHEA Totals:                                                        3,281.21                    3,281.21                  718.43                                          2,562.78
Customer VALSPE / VALTRIS SPECIALTY CHEMICALS Phone: Contact: ACCOUNTS PAYABLE VALTRIS
      Job: 1810 / CLEVELAND
  135847       I 04/25/18 8 07/24/18           1810                164.80        164.80                     164.80                                                                    164.80
       Job: 1810 / CLEVELAND Subtotals:                                          164.80                     164.80                                                                    164.80
      Job: FERWALPILO / PILOT PLANT
  139846      I 02/19/19 8 05/20/19          FERWALPILO          1,081.50      1,081.50                    1,081.50    1,081.50
       Job: FERWALPILO / PILOT PLANT Subtotals:                                1,081.50                    1,081.50    1,081.50
      Job: VALWALEPOX / EPOXY
  139830      I 02/19/19 8 05/20/19          VALWALEPOX          1,085.62      1,085.62                    1,085.62    1,085.62
       Job: VALWALEPOX / EPOXY Subtotals:                                      1,085.62                    1,085.62    1,085.62
      Job: VALWALPILO / PILOT PLANT
  138123      I 09/21/18 8 12/20/18          VALWALPILO          1,099.62      1,099.62                    1,099.62                                                                  1,099.62
       Job: VALWALPILO / PILOT PLANT Subtotals:                                1,099.62                    1,099.62                                                                  1,099.62
Customer VALSPE Totals:                                                        3,431.54                    3,431.54    2,167.12                                                      1,264.42
Customer VERMIL / CITY OF VERMILION Phone: (440) 204-2455 Contact: TERESA MOSLEY
       Job: VERMILWATE / WATER TREATMENT PLANT


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                                                                           WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type         Terms
                                                                                           Open Balance                                        Days Past Due
  Invoice /                        Invoice      Job             Original
  Check #           Date          Due Date     Number           Amount         Total        Retention Non-Retention    Current     1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer VERMIL / CITY OF VERMILION Phone: (440) 204-2455 Contact: TERESA MOSLEY (continued)
  139738       I 02/06/19 3 03/08/19  VERMILWATE          108.15      108.15                 108.15                                   108.15
  140194       I 03/19/19 3 04/18/19  VERMILWATE           87.55       87.55                  87.55                       87.55
      Job: VERMILWATE / WATER TREATMENT PLANT Subtotals:              195.70                 195.70                       87.55       108.15
Customer VERMIL Totals:                                                          195.70                      195.70       87.55       108.15
Customer VISBIO / VISCUS BIOLOGICS LLC Phone:
      Job: 1910 / CLEVELAND
  140140       I 02/08/19 3 03/10/19           1910              1,885.00       1,885.00                    1,885.00                1,885.00
       Job: 1910 / CLEVELAND Subtotals:                                         1,885.00                    1,885.00                1,885.00
Customer VISBIO Totals:                                                         1,885.00                    1,885.00                1,885.00
Customer VWRCHE / VWR CHEMICALS LLC Phone: (330) 425-2522 Contact: DIANA MARSICH
      No Job
  139987        I 03/01/19    3   03/31/19                       2,852.51       2,852.51                    2,852.51    2,852.51
       No Job Subtotals:                                                        2,852.51                    2,852.51    2,852.51
Customer VWRCHE Totals:                                                         2,852.51                    2,852.51    2,852.51
Customer VWRXPA / VWR CHEMICALS LLC Phone: (440) 914-3422 Contact: EMAIL INC
      No Job
8850019447      P 11/02/18        11/02/18                      -1,603.00      -1,300.00                   -1,300.00                                                                  -1,300.00
       No Job Subtotals:                                                       -1,300.00                   -1,300.00                                                                  -1,300.00
      Job: AMRSOLROS9 / RO SYSTEM 9
  139882      I 02/20/19 3 03/22/19          AMRSOLROS9            804.00        804.00                      804.00                   804.00
       Job: AMRSOLROS9 / RO SYSTEM 9 Subtotals:                                  804.00                      804.00                   804.00
      Job: AMRSOLXX09 / SYSTEM #9 MONTHLY SERVICE
  137955      I 09/11/18 3 10/11/18  AMRSOLXX09                  2,865.15       2,865.15                    2,865.15                                                                   2,865.15
  138708      I 11/12/18 3 12/12/18  AMRSOLXX09                  3,061.78       3,061.78                    3,061.78                                                                   3,061.78
  139216      I 11/30/18 3 12/30/18  AMRSOLXX09                    905.00         905.00                      905.00                                               905.00
       Job: AMRSOLXX09 / SYSTEM #9 MONTHLY SERVICE Subtotals:                   6,831.93                    6,831.93                                               905.00              5,926.93
      Job: AMRSOLXX13 / BLDG 4 CLEAN RM SYS #13
  137956      I 09/11/18 3 10/11/18   AMRSOLXX13                 1,878.00       1,878.00                    1,878.00                                                                   1,878.00
       Job: AMRSOLXX13 / BLDG 4 CLEAN RM SYS #13 Subtotals:                     1,878.00                    1,878.00                                                                   1,878.00
      Job: AMRSOLXX14 / SYSTEM #14
  137957      I 09/11/18 3 10/11/18          AMRSOLXX14          4,927.70       4,927.70                    4,927.70                                                                   4,927.70
  139784      I 01/25/19 3 02/24/19          AMRSOLXX14          2,144.00       2,144.00                    2,144.00                              2,144.00
       Job: AMRSOLXX14 / SYSTEM #14 Subtotals:                                  7,071.70                    7,071.70                              2,144.00                             4,927.70
      Job: AMRSOLXX19 / SYS #19 POWDERS WATER
  137958      I 09/11/18 3 10/11/18  AMRSOLXX19                    127.00        127.00                      127.00                                                                     127.00
       Job: AMRSOLXX19 / SYS #19 POWDERS WATER Subtotals:                        127.00                      127.00                                                                     127.00
Customer VWRXPA Totals:                                                        15,412.63                  15,412.63                   804.00      2,144.00         905.00             11,559.63
Customer WADWTP / CITY OF WADSWORTH Phone: (330) 334-1581 Contact: LARRY N. ASH
       No Job


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                                                                                WESTERN RESERVE WATER SYSTEMS
                                                               Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction       Payment
                                                                               For The Period Ending: 03/29/19
         Type           Terms
                                                                                                Open Balance                                        Days Past Due
  Invoice /                           Invoice          Job           Original
  Check #             Date           Due Date         Number        Amount          Total        Retention Non-Retention    Current    1-30 Days    31-60 Days      61-90 Days      Over 90 Days

Customer WADWTP / CITY OF WADSWORTH Phone: (330) 334-1581 Contact: LARRY N. ASH (continued)
CC 032119     P 03/22/19  03/22/19                     -99.00      -99.00                   -99.00                                         -99.00
      No Job Subtotals:                                            -99.00                   -99.00                                         -99.00
      Job: WADSWORWTP / WATER TREATMENT PLANT
  139804      I 02/14/19 3 03/16/19 WADSWORWTP                           75.00         75.00                       75.00                   75.00
       Job: WADSWORWTP / WATER TREATMENT PLANT Subtotals:                              75.00                       75.00                   75.00
Customer WADWTP Totals:                                                                -24.00                      -24.00                  -24.00
Customer WATSUR / WATERSURPLUS/SURPLUS MANGEMENT Phone: (800) 919-0888 Contact: CAROL HUGHES
      Job: WATILXXPDI / PDI TANKS
  139397      I 12/20/18 3 01/19/19               WATILXXPDI          4,900.00       4,900.00                    4,900.00                                             4,900.00
       Job: WATILXXPDI / PDI TANKS Subtotals:                                        4,900.00                    4,900.00                                             4,900.00
Customer WATSUR Totals:                                                              4,900.00                    4,900.00                                             4,900.00
Customer WOLCRE / WOLF CREEK FEDERAL SERVICES Phone: (907) 261-0334 Contact: GINA GRATIAS
      No Job
  138502         I 10/25/18     3   11/24/18                            887.16        887.16                      887.16                                                                   887.16
  139613         I 01/25/19     3   02/24/19                            887.16        887.16                      887.16                                 887.16
       No Job Subtotals:                                                             1,774.32                    1,774.32                                887.16                            887.16
Customer WOLCRE Totals:                                                              1,774.32                    1,774.32                                887.16                            887.16
Customer WRECOL / WRE/COLORTECH Phone: (330) 336-7636 Contact: JANET ELLIS
      Job: WREWADPLAT / PLATING
  139659      I 01/29/19 3 02/28/19               WREWADPLAT            648.90        648.90                      648.90                  648.90
  140080      I 03/08/19 3 04/07/19               WREWADPLAT            648.90        648.90                      648.90      648.90
       Job: WREWADPLAT / PLATING Subtotals:                                          1,297.80                    1,297.80     648.90      648.90
Customer WRECOL Totals:                                                              1,297.80                    1,297.80     648.90      648.90
Customer XELLIA / XELLIA PHARMACEUTICALS USA,LLC Phone:
      Job: W1910203 / Xellia - distiller softne
  139800      I 02/18/19 3 03/20/19                 W1910203         12,375.00      12,375.00                  12,375.00               12,375.00
       Job: W1910203 / Xellia - distiller softne Subtotals:                         12,375.00                   12,375.00              12,375.00
      Job: XELBEDXXDI / DI TANK
  139575       I 01/23/19 3 02/22/19              XELBEDXXDI          1,260.72       1,260.72                    1,260.72                              1,260.72
       Job: XELBEDXXDI / DI TANK Subtotals:                                          1,260.72                    1,260.72                              1,260.72
Customer XELLIA Totals:                                                             13,635.72                  13,635.72               12,375.00       1,260.72
Customer YOUSTA / YOUNGSTOWN STATE UNIVERSITY Phone: (330) 941-1954 Contact: ED BUDDE
      No Job
455042           P 01/04/19         01/04/19                         -1,798.38        -612.85                     -612.85                                              -612.85
       No Job Subtotals:                                                              -612.85                     -612.85                                              -612.85
      Job: YSUXWB5058 / WARD BEECHER 5058
  139790      I 12/07/18 3 01/06/19 YSUXWB5058                           82.40         82.40                       82.40                                                 82.40
       Job: YSUXWB5058 / WARD BEECHER 5058 Subtotals:                                  82.40                       82.40                                                 82.40


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                                                                              WESTERN RESERVE WATER SYSTEMS
                                                          Detail A/R Aged Open Items Report Sorted by Customer Code
     Transaction     Payment
                                                                          For The Period Ending: 03/29/19
         Type        Terms
                                                                                               Open Balance                                            Days Past Due
  Invoice /                      Invoice          Job              Original
  Check #           Date        Due Date         Number           Amount           Total        Retention Non-Retention       Current      1-30 Days   31-60 Days      61-90 Days      Over 90 Days

Customer YOUSTA Totals:                                                              -530.45                       -530.45                                                -530.45
Customer ZIRCOA / ZIRCOA, INC Phone: (440) 349-7237 Contact: BEADS
      Job: ZIRSOLBEA1 / BEADS LINE 1
  139441       I 01/11/19 3 02/10/19        ZIRSOLBEA1                 355.35          20.00                         20.00                                   20.00
       Job: ZIRSOLBEA1 / BEADS LINE 1 Subtotals:                                       20.00                         20.00                                   20.00
      Job: ZIRSOLDVLA / DEVELOPMENT LAB
  140081       I 03/08/19 3 04/07/19 ZIRSOLDVLA                         92.70          92.70                         92.70        92.70
       Job: ZIRSOLDVLA / DEVELOPMENT LAB Subtotals:                                    92.70                         92.70        92.70
      Job: ZIRSOLFINE / FINE GRAIN
  139898       I 02/27/19 3 03/29/19        ZIRSOLFINE                 169.95         169.95                        169.95       169.95
       Job: ZIRSOLFINE / FINE GRAIN Subtotals:                                        169.95                        169.95       169.95
      Job: ZIRSOLMICR / MICRO TRAC
  140082       I 03/08/19 3 04/07/19        ZIRSOLMICR                 164.80         164.80                        164.80       164.80
       Job: ZIRSOLMICR / MICRO TRAC Subtotals:                                        164.80                        164.80       164.80
Customer ZIRCOA Totals:                                                               447.45                        447.45       427.45                      20.00
                                                      Report Totals:            1,481,854.21                  1,481,854.21                384,390.63                   262,237.73
                                                                                                      0.00                   348,149.84                128,582.90                        358,493.11
                                                                                                                                23.49%        25.94%       8.68%          17.70%            24.19%




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                                                                                                         WESTERN RESERVE
                                                                                                         WATER SYSTEMS

F/S Workpapers

FURNITURE & FIXTURES
Account 00-1640 00-1740


         #                     Dept                               Item                          Bought
                                        10   Beginning Asset Purchase                           Jan-03
                                        10   Dell Dimension 4600                                Nov-03
                                        10   Dell Latitude D505                                 May-04
                                        10   Dell Latitude D505                                 Dec-04
                                        10   Dell Latitude D505                                 Mar-05
                                        10   BPI                                                Jun-05
                                        10   National City                                      Nov-05
                                        10   Phone System                                       Apr-06
                                        10   Email System                                       Apr-06
                                        10   Dell Computer                                      May-06
                                        10   Fluid Purchase                                     Jan-07
                                        10   Phone System ( Up Grade)                           Dec-07
                                        10   Alarm System                                       Dec-07
                                        10   Dell Latitude E5510                                Oct-10
                                        10   Dell Laptop                                        Dec-10
                                        10   Joe Hooley Dell Laptop                             Mar-11
                                        10   MS Office 2010                                     Jul-11
                                        10   Al Hemminger Desktop                               Aug-11
                                        10   Kim Tanzi Laptop                                   Aug-11
                                        10   Tom Bachey Laptop                                  Aug-11
                                        10   Matt Dillworth Laptop                              Aug-11
                                        10   Alan Lauvray Laptop                                Dec-11
                                        10   (9) Dell Laptops                                   Nov-12
                                        10   Phone System Upgrades                              Dec-12
                                        10   MS office 2013                                     Jun-13
                                        10   Dell E5430 Laptop                                  Jun-13
                                        10   Dell E5430 Laptop                                  Jun-13
                                        10   Dell 3010 Desktop                                  Jun-13
                                        10   Dell E5430 Laptop                                  Jun-13
                                        10   Dell Laptop                                        Dec-14
                                        10   Dell Laptop                                        Dec-14
                                        10   Dell Desktop                                       Dec-14
                                        10   Dell Laptop                                        Dec-15
                                        10   Dell Laptop (2)                                    Dec-15
                                        10   Dell Laptop                                        Dec-15
                                        10   Palo Alto Router                                   Dec-15
                                        10   Server                                             Dec-15
                                        10   Dell Laptop (2)                                    Dec-15
                                        10   Dell Laptop (2)                                    Dec-15
                                             JS - Laptop (C&K invoice)                          Aug-16
                                             COPIER - lease buyout                              Jan-16
                                             Discount Desk Furniture                            Nov-16
                                             Dell Server Upgrade                                Jun-16
                                             Server Upgrade & Infrastructure                    Oct-16
                                             2 Laptops / one monitor                            Sep-17




3/30/2019; 10:37 PM
Sch B Furniture and Fixtures; 00-1640                                                                                                                          1 OF 1


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                  Item                              Bought
1988 Fruehauf M-3 Modified DI Trailer               Jul-03

1987 Road Systems M-4 Modified DI Trailer           Jul-03
1993 Astro Minivan                                  Jan-03
Spitzer                                             Sep-05
20' MSB Trailer                                     Jun-06
2006 Ford E350 (Perry)                              Apr-11
2006 Ford E350 (Durman)                             Apr-11
2011 Ford E150 Van                                  Jul-11
2010 Chevy Explorer Van                             Jul-11
2008 Ford Van                                       Jun-13
2008 Chevy Van                                      Jun-13
2002 Ford Van                                       Jun-13
2006 Chevy Van                                      Jun-13
2008 Chevy Van                                      Jun-13
2011 Ford Van                                       Jan-14
2011 Chevy Van                                      Jan-14
2011 Econoline Van                                  Jul-16
2011 Box Truck                                      Feb-16
2011 Express Cargo Van                              Jul-16
2011 F550                                           Feb-16
2011 F550                                           Feb-16
2014 Intl 4300
1HTMMAAN1EH494645                                   Feb-17
1989 Freuhauf Trailer
1H5V04820KM074110                                   May-17
2005 Wabash Trailer
1JJV532W45L898903                                   Jul-17
1989 Freuhauf Trailer
1H5V04821KM073905
2000 Strick Trailer
1S12E9536YE446390                                   Dec-17




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 Fill in this information to identify the case:

 Debtor name          WESTERN RESERVE WATER SYSTEMS, INC.

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    Key Bank                                      Describe debtor's property that is subject to a lien               $2,895,451.11                       $0.00
        Creditor's Name                               KeyBank National Association Loan and
                                                      Lesses: Loan No. 11001 ($4,000,000 original
                                                      principal amount) to Western Reserve (the
                                                      'Westem Reserve Loanâ€¢ or "Loanj; and the
                                                      Master Equipment Lease Agreement and
        127 Public Square                             Equipment Schedules Nos.06, and 08
        Cleveland, OH 44114
        Creditor's mailing address                    Describe the lien
                                                      Security Interest
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                          $2,895,451.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    1

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         WESTERN RESERVE WATER SYSTEMS, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Cuyahoga County Treasury                                  Check all that apply.
           Department                                                   Contingent
           2079 East Ninth St                                           Unliquidated
           Cleveland, OH 44115                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           Insolvency Group 3                                           Contingent
           1240 E. 9th Street                                           Unliquidated
           Room 457                                                     Disputed
           Cleveland, OH 44199
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                             Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Ohio Bureau of Workers                                    Check all that apply.
           Compensation                                                 Contingent
           30 W. Spring St.                                             Unliquidated
           Columbus, OH 43215-2256                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Ohio Department of Taxation                               Check all that apply.
           P.O. Box 530                                                 Contingent
           Columbus, OH 43216-0530                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Regional Income Tax Agency                                Check all that apply.
           10107 Brecksville Rd.                                        Contingent
           Brecksville, OH 44141-3275                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,890.00
           A.J. GATES COMPANY                                                          Contingent
           29855 AURORA ROAD                                                           Unliquidated
           Solon, OH 44139                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $695.38
           ACADEMY COMMUNICATIONS, INC                                                 Contingent
           30 ALPHA PARK                                                               Unliquidated
           Cleveland, OH 44143                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 23
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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $428.00
          ADVANCED SURFACE CLEANING                                             Contingent
          10776 QUARRY ROAD                                                     Unliquidated
          Oberlin, OH 44074                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,579.69
          AETNA PLASTICS CORP.                                                  Contingent
          P.O. BOX 931780                                                       Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $591.79
          AIRGAS USA, LLC                                                       Contingent
          PO BOX 802576                                                         Unliquidated
          Chicago, IL 60680-2576                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,030.08
          ALFRED ADAMS                                                          Contingent
          5655 PLEASANT VIEW DR                                                 Unliquidated
          Nashport, OH 43830                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,827.11
          AMERICAN FLEET SERVICES                                               Contingent
          7714 COMMERCE PARK OVAL                                               Unliquidated
          Independence, OH 44131                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,048.00
          AMERICAN REMEDIATION & ENVIRON                                        Contingent
          PO BOX 570                                                            Unliquidated
          Saraland, AL 36571                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $103.09
          APPLIED INDUSTRIAL TECH                                               Contingent
          22510 NETWORK PLACE                                                   Unliquidated
          Chicago, IL 60673-1225                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $408.36
          AQ MATIC VALVE & CONTROLS                                             Contingent
          16605 W VICTOR RD                                                     Unliquidated
          New Berlin, WI 53151                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,796.01
          AQUAFINE CORPORATION                                                  Contingent
          14094 COLLECTIONS CENTER                                              Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,241.17
          AQUIONICS, INC.                                                       Contingent
          4215-E STUART ANDREW BLVD                                             Unliquidated
          Charlotte, NC 28217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,837.48
          ARC GAS & SUPPLY                                                      Contingent
          4560 NICKY BLVD                                                       Unliquidated
          Cleveland, OH 44125                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,312.50
          ARTEMIS POLYMER PROCESSING                                            Contingent
          2550 GILCHRIST ROAD                                                   Unliquidated
          Akron, OH 44305                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Assured Partners                                                      Contingent
          3900 Kinross Lakes Parkway, Suite 3                                   Unliquidated
          Richfield, OH 44286                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $803.48
          AT&T MOBILITY                                                         Contingent
          PO BOX 6463                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,520.00
          AUGUSTA FIBERGLASS COATINGS                                           Contingent
          86 LAKE CYNTHIA ROAD                                                  Unliquidated
          Blackville, SC 29817                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Avetta                                                                Contingent
          2060 N Loop W Suite 150                                               Unliquidated
          Houston, TX 77018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,491.00
          AVETTA, LLC                                                           Contingent
          PO BOX 8474                                                           Unliquidated
          Pasadena, CA 91109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $359.15
          AXEON                                                                 Contingent
          40980 COUNTY CENTER DRIVE                                             Unliquidated
          SUITE 100                                                             Disputed
          Temecula, CA 92591
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Baker Hostetler                                                       Contingent
          127 Public Square, Suite 2000                                         Unliquidated
          Cleveland, OH 44114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,557.20
          BENOVATION                                                            Contingent
          2035 READING RD.                                                      Unliquidated
          Cincinnati, OH 45202                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,733.09
          BERRINGTON PUMPS & SYSTEMS, IN                                        Contingent
          1316 LEAR INDUSTRIAL PKWY                                             Unliquidated
          Avon, OH 44011                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,582.54
          BEST BUY TIRE                                                         Contingent
          4890 SUPERIOR AVE                                                     Unliquidated
          Cleveland, OH 44103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $441.00
          BEST SAND CORPORATION                                                 Contingent
          PO BOX 931707                                                         Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $64,083.51
          BONDED CHEMICALS                                                      Contingent
          1125 SOLUTIONS CENTER                                                 Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $190.00
          BRECHBUHLER SCALES, INC.                                              Contingent
          1424 SCALE ST SW                                                      Unliquidated
          Canton, OH 44706                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $377.42
          BUSH INTEGRATED                                                       Contingent
          15901 INDUSTRIAL PKWY                                                 Unliquidated
          Cleveland, OH 44135                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          C&K INDUSTRIAL SERVICES, INC                                          Contingent
          5617 SCHAAF ROAD                                                      Unliquidated
          Independence, OH 44131
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          CAPPAS & KARAS INVESTMENTS INC                                        Contingent
          1201 HOMESTEAD CREEK DR                                               Unliquidated
          Broadview Heights, OH 44147                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,653.22
          CHAMPION PERSONNEL SYSTEM INC                                         Contingent
          4511 ROCKSIDE ROAD                                                    Unliquidated
          SUITE 200                                                             Disputed
          Independence, OH 44131
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.70
          CHEMSAFE INTERNATIONAL (GMI)                                          Contingent
          ONE ZENEX CIRCLE                                                      Unliquidated
          Bedford, OH 44146                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,179.20
          CHEMTREAT, INC                                                        Contingent
          15045 COLLECTIONS CENTER                                              Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,914.40
          CHEMTRON CORPORATION                                                  Contingent
          3500 HARRY S. TRUMAN BLVD.                                            Unliquidated
          Saint Charles, MO 63301                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,165.13
          CINTAS                                                                Contingent
          PO BOX 630910                                                         Unliquidated
          Cincinnati, OH 45263-0910                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,097.50
          CLEVELAND EXPRESS TRUCKING CO                                         Contingent
          3091 ROCKEFELLER AVE                                                  Unliquidated
          Cleveland, OH 44115                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,766.42
          CLINTON ALUMINUM & STAINLESS                                          Contingent
          PO BOX 674865                                                         Unliquidated
          Detroit, MI 48267-4865                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Comdata                                                               Contingent
          5301 Maryland Way, Ste. 100                                           Unliquidated
          Brentwood, TN 37027-5055                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,155.60
          COVERALL NORTH AMERICA, INC.                                          Contingent
          2955 MOMENTUM PLACE                                                   Unliquidated
          Chicago, IL 60689                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,087.50
          CUMBERLAND STEEL DIVISION                                             Contingent
          4919 GRANT AVE                                                        Unliquidated
          Cleveland, OH 44125                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          D'AMORE TATMAN GROUP LLC                                              Contingent
          PO BOX 1263                                                           Unliquidated
          Twinsburg, OH 44087                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,311.50
          DECKER STEEL & SUPPLY , INC.                                          Contingent
          4500 TRAIN AVE.                                                       Unliquidated
          Cleveland, OH 44102                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $713.54
          DELTA INSTRUMENTATION                                                 Contingent
          PO BOX 495                                                            Unliquidated
          Richfield, OH 44286                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $798.07
          DISTILLATA COMPANY                                                    Contingent
          1608 EAST 24TH STREET                                                 Unliquidated
          Cleveland, OH 44114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,026.17
          DIVISION OF WATER                                                     Contingent
          PO BOX 94540                                                          Unliquidated
          Cleveland, OH 44101-4540                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,674.30
          DOMINION EAST OHIO                                                    Contingent
          PO BOX 26785                                                          Unliquidated
          Richmond, VA 23261-6785                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $208.90
          Dominion East Ohio                                                    Contingent
          P.O. Box 26785                                                        Unliquidated
          Richmond, VA 23261-6785                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,394.00
          E Z ELECTRIC MOTOR SERVICE                                            Contingent
          8510 BESSEMER AVENUE                                                  Unliquidated
          Cleveland, OH 44127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $216.00
          E.H. WACHS                                                            Contingent
          PO BOX 71598                                                          Unliquidated
          Chicago, IL 60694-1598                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,078.23
          EMD MILLIPORE CORPORATION                                             Contingent
          25760 NETWORK PLACE                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,535.12
          ENPRESS, LLC                                                          Contingent
          34899 CURTIS BLVD                                                     Unliquidated
          Eastlake, OH 44095                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $59,851.89
          ENVIROSERVE                                                           Contingent
          PO BOX 413070                                                         Unliquidated
          Salt Lake City, UT 84141                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,210.02
          EQUIPMENT AND CONTROLS INC                                            Contingent
          PO BOX 536074                                                         Unliquidated
          Pittsburgh, PA 15253-5902                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Expertpay                                                             Contingent
          294 E Campus View Blvd                                                Unliquidated
          Columbus, OH 43235-4634                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $755.87
          FASTENAL                                                              Contingent
          P.O. BOX 1286                                                         Unliquidated
          Winona, MN 55987                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,160.16
          FEDEX FREIGHT EAST                                                    Contingent
          PO BOX 223125                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $204,596.06
          FILMTEC CORPORATION                                                   Contingent
          4118 COLLECTION CENTER DR                                             Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,450.00
          FOCUS CFOGROUP, LLC                                                   Contingent
          PO BOX 772130                                                         Unliquidated
          Detroit, MI 48277                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FocusCFO                                                              Contingent
          1010 Jackson Hole Dr., Suite 202                                      Unliquidated
          Blacklick, OH 43004                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $130,471.18
          GCS WATER PURIFICATION, LLC                                           Contingent
          PO BOX 703                                                            Unliquidated
          Rosharon, TX 77583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,716.78
          GENE PTACEK & SON FIRE EQUIP                                          Contingent
          7310 ASSOCIATE AVENUE                                                 Unliquidated
          Cleveland, OH 44144                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,359.75
          GRAINGER                                                              Contingent
          DEPT 859363772                                                        Unliquidated
          Palatine, IL 60038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,197.43
          GUARANTEED TRUCK SERVICE                                              Contingent
          4545 INDUSTRIAL PRKY                                                  Unliquidated
          Cleveland, OH 44135                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,478.50
          HART INDUSTRIES, INC.                                                 Contingent
          PO BOX 856300 DEPT. #163                                              Unliquidated
          Louisville, KY 40285                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,263.29
          HOGAN TRUCK LEASING, INC.                                             Contingent
          2150 SCHEUTZ RD                                                       Unliquidated
          SUITE 210                                                             Disputed
          Saint Louis, MO 63146
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,557.05
          IFM EFECTOR INC                                                       Contingent
          PO BOX 8538-307                                                       Unliquidated
          Philadelphia, PA 19171                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,874.46
          ILLUMINATING COMPANY                                                  Contingent
          PO BOX 3638                                                           Unliquidated
          Akron, OH 44309                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6587
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $202.57
          ILLUMINATING COMPANY                                                  Contingent
          PO BOX 3687                                                           Unliquidated
          Akron, OH 44309                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6201
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,007.92
          INDUSTRIAL SAFETY PRODUCTS                                            Contingent
          6901 CAREY DRIVE                                                      Unliquidated
          Cleveland, OH 44125                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $454.92
          INHAND NETWORKS, INC.                                                 Contingent
          3900 JERMANTOWN RD SUITE 150                                          Unliquidated
          Fairfax, VA 22030                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ISN Networld                                                          Contingent
          Safety Services Company                                               Unliquidated
          2626 S Roosevelt St, Suite 2                                          Disputed
          Tempe, AZ 85282
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          JAG DEVELOPMENT LLC                                                   Contingent
          5617 SCHAAF RD                                                        Unliquidated
          Independence, OH 44131
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $191.38
          JAMES FORBES                                                          Contingent
          6229 AUTUMN LEAF LANE                                                 Unliquidated
          Cincinnati, OH 45230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          John Hancock                                                          Contingent
          1 John Hancock Way                                                    Unliquidated
          Suite 1101                                                            Disputed
          Boston, MA 02217
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          JOSEPH HOOLEY                                                         Contingent
          77 FRONT STREET                                                       Unliquidated
          Berea, OH 44017
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,855.25
          KELLY SERVICES, INC.                                                  Contingent
          PO BOX 820405                                                         Unliquidated
          Philadelphia, PA 19182                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,167.76
          KEY EQUIPMENT FINANCE                                                 Contingent
          PO BOX 974713                                                         Unliquidated
          Cleveland, OH 44194                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,145.51
          KINETICO INCORPORATED                                                 Contingent
          PO BOX 714514                                                         Unliquidated
          Cincinnati, OH 45271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,313.16
          LAKESIDE SUPPLY                                                       Contingent
          3000 W. 117TH STREET                                                  Unliquidated
          Cleveland, OH 44111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,791.50
          LAKETEC                                                               Contingent
          27881 LORAIN ROAD                                                     Unliquidated
          North Olmsted, OH 44070                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $350.02
          MASTROIANNI & ASSOCIATES, INC.                                        Contingent
          7601 FIRST PLACE DR                                                   Unliquidated
          SUITE A13                                                             Disputed
          Bedford, OH 44146
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,118.78
          MCMASTER CARR                                                         Contingent
          PO BOX 7690                                                           Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $887.15
          MECHANICAL AIR SYSTEMS INC                                            Contingent
          4234 W. 212TH STREET                                                  Unliquidated
          Cleveland, OH 44126                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,010.39
          MEDALLION COFFEE SERVICE, INC.                                        Contingent
          4365 CRANWOOD PARKWAY                                                 Unliquidated
          Cleveland, OH 44128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $549.00
          MEDQUEST EVALUATORS, LLC                                              Contingent
          PO BOX 234                                                            Unliquidated
          Lewis Center, OH 43035                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,967.40
          METTLER-TOLEDO INGOLD                                                 Contingent
          23669 NETWORK PLACE                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $597.00
          MIDWEST RO                                                            Contingent
          15685 ILLINOIS HIGHWAY 71                                             Unliquidated
          Peru, IL 61354                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $892.50
          MR T PAINTING & SANDBLASTING                                          Contingent
          PO BOX 46423                                                          Unliquidated
          Bedford, OH 44146                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,988.50
          NELSEN CORPORATION                                                    Contingent
          DEPT 781391                                                           Unliquidated
          PO BOX 78000                                                          Disputed
          Detroit, MI 48278-1391
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,016.45
          NEORSD                                                                Contingent
          PO BOX 94550                                                          Unliquidated
          Cleveland, OH 44101-4550                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,740.99
          NORTH COAST LIFT TRUCK, INC                                           Contingent
          PO BOX 565                                                            Unliquidated
          Mentor, OH 44060                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $40.00
          NORTHEAST OHIO REGIONAL SEWER                                         Contingent
          3900 EUCLID AVENUE                                                    Unliquidated
          Cleveland, OH 44115-2506                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,997.50
          OBC INDUSTRIAL                                                        Contingent
          11288 ALAMEDA DRIVE                                                   Unliquidated
          Strongsville, OH 44149                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $332.00
          OCCUPATIONAL HEALTH CENTERS                                           Contingent
          OF OHIO, P.A., CO.                                                    Unliquidated
          PO BOX 5012                                                           Disputed
          Southfield, MI 48086-5012
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,142.04
          OCS PROCESS SYSTEMS                                                   Contingent
          PO BOX 92394                                                          Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,464.13
          OTP INDUSTRIAL SOLUTIONS                                              Contingent
          PO BOX 73278                                                          Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,094.83
          OZONE SOLUTIONS                                                       Contingent
          451 BLACK FOREST ROAD                                                 Unliquidated
          Hull, IA 51239                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,024.84
          OZONE WATER SYSTEMS INC.                                              Contingent
          3131 N. 56TH ST.                                                      Unliquidated
          Phoenix, AZ 85018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,183.47
          PENN STAINLESS PRODUCTS INC                                           Contingent
          102 McQUISTON DR                                                      Unliquidated
          JACKSON CENTER                                                        Disputed
          Jackson Center, PA 16133
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,785.47
          PENTAIR FILTRATION SOLUTIONS                                          Contingent
          16622 COLLECTIONS CENTER DR.                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $690.00
          PETE & PETE                                                           Contingent
          4830 WARNER ROAD                                                      Unliquidated
          Garfield Hts, OH 44105                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $620.00
          PLAS-TANKS INDUSTRIES, INC                                            Contingent
          PO BOX 932059                                                         Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,227.36
          PLIC - SBD GRAND ISLAND                                               Contingent
          PO BOX 10372                                                          Unliquidated
          Des Moines, IA 50306-0372                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,069.87
          PORTERSVILLE PRD LLC                                                  Contingent
          2680 NEW BUTLER ROAD                                                  Unliquidated
          New Castle, PA 16101                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,633.85
          PREMIER PUMP INC                                                      Contingent
          4891 VAN EPPS RD                                                      Unliquidated
          Cleveland, OH 44131                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,462.99
          PROCESS TECHNOLOGY                                                    Contingent
          29069 NETWORK PLACE                                                   Unliquidated
          Chicago, IL 60673-1290                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,947.77
          PUBLIC SALT                                                           Contingent
          2927 HARRISBURG RD N.E.                                               Unliquidated
          Canton, OH 44705                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,237.37
          PUROLITE COMPANY                                                      Contingent
          PO BOX 824075                                                         Unliquidated
          Philadelphia, PA 19182-4075                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,828.96
          PVS NOLWOOD CHEMICALS, INC.                                           Contingent
          25210 NETWORK PLACE                                                   Unliquidated
          Chicago, IL 60673-1503                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $348.77
          QUICK CHANGE #3                                                       Contingent
          4036 E. 52ND STREET                                                   Unliquidated
          Newburgh Hts, OH 44105                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $49.71
          REPUBLIC SERVICES #971                                                Contingent
          PO BOX 9001099                                                        Unliquidated
          Louisville, KY 40290-1099                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $47,958.07
          RESINTECH                                                             Contingent
          1 RESINTECH PLAZA                                                     Unliquidated
          160 COOPER ROAD                                                       Disputed
          West Berlin, NJ 08091
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,517.22
          REXEL OF AMERICA, LLC                                                 Contingent
          PO BOX 742833                                                         Unliquidated
          Atlanta, GA 30374-2833                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $698.29
          ROSEMOUNT ANALYTICAL INC                                              Contingent
          22737 NETWORK PLACE                                                   Unliquidated
          Chicago, IL 60673-1227                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,677.86
          RUSH TRUCK LEASING                                                    Contingent
          PO BOX 34630                                                          Unliquidated
          San Antonio, TX 78265-4630                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,500.95
          RYAN HERCO                                                            Contingent
          LOCKBOX 912128                                                        Unliquidated
          PO BOX 31001-2128                                                     Disputed
          Pasadena, CA 91110-2128
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,006.10
          SAGINAW CONTROL & ENGINEERING                                         Contingent
          95 MIDLAND ROAD                                                       Unliquidated
          Saginaw, MI 48638                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,188.95
          SHELCO FILTERS                                                        Contingent
          DIV OF TINNY CORP.                                                    Unliquidated
          100 BRADLEY STREET                                                    Disputed
          Middletown, CT 06457
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Singerman Mills Desberg and Kauntz                                    Contingent
          333 Richmond Road, Suite 370                                          Unliquidated
          Beachwood, OH 44122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,012.00
          SINGERMAN, MILLS, DESBERG &                                           Contingent
          KRAUTZ CO., L.P.A.                                                    Unliquidated
          3333 RICHMOND RD, SUITE 370                                           Disputed
          Beachwood, OH 44122
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $70.00
          ST VINCENT CHARITY                                                    Contingent
          OCCUPATIONAL HEALTH                                                   Unliquidated
          PO BOX 932006                                                         Disputed
          Cleveland, OH 44193-0007
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $581.00
          STAPLES BUSINESS ADVANTAGE                                            Contingent
          STAPLES BUSINESS CREDIT                                               Unliquidated
          PO BOX 105638                                                         Disputed
          Atlanta, GA 30348-5638
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $105,702.57
          SUEZ WTS USA, INC                                                     Contingent
          12822 COLLECTION CENTER DRIVE                                         Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,119.27
          SUNBELT RENTALS                                                       Contingent
          PO BOX 409211                                                         Unliquidated
          Atlanta, GA 30384-9211                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,268.00
          SUNRISE SPRINGS                                                       Contingent
          PO BOX 232                                                            Unliquidated
          Newbury, OH 44065                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,600.00
          TALENT TRANSPORTATION, INC.                                           Contingent
          PO BOX 361159                                                         Unliquidated
          Strongsville, OH 44136                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $595.39
          TELPLEX COMMUNICATIONS                                                Contingent
          16830 VENTURA BLVD STE 350                                            Unliquidated
          Encino, CA 91436                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          The Cincinnati Insurance Company                                      Contingent
          Attention: Corporate Accounts Recei                                   Unliquidated
          6200 South Gilmore Road                                               Disputed
          Fairfield, OH 45014-5141
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          The Huntington National Bank                                          Contingent
          Equipment Finance Division                                            Unliquidated
          105 East Fourth St.                                                   Disputed
          Cincinnati, OH 45202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $430.92
          TIME WARNER                                                           Contingent
          PO BOX 0901                                                           Unliquidated
          Carol Stream, IL 60132-0901                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,646.00
          TRUCKING LOGISTICS LLC                                                Contingent
          PO BOX 30844                                                          Unliquidated
          Cleveland, OH 44130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,069.72
          ULINE                                                                 Contingent
          PO BOX 88741                                                          Unliquidated
          Chicago, IL 60680-1741                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,736.51
          ULTRA TECH INDUSTRIES                                                 Contingent
          25670 FIRST ST                                                        Unliquidated
          Westlake, OH 44145                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,137.77
          UNITED PARCEL SERVICE                                                 Contingent
          LOCKBOX 577                                                           Unliquidated
          Carol Stream, IL 60132-0577                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,265.78
          US BANK                                                               Contingent
          US BANK EQUIPMENT FINANCE                                             Unliquidated
          PO BOX 790448                                                         Disputed
          Saint Louis, MO 63179-0448
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $332.10
          VIEWPOINT, INC.                                                       Contingent
          1515 SE WATER AVENUE, #300                                            Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,274.84
          VWR INTERNATIONAL                                                     Contingent
          2039 CENTER SQUARE RD                                                 Unliquidated
          Bridgeport, NJ 08014                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,170.22
          W.B. MASON CO., INC.                                                  Contingent
          PO BOX 981101                                                         Unliquidated
          Boston, MA 02298-1101                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $900.00
          WATER & WASTEWATER EQUIPMENT                                          Contingent
          837 EAST 79TH STREET                                                  Unliquidated
          Cleveland, OH 44103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,000.00
          WATER IP, LLC.                                                        Contingent
          5617 SCHAAF ROAD                                                      Unliquidated
          Independence, OH 44131                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $123,073.23
          WATER SURPLUS / SURPLUS MGMT.                                         Contingent
          PO BOX 2668                                                           Unliquidated
          Loves Park, IL 61132                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,281.10
          WATTS WATER QUALITY PRODUCTS                                          Contingent
          PO BOX 654070                                                         Unliquidated
          Dallas, TX 75265-4070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                     Case number (if known)
              Name

 3.143     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $628.00
           WELLS FARGO EQUIPMENT FINANCE                                        Contingent
           MANUFACTURER SERVICES GROUP                                          Unliquidated
           PO BOX 7777                                                          Disputed
           San Francisco, CA 94120-7777
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes


 3.144     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Wells Fargo Equipment Finance                                        Contingent
           PO Box 3072                                                          Unliquidated
           Cedar Rapids, IA 52406-3072                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.145     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $159.93
           WILDFIRE EXPRESS DELIVERY INC                                        Contingent
           PO BOX 39223                                                         Unliquidated
           Solon, OH 44139                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.146     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $25,860.18
           WSM                                                                  Contingent
           580 GOLDEN OAK PARKWAY                                               Unliquidated
           Oakwood Village, OH 44146                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Rodd A. Sanders
           SONKIN KOBERNA,LLC                                                                         Line     3.72
           3401 Enterprise Parkway, Suite 400
                                                                                                             Not listed. Explain
           Beachwood, OH 44122

 4.2       Rodd A. Sanders
           SONKIN KOBERNA,LLC                                                                         Line     3.29
           3401 Enterprise Parkway, Suite 400
                                                                                                             Not listed. Explain
           Beachwood, OH 44122


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                   1,411,035.04

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      1,411,035.04



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 Fill in this information to identify the case:

 Debtor name         WESTERN RESERVE WATER SYSTEMS, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         JAG DEVELOPMENT LLC
             List the contract number of any                                             5617 SCHAAF RD
                   government contract                                                   Independence, OH 44131


 2.2.        State what the contract or                   C#: 000516443
             lease is for and the nature of               L#: 000516414
             the debtor's interest                        Ls#: 8800578270
                                                          Equipment Schedule
                                                          No. 06
                                                          2001 Rebuilt Trailer for
                                                          Waste
                                                          Water Treatment
                                                          System
                                                          including all
                                                          accessories and
                                                          attachments
                                                          1NNEA532X1M345478
                  State the term remaining
                                                                                         Key Equipment Finance Inc.
             List the contract number of any                                             66 South Pearl Street, 8th Floor
                   government contract                                                   Albany, NY 12207


 2.3.        State what the contract or                   C#: 000516443
             lease is for and the nature of               L#: 000516414
             the debtor's interest                        Ls#: 8800578405
                                                          Equipment Schedule
                                                          No. 07
                                                          2013 PDI Waste Water
                                                          Treatment System
                                                          including a
                  State the term remaining
                                                                                         Key Equipment Finance Inc.
             List the contract number of any                                             66 South Pearl Street, 8th Floor
                   government contract                                                   Albany, NY 12207


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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 Debtor 1 WESTERN RESERVE WATER SYSTEMS, INC.                                                 Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease


 2.4.        State what the contract or                   C#: 000516443
             lease is for and the nature of               L#:000516414 Ls#:
             the debtor's interest                        8800579445
                                                          Equipment Schedule
                                                          No. 08
                                                          2013 3.6 Exchange
                                                          Tanks with all
                                                          attachments and
                                                          accessories
                                                          Job:W1310005
                                                          Refining Plant Water
                                                          Softeners with all
                                                          attachments and
                                                          accessories
                                                          (Job: W1310012)
                                                          2014 POI Water
                                                          Filtration with all
                                                          attachments and
                                                          accessories (Job:
                                                          W1410006)
                                                          Gulf Coast System
                                                          Water Filtration with all
                                                          attachments
                                                          and accessories
                                                          Job (W1410229)
                  State the term remaining
                                                                                      Key Equipment Finance Inc.
             List the contract number of any                                          66 South Pearl Street, 8th Floor
                   government contract                                                Albany, NY 12207


 2.5.        State what the contract or                   TRAC LEASE
             lease is for and the nature of               SCHEDULE NO. 005
             the debtor's interest                        International
                                                          2014
                                                          Truck, Model 4300 4x2
                                                          1HTMMAAN1EH494645
                  State the term remaining
                                                                                      The Huntington National Bank
             List the contract number of any                                          105 E. Fourth Street, Suite 200C
                   government contract                                                Cincinnati, OH 45202


 2.6.        State what the contract or                   TRAC LEASE
             lease is for and the nature of               SCHEDULE NO. 006
             the debtor's interest                        Fruehauf
                                                          1989 1H5 Water System
                                                          Trailer
                                                          1H5V04820KM074110
                  State the term remaining
                                                                                      The Huntington National Bank
             List the contract number of any                                          105 E. Fourth Street, Suite 200C
                   government contract                                                Cincinnati, OH 45202




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 Debtor 1 WESTERN RESERVE WATER SYSTEMS, INC.                                                  Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.7.        State what the contract or                   FINANCING LEASE
             lease is for and the nature of               SCHEDULE NO. 007
             the debtor's interest                        2013 20’ Container Box
                                                          FBXU8007911
                  State the term remaining
                                                                                       The Huntington National Bank
             List the contract number of any                                           105 E. Fourth Street, Suite 200C
                   government contract                                                 Cincinnati, OH 45202


 2.8.        State what the contract or                   TRAC LEASE
             lease is for and the nature of               SCHEDULE NO. 008
             the debtor's interest                        Fruehauf Trailer with
                                                          attached
                                                          Water Filtration System
                                                          1989
                                                          1H5V04821KM073905

                                                          Strick Semi-Trailer with
                                                          attached
                                                          Water Filtration System
                                                          2000
                                                          1S12E9536YE446390
                  State the term remaining
                                                                                       The Huntington National Bank
             List the contract number of any                                           105 E. Fourth Street, Suite 200C
                   government contract                                                 Cincinnati, OH 45202


 2.9.        State what the contract or                   TAX LEASE
             lease is for and the nature of               SCHEDULE NO. 009
             the debtor's interest                        Membrane Test Skid
                                                          W1210016
                                                          3.6 Bottles/Tanks
                                                          W1310005
                                                          Softeners W1310012
                                                          PDIs W1410006
                                                          Reverse Osmosis
                                                          System W1310017
                                                          Storage Tank
                                                          W1310018
                                                          Pump Skid W1310019
                  State the term remaining
                                                                                       The Huntington National Bank
             List the contract number of any                                           105 E. Fourth Street, Suite 200C
                   government contract                                                 Cincinnati, OH 45202


 2.10.       State what the contract or                   TAX LEASE
             lease is for and the nature of               SCHEDULE NO. 010
             the debtor's interest                        New Bayonne RO
                                                          System W1410221
                  State the term remaining
                                                                                       The Huntington National Bank
             List the contract number of any                                           105 E. Fourth Street, Suite 200C
                   government contract                                                 Cincinnati, OH 45202

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 Debtor 1 WESTERN RESERVE WATER SYSTEMS, INC.                                                 Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         WESTERN RESERVE WATER SYSTEMS, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         WESTERN RESERVE WATER SYSTEMS, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                           $13,623,069.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $11,977,869.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               SEE ATTACHED                                                                                        $0.00         Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



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 Debtor       WESTERN RESERVE WATER SYSTEMS, INC.                                                       Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    C&K INDUSTRIAL SERVICES,                                                    Cuyahoga County Common                        Pending
               INC., ET AL. vs. WESTERN                                                    Pleas Court                                   On appeal
               RESERVE WATER SYSTEMS,                                                      1200 Ontario Ave
                                                                                                                                         Concluded
               INC.                                                                        Cleveland, OH 44113
               CV-18-897629

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
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 Debtor        WESTERN RESERVE WATER SYSTEMS, INC.                                                         Case number (if known)




           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.                                                         As of the commencement of this case
                                                                     under Chapter 11, the above-named
                                                                     counsel is holding $ 12,721.00 unapplied
                                                                     retainer for legal services, plus $1,717.00
                                                                     used for costs paid by credit card. Movant
                                                                     has been paid to date prior to filing during
                FORBES LAW LLC                                       the past one year the sum of $ 7,279.00
                Main Street Law Building                             plus $1,717.00 for court costs, i.e., an
                166 Main Street                                      aggregate of $ 21,717.00, of which
                Painesville, OH 44077                                $12,721.00 has not been applied.                          3/2019                        $0.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer         Total amount or
               Address                                          payments received or debts paid in exchange                was made                       value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


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 Debtor      WESTERN RESERVE WATER SYSTEMS, INC.                                                        Case number (if known)




           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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 Debtor      WESTERN RESERVE WATER SYSTEMS, INC.                                                        Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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 Debtor      WESTERN RESERVE WATER SYSTEMS, INC.                                                        Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Eiermann                               10009 Sherman Road                                  President                             12.5%
                                                      Chesterland, OH 44026

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Dean Celaschi                                  4001 W. 224th Street                                Treasurer                             12.5%
                                                      Cleveland, OH 44126

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Thomas Istenes                                 1319 Irving Avenue                                  Secretary                             12.5%
                                                      Cleveland, OH 44109



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
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 Debtor      WESTERN RESERVE WATER SYSTEMS, INC.                                                        Case number (if known)



    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 1, 2019

 /s/ Michael Eiermann                                                   Michael Eiermann
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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  1   Report Selections:    Vendor:         ALL          Job Number:                 ALL           From check date: 01/01/19
  2   Check Number          Invoice/Credit ACheck Date   Vendor Code                 Vendor Name Discount Amount Total Payment
 26    49540                      01/18/19 AETPLA        AETNA PLASTICS CORP.             9,465.35                        9,465.35
 28    49687                      02/14/19 AETPLA        AETNA PLASTICS CORP.            13,331.92                       13,331.92
 88    12355                      03/11/19 BENCLA        BENOVATION CLAIMS                7,325.69                        7,325.69
134    49607                      01/28/19 BENOVA        BENOVATION                      15,100.60                       15,100.60
135    49689                      02/14/19 BENOVA        BENOVATION                      15,542.16                       15,542.16
147    49525                      01/16/19 BONCHE        BONDED CHEMICALS                24,984.97                       24,984.97
148    49545                      01/18/19 BONCHE        BONDED CHEMICALS                24,583.33                       24,583.33
149   49608                       01/28/19 BONCHE        BONDED CHEMICALS                 8,977.05                        8,977.05
150   49634                       01/31/19 BONCHE        BONDED CHEMICALS                24,810.70                       24,810.70
151   49667                       02/08/19 BONCHE        BONDED CHEMICALS                16,947.94                       16,947.94
152   49690                       02/14/19 BONCHE        BONDED CHEMICALS                17,036.20                       17,036.20
153   49755                       03/04/19 BONCHE        BONDED CHEMICALS                17,431.33                       17,431.33
154   49772                       03/08/19 BONCHE        BONDED CHEMICALS                 7,626.40                        7,626.40
167   49799                       03/22/19 CININS        THE CINCINNATI INSURANCE CO     41,181.00                       41,181.00
174    49610                      01/28/19 CITCLE        DIVISION OF WATER                8,782.11                        8,782.11
175    49774                      03/08/19 CITCLE        DIVISION OF WATER               11,530.56                       11,530.56
177   W90118                      01/18/19 CITCLE        DIVISION OF WATER               10,973.14                       10,973.14
197    49613                      01/28/19 CUYTRE        CUYAHOGA COUNTY TREASURE        10,690.53                       10,690.53
229   M90313                      03/13/19 ELGA01        ELGA                            24,045.51                       24,045.51
233    49618                      01/28/19 ENVIRO        ENVIROSERVE                      8,884.38                        8,884.38
234    49719                      02/20/19 ENVIRO        ENVIROSERVE                      8,788.74                        8,788.74
253    49693                      02/14/19 FILMTE        FILMTEC CORPORATION             33,430.37                       33,430.37
254   90110F                      01/09/19 FILMTE        FILMTEC CORPORATION             55,502.49                       55,502.49
295    49793                      03/15/19 HARRIN        HARRINGTON                       9,055.19                        9,055.19
303   1901Q6                      01/28/19 HUNEQ6        HUNTINGTON NAT'L BANK EQUIP     10,732.56                       10,732.56
304   1902Q6                      02/28/19 HUNEQ6        HUNTINGTON NAT'L BANK EQUIP     10,732.56                       10,732.56
305   1903Q6                      03/27/19 HUNEQ6        HUNTINGTON NAT'L BANK EQUIP     10,732.56                       10,732.56
316    49621                      01/28/19 ILLCO2        ILLUMINATING COMPANY             7,744.89                        7,744.89
317    49673                      02/08/19 ILLCO2        ILLUMINATING COMPANY             7,277.77                        7,277.77
332    49518                      01/11/19 ITOCHU        ITOCHU CHEMICALS AMERICA, IN     9,191.00                        9,191.00
334    49516                      01/04/19 JAGDEV        JAG DEVELOPMENT LLC             15,675.00                       15,675.00
335    49636                      02/04/19 JAGDEV        JAG DEVELOPMENT LLC             15,675.00                       15,675.00
336    49760                      03/04/19 JAGDEV        JAG DEVELOPMENT LLC             15,675.00                       15,675.00
342    49696                      02/14/19 KELSER        KELLY SERVICES, INC.             7,723.27                        7,723.27
347   0119K1                      01/01/19 KEY001        KEYBANK                         19,841.44                       19,841.44
348   0219K1                      02/01/19 KEY001        KEYBANK                         19,686.44                       19,686.44
349   0319K1                      03/01/19 KEY001        KEYBANK                         17,776.29                       17,776.29
350   1904K1                      04/01/19 KEY001        KEYBANK                         19,686.44                       19,686.44
352   901K2                       01/01/19 KEYCO4        KEY EQUIPMENT FINANCE           11,399.51                       11,399.51
353   901K3                       01/01/19 KEYCO4        KEY EQUIPMENT FINANCE            8,352.81                        8,352.81
356   901K6                       01/01/19 KEYCO4        KEY EQUIPMENT FINANCE           10,167.76                       10,167.76
357    901K8                      01/01/19 KEYCO4        KEY EQUIPMENT FINANCE           15,285.37                       15,285.37


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358    902K2                  02/01/19   KEYCO4     KEY EQUIPMENT FINANCE         11,399.51                     11,399.51
359    902K3                  02/01/19   KEYCO4     KEY EQUIPMENT FINANCE          8,352.81                      8,352.81
362    902K6                  02/01/19   KEYCO4     KEY EQUIPMENT FINANCE         10,167.76                     10,167.76
363    902K8                  02/01/19   KEYCO4     KEY EQUIPMENT FINANCE         15,285.37                     15,285.37
364    903K2                  03/01/19   KEYCO4     KEY EQUIPMENT FINANCE         11,399.51                     11,399.51
365    903K3                  03/01/19   KEYCO4     KEY EQUIPMENT FINANCE          8,352.81                      8,352.81
368    903K6                  03/01/19   KEYCO4     KEY EQUIPMENT FINANCE         10,167.76                     10,167.76
369    903K8                  03/01/19   KEYCO4     KEY EQUIPMENT FINANCE         15,285.37                     15,285.37
370    904K2                  04/01/19   KEYCO4     KEY EQUIPMENT FINANCE         11,399.51                     11,399.51
371    904K3                  04/01/19   KEYCO4     KEY EQUIPMENT FINANCE          8,352.81                      8,352.81
374    904K8                  04/01/19   KEYCO4     KEY EQUIPMENT FINANCE         15,285.37                     15,285.37
375   901K10                  01/01/19   KEYCO4     KEY EQUIPMENT FINANCE         22,777.51                     22,777.51
376   901K13                  01/01/19   KEYCO4     KEY EQUIPMENT FINANCE         17,435.18                     17,435.18
377   902K10                  02/01/19   KEYCO4     KEY EQUIPMENT FINANCE         22,777.51                     22,777.51
378   902K13                  02/01/19   KEYCO4     KEY EQUIPMENT FINANCE         17,435.18                     17,435.18
380   903K10                  03/01/19   KEYCO4     KEY EQUIPMENT FINANCE         22,777.51                     22,777.51
381   903K13                  03/01/19   KEYCO4     KEY EQUIPMENT FINANCE         17,435.18                     17,435.18
383   904K10                  04/01/19   KEYCO4     KEY EQUIPMENT FINANCE         22,777.51                     22,777.51
384   904K13                  04/01/19   KEYCO4     KEY EQUIPMENT FINANCE         17,435.18                     17,435.18
390   49531                   01/16/19   LAKETE     LAKETEC                       11,610.00                     11,610.00
393    49798                  03/20/19   LAKETE     LAKETEC                       11,833.56                     11,833.56
398    49684                  02/13/19   LCDTRU     LCD TRUCK REPAIR               8,000.00                      8,000.00
438    49624                  01/28/19   NEORSD     NEORSD                        18,643.86                     18,643.86
439    49794                  03/15/19   NEORSD     NEORSD                        24,162.60                     24,162.60
440   N90118                  01/18/19   NEORSD     NEORSD                        23,286.05                     23,286.05
444    49735                  02/20/19   OBCIND     OBC INDUSTRIAL                12,997.50                      5,000.00
490    49587                  01/18/19   QUITAN     QUICK TANKS, INC.             30,472.00                     10,000.00
491    49762                  03/04/19   QUITAN     QUICK TANKS, INC.             30,472.00                     20,472.00
495    49519                  01/11/19   RESIND     RESIST-A-LINE INDUSTRIES      36,900.00                     36,900.00
497    49589                  01/18/19   REXEL1     REXEL OF AMERICA, LLC         11,656.42                     11,656.42
522    49514                  01/04/19   SINMIL     SINGERMAN, MILLS, DESBERG &    8,868.00                      8,868.00
549   T90129                  01/29/19   TORMEM     TORAY MEMBRANE USA, INC.      12,308.20                     12,308.20
574    49788                  03/08/19   WATERO     WATEROPOLIS CORP.              7,740.00                      7,740.00
593    49632                  01/28/19   WSM001     WSM                            8,627.41                      8,627.41
595   90102Y                  01/02/19   YOKCOR     YOKOGAWA CORP. OF AMERICA     17,664.57                     17,664.57
       Printed by DMG as Page 1 of 1




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Check Number: ALL Vendor Type: ALL To check date: 04/01/19 Account: ALL
Retention Paid




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re       WESTERN RESERVE WATER SYSTEMS, INC.                                                              Case No.
                                                                                Debtor(s)                     Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                          **
             Prior to the filing of this statement I have received                                        $                          **
             Balance Due                                                                                  $                          **
               **As of the commencement of this case under Chapter 11, the above-named
         counsel is holding $ 12,721.00 unapplied retainer for legal services, plus
         $1,717.00 used for costs paid by credit card. Movant has been paid to date prior to
         filing during the past one year the sum of $ 7,279.00 plus $1,717.00 for court
         costs, i.e., an aggregate of $ 21,717.00, of which $12,721.00 has not been applied.

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions,
               preparation and costs of amendments to schedules or any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 1, 2019                                                             /s/ Glenn E. Forbes
     Date                                                                      Glenn E. Forbes 0005513
                                                                               Signature of Attorney
                                                                               FORBES LAW LLC
                                                                               166 MAIN STREET
                                                                               Painesville, OH 44077
                                                                               440-357-6211
                                                                               bankruptcy@geflaw.net
                                                                               Name of law firm




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                                                               United States Bankruptcy Court
                                                                       Northern District of Ohio
 In re      WESTERN RESERVE WATER SYSTEMS, INC.                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date April 1, 2019                                                          Signature /s/ Michael Eiermann
                                                                                            Michael Eiermann

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re      WESTERN RESERVE WATER SYSTEMS, INC.                                                    Case No.
                                                                                 Debtor(s)         Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 1, 2019                                            /s/ Michael Eiermann
                                                                      Michael Eiermann/President
                                                                      Signer/Title




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                           A.J. GATES COMPANY
                           29855 AURORA ROAD
                           Solon, OH 44139


                           ACADEMY COMMUNICATIONS, INC
                           30 ALPHA PARK

                           Cleveland, OH 44143

                           ADVANCED SURFACE CLEANING
                           10776 QUARRY ROAD
                           Oberlin, OH 44074


                           AETNA PLASTICS CORP.
                           P.O. BOX 931780
                           Cleveland, OH 44193


                           AIRGAS USA, LLC
                           PO BOX 802576
                           Chicago, IL 60680-2576


                           ALFRED ADAMS
                           5655 PLEASANT VIEW DR

                           Nashport, OH 43830

                           AMERICAN FLEET SERVICES
                           7714 COMMERCE PARK OVAL
                           Independence, OH 44131


                           AMERICAN REMEDIATION & ENVIRON
                           PO BOX 570
                           Saraland, AL 36571


                           APPLIED INDUSTRIAL TECH
                           22510 NETWORK PLACE
                           Chicago, IL 60673-1225


                           AQ MATIC VALVE & CONTROLS
                           16605 W VICTOR RD
                           New Berlin, WI 53151


                           AQUAFINE CORPORATION
                           14094 COLLECTIONS CENTER
                           Chicago, IL 60693




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                       AQUIONICS, INC.
                       4215-E STUART ANDREW BLVD
                       Charlotte, NC 28217


                       ARC GAS & SUPPLY
                       4560 NICKY BLVD
                       Cleveland, OH 44125


                       ARTEMIS POLYMER PROCESSING
                       2550 GILCHRIST ROAD
                       Akron, OH 44305


                       Assured Partners
                       3900 Kinross Lakes Parkway, Suite 3
                       Richfield, OH 44286


                       AT&T MOBILITY
                       PO BOX 6463
                       Carol Stream, IL 60197


                       AUGUSTA FIBERGLASS COATINGS
                       86 LAKE CYNTHIA ROAD
                       Blackville, SC 29817


                       Avetta
                       2060 N Loop W Suite 150
                       Houston, TX 77018


                       AVETTA, LLC
                       PO BOX 8474
                       Pasadena, CA 91109


                       AXEON
                       40980 COUNTY CENTER DRIVE
                       SUITE 100
                       Temecula, CA 92591


                       Baker Hostetler
                       127 Public Square, Suite 2000
                       Cleveland, OH 44114


                       BENOVATION
                       2035 READING RD.
                       Cincinnati, OH 45202




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                       BERRINGTON PUMPS & SYSTEMS, IN
                       1316 LEAR INDUSTRIAL PKWY
                       Avon, OH 44011


                       BEST BUY TIRE
                       4890 SUPERIOR AVE
                       Cleveland, OH 44103


                       BEST SAND CORPORATION
                       PO BOX 931707
                       Cleveland, OH 44193


                       BONDED CHEMICALS
                       1125 SOLUTIONS CENTER
                       Chicago, IL 60677


                       BRECHBUHLER SCALES, INC.
                       1424 SCALE ST SW
                       Canton, OH 44706


                       BUSH INTEGRATED
                       15901 INDUSTRIAL PKWY
                       Cleveland, OH 44135


                       C&K INDUSTRIAL SERVICES, INC
                       5617 SCHAAF ROAD
                       Independence, OH 44131


                       CAPPAS & KARAS INVESTMENTS INC
                       1201 HOMESTEAD CREEK DR
                       Broadview Heights, OH 44147


                       CHAMPION PERSONNEL SYSTEM INC
                       4511 ROCKSIDE ROAD
                       SUITE 200
                       Independence, OH 44131


                       CHEMSAFE INTERNATIONAL (GMI)
                       ONE ZENEX CIRCLE
                       Bedford, OH 44146


                       CHEMTREAT, INC
                       15045 COLLECTIONS CENTER
                       Chicago, IL 60693




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                       CHEMTRON CORPORATION
                       3500 HARRY S. TRUMAN BLVD.
                       Saint Charles, MO 63301


                       CINTAS
                       PO BOX 630910
                       Cincinnati, OH 45263-0910


                       CLEVELAND EXPRESS TRUCKING CO
                       3091 ROCKEFELLER AVE
                       Cleveland, OH 44115


                       CLINTON ALUMINUM & STAINLESS
                       PO BOX 674865
                       Detroit, MI 48267-4865


                       Comdata
                       5301 Maryland Way, Ste. 100
                       Brentwood, TN 37027-5055


                       COVERALL NORTH AMERICA, INC.
                       2955 MOMENTUM PLACE
                       Chicago, IL 60689


                       CUMBERLAND STEEL DIVISION
                       4919 GRANT AVE
                       Cleveland, OH 44125


                       Cuyahoga County Treasury Department
                       2079 East Ninth St
                       Cleveland, OH 44115


                       D'AMORE TATMAN GROUP LLC
                       PO BOX 1263
                       Twinsburg, OH 44087


                       DECKER STEEL & SUPPLY , INC.
                       4500 TRAIN AVE.
                       Cleveland, OH 44102


                       DELTA INSTRUMENTATION
                       PO BOX 495
                       Richfield, OH 44286




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                       DISTILLATA COMPANY
                       1608 EAST 24TH STREET
                       Cleveland, OH 44114


                       DIVISION OF WATER
                       PO BOX 94540
                       Cleveland, OH 44101-4540


                       DOMINION EAST OHIO
                       PO BOX 26785
                       Richmond, VA 23261-6785


                       Dominion East Ohio
                       P.O. Box 26785
                       Richmond, VA 23261-6785


                       E Z ELECTRIC MOTOR SERVICE
                       8510 BESSEMER AVENUE
                       Cleveland, OH 44127


                       E.H. WACHS
                       PO BOX 71598
                       Chicago, IL 60694-1598


                       EMD MILLIPORE CORPORATION
                       25760 NETWORK PLACE
                       Chicago, IL 60673


                       ENPRESS, LLC
                       34899 CURTIS BLVD
                       Eastlake, OH 44095


                       ENVIROSERVE
                       PO BOX 413070
                       Salt Lake City, UT 84141


                       EQUIPMENT AND CONTROLS INC
                       PO BOX 536074
                       Pittsburgh, PA 15253-5902


                       Expertpay
                       294 E Campus View Blvd
                       Columbus, OH 43235-4634




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                       FASTENAL
                       P.O. BOX 1286
                       Winona, MN 55987


                       FEDEX FREIGHT EAST
                       PO BOX 223125
                       Pittsburgh, PA 15250


                       FILMTEC CORPORATION
                       4118 COLLECTION CENTER DR
                       Chicago, IL 60693


                       FOCUS CFOGROUP, LLC
                       PO BOX 772130
                       Detroit, MI 48277


                       FocusCFO
                       1010 Jackson Hole Dr., Suite 202
                       Blacklick, OH 43004


                       GCS WATER PURIFICATION, LLC
                       PO BOX 703
                       Rosharon, TX 77583


                       GENE PTACEK & SON FIRE EQUIP
                       7310 ASSOCIATE AVENUE
                       Cleveland, OH 44144


                       GRAINGER
                       DEPT 859363772
                       Palatine, IL 60038


                       GUARANTEED TRUCK SERVICE
                       4545 INDUSTRIAL PRKY
                       Cleveland, OH 44135


                       HART INDUSTRIES, INC.
                       PO BOX 856300 DEPT. #163
                       Louisville, KY 40285


                       HOGAN TRUCK LEASING, INC.
                       2150 SCHEUTZ RD
                       SUITE 210
                       Saint Louis, MO 63146




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                       IFM EFECTOR INC
                       PO BOX 8538-307
                       Philadelphia, PA 19171


                       ILLUMINATING COMPANY
                       PO BOX 3638
                       Akron, OH 44309


                       ILLUMINATING COMPANY
                       PO BOX 3687
                       Akron, OH 44309


                       INDUSTRIAL SAFETY PRODUCTS
                       6901 CAREY DRIVE
                       Cleveland, OH 44125


                       INHAND NETWORKS, INC.
                       3900 JERMANTOWN RD SUITE 150
                       Fairfax, VA 22030


                       Internal Revenue Service
                       Insolvency Group 3
                       1240 E. 9th Street
                       Room 457
                       Cleveland, OH 44199


                       ISN Networld
                       Safety Services Company
                       2626 S Roosevelt St, Suite 2
                       Tempe, AZ 85282


                       JAG DEVELOPMENT LLC
                       5617 SCHAAF RD
                       Independence, OH 44131


                       JAMES FORBES
                       6229 AUTUMN LEAF LANE
                       Cincinnati, OH 45230


                       John Hancock
                       1 John Hancock Way
                       Suite 1101
                       Boston, MA 02217




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                       JOSEPH HOOLEY
                       77 FRONT STREET
                       Berea, OH 44017


                       KELLY SERVICES, INC.
                       PO BOX 820405
                       Philadelphia, PA 19182


                       Key Bank
                       127 Public Square
                       Cleveland, OH 44114


                       KEY EQUIPMENT FINANCE
                       PO BOX 974713
                       Cleveland, OH 44194


                       Key Equipment Finance Inc.
                       66 South Pearl Street, 8th Floor
                       Albany, NY 12207


                       KINETICO INCORPORATED
                       PO BOX 714514
                       Cincinnati, OH 45271


                       LAKESIDE SUPPLY
                       3000 W. 117TH STREET
                       Cleveland, OH 44111


                       LAKETEC
                       27881 LORAIN ROAD
                       North Olmsted, OH 44070


                       MASTROIANNI & ASSOCIATES, INC.
                       7601 FIRST PLACE DR
                       SUITE A13
                       Bedford, OH 44146


                       MCMASTER CARR
                       PO BOX 7690
                       Chicago, IL 60680


                       MECHANICAL AIR SYSTEMS INC
                       4234 W. 212TH STREET
                       Cleveland, OH 44126




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                       MEDALLION COFFEE SERVICE, INC.
                       4365 CRANWOOD PARKWAY
                       Cleveland, OH 44128


                       MEDQUEST EVALUATORS, LLC
                       PO BOX 234
                       Lewis Center, OH 43035


                       METTLER-TOLEDO INGOLD
                       23669 NETWORK PLACE
                       Chicago, IL 60673


                       MIDWEST RO
                       15685 ILLINOIS HIGHWAY 71
                       Peru, IL 61354


                       MR T PAINTING & SANDBLASTING
                       PO BOX 46423
                       Bedford, OH 44146


                       NELSEN CORPORATION
                       DEPT 781391
                       PO BOX 78000
                       Detroit, MI 48278-1391


                       NEORSD
                       PO BOX 94550
                       Cleveland, OH 44101-4550


                       NORTH COAST LIFT TRUCK, INC
                       PO BOX 565
                       Mentor, OH 44060


                       NORTHEAST OHIO REGIONAL SEWER
                       3900 EUCLID AVENUE
                       Cleveland, OH 44115-2506


                       OBC INDUSTRIAL
                       11288 ALAMEDA DRIVE
                       Strongsville, OH 44149


                       OCCUPATIONAL HEALTH CENTERS
                       OF OHIO, P.A., CO.
                       PO BOX 5012
                       Southfield, MI 48086-5012



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                       OCS PROCESS SYSTEMS
                       PO BOX 92394
                       Cleveland, OH 44193


                       Ohio Bureau of Workers Compensation
                       30 W. Spring St.
                       Columbus, OH 43215-2256


                       Ohio Department of Taxation
                       P.O. Box 530
                       Columbus, OH 43216-0530


                       OTP INDUSTRIAL SOLUTIONS
                       PO BOX 73278
                       Cleveland, OH 44193


                       OZONE SOLUTIONS
                       451 BLACK FOREST ROAD
                       Hull, IA 51239


                       OZONE WATER SYSTEMS INC.
                       3131 N. 56TH ST.
                       Phoenix, AZ 85018


                       PENN STAINLESS PRODUCTS INC
                       102 McQUISTON DR
                       JACKSON CENTER
                       Jackson Center, PA 16133


                       PENTAIR FILTRATION SOLUTIONS
                       16622 COLLECTIONS CENTER DR.
                       Chicago, IL 60693


                       PETE & PETE
                       4830 WARNER ROAD
                       Garfield Hts, OH 44105


                       PLAS-TANKS INDUSTRIES, INC
                       PO BOX 932059
                       Cleveland, OH 44193


                       PLIC - SBD GRAND ISLAND
                       PO BOX 10372
                       Des Moines, IA 50306-0372




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                       PORTERSVILLE PRD LLC
                       2680 NEW BUTLER ROAD
                       New Castle, PA 16101


                       PREMIER PUMP INC
                       4891 VAN EPPS RD
                       Cleveland, OH 44131


                       PROCESS TECHNOLOGY
                       29069 NETWORK PLACE
                       Chicago, IL 60673-1290


                       PUBLIC SALT
                       2927 HARRISBURG RD N.E.
                       Canton, OH 44705


                       PUROLITE COMPANY
                       PO BOX 824075
                       Philadelphia, PA 19182-4075


                       PVS NOLWOOD CHEMICALS, INC.
                       25210 NETWORK PLACE
                       Chicago, IL 60673-1503


                       QUICK CHANGE #3
                       4036 E. 52ND STREET
                       Newburgh Hts, OH 44105


                       Regional Income Tax Agency
                       10107 Brecksville Rd.
                       Brecksville, OH 44141-3275


                       REPUBLIC SERVICES #971
                       PO BOX 9001099
                       Louisville, KY 40290-1099


                       RESINTECH
                       1 RESINTECH PLAZA
                       160 COOPER ROAD
                       West Berlin, NJ 08091


                       REXEL OF AMERICA, LLC
                       PO BOX 742833
                       Atlanta, GA 30374-2833




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                       Rodd A. Sanders
                       SONKIN KOBERNA,LLC
                       3401 Enterprise Parkway, Suite 400
                       Beachwood, OH 44122


                       ROSEMOUNT ANALYTICAL INC
                       22737 NETWORK PLACE
                       Chicago, IL 60673-1227


                       RUSH TRUCK LEASING
                       PO BOX 34630
                       San Antonio, TX 78265-4630


                       RYAN HERCO
                       LOCKBOX 912128
                       PO BOX 31001-2128
                       Pasadena, CA 91110-2128


                       SAGINAW CONTROL & ENGINEERING
                       95 MIDLAND ROAD
                       Saginaw, MI 48638


                       SHELCO FILTERS
                       DIV OF TINNY CORP.
                       100 BRADLEY STREET
                       Middletown, CT 06457


                       Singerman Mills Desberg and Kauntz
                       333 Richmond Road, Suite 370
                       Beachwood, OH 44122


                       SINGERMAN, MILLS, DESBERG &
                       KRAUTZ CO., L.P.A.
                       3333 RICHMOND RD, SUITE 370
                       Beachwood, OH 44122


                       ST VINCENT CHARITY
                       OCCUPATIONAL HEALTH
                       PO BOX 932006
                       Cleveland, OH 44193-0007


                       STAPLES BUSINESS ADVANTAGE
                       STAPLES BUSINESS CREDIT
                       PO BOX 105638
                       Atlanta, GA 30348-5638




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                       SUEZ WTS USA, INC
                       12822 COLLECTION CENTER DRIVE
                       Chicago, IL 60693


                       SUNBELT RENTALS
                       PO BOX 409211
                       Atlanta, GA 30384-9211


                       SUNRISE SPRINGS
                       PO BOX 232
                       Newbury, OH 44065


                       TALENT TRANSPORTATION, INC.
                       PO BOX 361159
                       Strongsville, OH 44136


                       TELPLEX COMMUNICATIONS
                       16830 VENTURA BLVD STE 350
                       Encino, CA 91436


                       The Cincinnati Insurance Company
                       Attention: Corporate Accounts Recei
                       6200 South Gilmore Road
                       Fairfield, OH 45014-5141


                       The Huntington National Bank
                       Equipment Finance Division
                       105 East Fourth St.
                       Cincinnati, OH 45202


                       The Huntington National Bank
                       105 E. Fourth Street, Suite 200C
                       Cincinnati, OH 45202


                       TIME WARNER
                       PO BOX 0901
                       Carol Stream, IL 60132-0901


                       TRUCKING LOGISTICS LLC
                       PO BOX 30844
                       Cleveland, OH 44130


                       ULINE
                       PO BOX 88741
                       Chicago, IL 60680-1741



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                       ULTRA TECH INDUSTRIES
                       25670 FIRST ST
                       Westlake, OH 44145


                       UNITED PARCEL SERVICE
                       LOCKBOX 577
                       Carol Stream, IL 60132-0577


                       US BANK
                       US BANK EQUIPMENT FINANCE
                       PO BOX 790448
                       Saint Louis, MO 63179-0448


                       VIEWPOINT, INC.
                       1515 SE WATER AVENUE, #300
                       Portland, OR 97214


                       VWR INTERNATIONAL
                       2039 CENTER SQUARE RD
                       Bridgeport, NJ 08014


                       W.B. MASON CO., INC.
                       PO BOX 981101
                       Boston, MA 02298-1101


                       WATER & WASTEWATER EQUIPMENT
                       837 EAST 79TH STREET
                       Cleveland, OH 44103


                       WATER IP, LLC.
                       5617 SCHAAF ROAD
                       Independence, OH 44131


                       WATER SURPLUS / SURPLUS MGMT.
                       PO BOX 2668
                       Loves Park, IL 61132


                       WATTS WATER QUALITY PRODUCTS
                       PO BOX 654070
                       Dallas, TX 75265-4070


                       WELLS FARGO EQUIPMENT FINANCE
                       MANUFACTURER SERVICES GROUP
                       PO BOX 7777
                       San Francisco, CA 94120-7777



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                       Wells Fargo Equipment Finance
                       PO Box 3072
                       Cedar Rapids, IA 52406-3072


                       WILDFIRE EXPRESS DELIVERY INC
                       PO BOX 39223
                       Solon, OH 44139


                       WSM
                       580 GOLDEN OAK PARKWAY
                       Oakwood Village, OH 44146




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                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re      WESTERN RESERVE WATER SYSTEMS, INC.                                                    Case No.
                                                                                Debtor(s)          Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for WESTERN RESERVE WATER SYSTEMS, INC. in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:



    None [Check if applicable]




 April 1, 2019                                                       /s/ Glenn E. Forbes
 Date                                                                Glenn E. Forbes 0005513
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for WESTERN RESERVE WATER SYSTEMS, INC.
                                                                     FORBES LAW LLC
                                                                     166 MAIN STREET
                                                                     Painesville, OH 44077
                                                                     440-357-6211
                                                                     bankruptcy@geflaw.net




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